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13                               UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15      JENNY LISETTE FLORES, et al.,    )              Case No. CV 85-4544 DMG (AGRx) 
               Plaintiffs,               )
16
        - vs -                           )              PLAINTIFFS’ CORRECTED STATEMENT OF
17                                       )              UNCONTROVERTED FACTS1
        JEH JOHNSON, SECRETARY, U.S.     )              Hearing: January 30, 2017
18
        DEPARTMENT OF HOMELAND SECURITY, )
19      et al.,                          )
                                         )
20
                Defendants.              )
21                                    _ )
22
23      Plaintiffs’ counsel, continue next page:
24
25      1 Defendants’ have filed an ex parte application in part seeking to strike Plaintiffs’
26      Statement of Uncontroverted Facts [Dkt. #288] because the statement of facts in the
27
        left column purportedly includes legal conclusions. Without agreeing to Defendants’
        position, Plaintiffs hereby file a corrected Statement of Uncontroverted Facts
28      eliminating text in the left hand column that may be considered legal conclusions.
                                                    i
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1
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5             FLIGHT	  RISK"	  ("A	  SERIOUS	  RISK	  THAT	  THE	  MINOR	  WILL	  ATTEMPT	  TO	  ESCAPE")	  BEFORE	  DECIDING	  TO	  DETAIN	  
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              B.	   DEFENDANTS	  DETAIN	  CLASS	  MEMBERS	  SOLELY	  BECAUSE	  DEFENDANTS	  HAVE	  PLACED	  THE	  CHILDREN	  IN	  
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7
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8           HAVE	  RECEIVED	  A	  DECISION,	  AND	  HAVE	  RECEIVED	  A	  DECISION	  ON	  ANY	  APPEALS	  TAKEN	  TO	  AN	  IMMIGRATION	  JUDGE,	  
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12            BERKS’S	  LICENSE	  IS	  ALSO	  BEING	  CHALLENGED	  BY	  THE	  STATE	  AND	  IN	  ANY	  EVENT	  DOES	  NOT	  	  COMPLY	  WITH	  THE	  
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1
2            1.   WHETHER CONDITIONS AT THE
                  U.S. CUSTOMS AND BORDER
3                 PROTECTION FACILITIES VIOLATE
4                 THE FLORES AGREEMENT.
                  DEFENDANTS CONTINUE TO
5               DETAIN CHILDREN IN DEPLORABLE
6               AND UNSANITARY CONDITIONS IN
                CBP FACILITIES IN VIOLATION OF
7               THE SETTLEMENT AND THIS
8               COURT’S ORDERS.
9            A.  Flores Class Member children      TEDS Manual, § 4.13 Food and Beverage, p.
                 in CBP facilities suffer from     18:
10                                                 “General: Food and water should never be
                 inadequate access to food.
11                                                 used as a reward, or withheld as punishment.
                                                   Food provided must be in edible condition
12                                                 (not frozen, expired or spoiled).”
                                                   ….
13                                                 “Dietary Restrictions: Officers/Agents should
                                                   remain cognizant of a detainee’s religious or
14                                                 other dietary restrictions.”
15
                                                   TEDS Manual, § 5.6 Detention, p. 22:
16                                                 “Meals and Snacks – Juveniles, Pregnant,
                                                   and Nursing Detainees: Juveniles and
17                                                 pregnant detainees will be offered a snack
                                                   upon arrival and a meal at least every six
18
                                                   hours thereafter, at regularly scheduled meal
19                                                 times. At least two of those meals will be hot.
                                                   Juveniles and pregnant or nursing detainees
20                                                 must have regular access to snacks, milk, and
                                                   juice.
21                                                 Age and Capabilities Appropriate Food: Food
                                                   must be appropriate for at-risk detainees’ age
22
                                                   and capabilities (such as formula and baby
23                                                 food).”
                                                   Deposition Excerpts of Manuel Padilla Jr.,
24                                                 CBP, Chief Patrol Agent – Rio Grande Valley
                                                   Sector (Ex. 2):
25                                                 Q: …let's say you have three or four :
26                                                 Q: … I am looking at Defendant's Exhibit 60
                                                   [Doc. #214-1] , which is the declaration of
27                                                 David Strange. He is an assistant chief with
                                                   Division E3 of Border Patrol … Mostly what
28                                                 he does is just attach as exhibits printouts of
                                                   the activity log from E3 and E3M detention


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1
2                                              module … [I]n Exhibit A he indicates that
                                               this alien [Franklin Rxxxx xxxxxxxxx, Class
3                                              Member. See Ex. 45, Doc. #201-5] was -- was
                                               apprehended on … January 22nd, 2016 at
4                                              5:15 in the morning. And this appears to be
                                               in your sector. And … the activity log
5                                              indicates the first meal occurred at 1522
6                                              hours. So it seems like roughly … 10 hours
                                               before [the class members] got their first
7                                              meal. Can you tell me why would something
                                               like that happen, assuming these records are
8                                              accurate? …
                                               THE WITNESS: Yes, sir. I would -- … So
9                                              one, the system being down and where the
10                                             feedings would take place and then logging
                                               them in manually. That's one possibility. And
11                                             then the other possibility was, you know, that
                                               -- that the feeding time was not -- was not
12                                             logged in because … the EDM has … an
                                               internal audit, if you will, starts flashing if
13
                                               somebody is not being fed within certain time
14                                             frames. I think it's eight hours between meals
                                               and then snacks for family units and
15                                             juveniles... Those are some possible answers
                                               to that, but I would have to have all of the
16                                             information to really conclude what
                                               happened.
17
                                               Q: Is it also possible that this record is
18                                             accurate and that for some reason … this
                                               person identified in Exhibit A may in fact
19                                             have been apprehended about 5:15 in the
                                               morning, hadn't received their first meal at
20                                             (unintelligible) hours, is it possible that the
                                               record is accurate?
21
                                               A: I would say it's possible definitely, but it's
22                                             … unlikely ....
                                               (Padilla Dep. 25:2-26:23).
23                                             Q: Okay. I see another one here in [Dina
                                               Raquel Rodriguez, Mother. See Ex. 19-M,
24                                             Doc. #201-3] Exhibit F. And that indicates an
25                                             arrest date and time of 12/212015 at 1300
                                               hours, at 1 p.m. And it does -- … and the
26                                             activity log states that the next meal -- that the
                                               first meal the person received was on October
27                                             22nd at -- at midnight, about 11 hours later.
                                               Are you able to tell us why that person didn't
28                                             get food for 11 hours? …
                                               THE WITNESS: Yes, sir. So again, not

                                              2
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1
2                                              having all of the information, it's kind of hard
                                               to point out … But again, without having the
3                                              information I cannot make a conclusion or
                                               ascertain of was that a system error or input
4                                              error or what caused that anomaly.
                                               (Padilla Dep. 26:24-27:19).
5                                              Q: And when I was there and interviewed a
6                                              lot of people, sandwiches just consisted of
                                               two pieces of bread and one slice of meat. Is
7                                              that still the case today?
                                               THE WITNESS: Yes, sir….
8                                              (Padilla Dep. 32:15-32:19).
                                               ___________
9                                              Deposition Excerpts of Paul Beeson, CBP,
10                                             Chief Patrol Agent – Tucson Sector (Ex. 4):
                                               Q: …let's say you have three or four agents
11                                             going around at a mealtime distributing
                                               burritos to detained people, who specifically
12                                             is tasked with entering into this E3 system
                                               that those meals were provided?
13
                                               … A: I don't know.
14                                             Q: And are you aware of any, of any in-
                                               person training that the agents working under
15                                             you receive in how to input data with regards
                                               to the delivery of meals, if you know?
16                                             A: I don't know …
                                               Q: Are you aware of any efforts to monitor the
17
                                               accuracy of records entered with regards to
18                                             meals served, anything that would be brought
                                               to your attention monitoring the accuracy of
19                                             that data?
                                               A: No, sir.
20                                             Beeson Dep. 45:14-46:13. (Emphasis added).
21
                                               Q: Have you ever looked into the nutritional
22                                             value of the food that's being served, burritos?
                                               A: No.
23                                             Q: Has anybody to your knowledge working
                                               under your supervision?
24                                             A: Not to my knowledge.
25                                             Q: Can you recall receiving any direction or
                                               guidance or training or instructions from
26                                             headquarters dealing with the nutritional
                                               value of food made available to minors in
27                                             your custody?
                                               MS. FABIAN: Object to form.
28                                             THE WITNESS: I do not recall.
                                               (Beeson Dep. 56:5-56:16).

                                              3
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1
2                                              ________
                                               Deposition Excerpts of Class Member Mother
3                                              Ritza Mxxx xxxxxxx (Ex. 10):
                                               Q: Okay. And what did that meal consist of?
4                                              A: Okay. They give her a sandwich that
                                               didn't have anything inside, they didn't give
5                                              anything to the son, so she had to share with
6                                              him.
                                               Q: What do you mean, there was nothing
7                                              inside?
                                               A: Just a sandwich with nothing inside. …
8                                              it's just bread, and it didn't have anything
                                               inside, you know, no meat or something.
9                                              Q: It was just two pieces of bread?
10                                             A: Si, yes, two pieces of bread.
                                               (Ritza Mxxx xxxxxxx Dep. 18:3-18:12).
11
                                               Q: Okay. Do you remember how many meals
12                                             you were provided with while you were in
                                               detention total?
13
                                               A: It was only one, it was only two breads
14                                             that they gave me.
                                               (Ritza Mxxx xxxxxxx Dep. 18:21-18:24).
15
                                               Q: Okay. How long did you stay there?
16                                             A: … I couldn't tell you, it was like a day, one
                                               day, a complete day.
17
                                               Q: Okay. And how many times were you
18                                             provided with food at that place?
                                               A: One time.
19                                             (Ritza Mxxx xxxxxxx Dep. 20:13-20:25).
20                                             _______
                                               Deposition Excerpts of Class Member Mother
21
                                               Celina Sxxxxxx-xxxx (Ex. 11):
22                                             Celina Sxxxxxx-xxxx was detained by CBP
                                               for approximately 66 hours. See Ex. 16,
23                                             Strange Dec. Ex. O, Doc. #214-2.
                                               Q: And where was this that they fed you?
24                                             A: There at La Hielera.
25                                             Q: Okay. And what did they feed you?
                                               A: Only a piece of bread with mortadella and
26                                             a juice.
                                               (Celina Sxxxxxx-xxxx Dep. 16:5-16:9).
27
                                               Q: Now, were you ever given any warm food
28
                                               at that first place? 
                                               A: No, never. 

                                              4
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1
2                                              (Celina Sxxxxxx-xxxx Dep. 19:19-19:21).

3                                              Q. Now, how long were you at this first
                                               facility?
4                                              A: Two days.
                                               (Celina Sxxxxxx-xxxx Dep. 25:22-25:24).
5
6                                              My son and I were fed only a bologna
                                               sandwich and juice.
7                                              [Doc. # 201-5 at 849, Declaration of Celina
                                               Sxxxxxx-xxxx Ex. 28, ¶ 8].
8
                                               ________
9                                              Deposition Excerpts of Class Member
10                                             Franklin Rxxxx xxxxxxxxx (Ex. 12):
                                               Q: Were you given food?
11                                             A: Yes.
                                               Q: What did you receive?
12                                             A: First it was – they gave us a cookie, and
                                               then later on bread with ham. And for dinner,
13
                                               another cookie.
14                                             (Franklin Rxxxx xxxxxxxxx Dep. 10:20-
                                               10:25).
15
                                               “The first day that I was there they gave me a
16                                             cookie for breakfast, a sandwich (2 pieces of
                                               bread with one thin slice of meat) for lunch,
17
                                               and another cookie for dinner. I was very
18                                             hungry all day because this was not enough
                                               food.”
19                                             [Doc. # 201-5 at 918, Declaration of Franklin
                                               Rxxxx xxxxxxxxx Ex. 45. ¶ 8].
20                                             ____________
                                               Deposition Excerpts of Class Member Mother
21
                                               Karina Vxxxx-xxxxxxx (Ex. 13):
22                                             Q: And what type of food was offered to you
                                               in that first meal?
23                                             A: A sandwich with frozen ham.
                                               Q: What do you mean by “frozen ham”?
24                                             A: Very cold, and there was kind of ice under
25                                             the bread.
                                               Q: Could you chew the ham?
26                                             A: Yes, because I was very hungry.
                                               Q: And was your son also given a sandwich?
27                                             A: Yes.
                                               (Karina Vxxxx-xxxxxxx Dep. 28:4-28:16).
28
                                               Q: Do you remember what type of food your

                                              5
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1
2                                              next meal after the ham sandwich was?
                                               A: The same thing. Just the same thing.
3                                              Q: Were you ever provided anything other
                                               than a sandwich?
4                                              A: A little glass of juice, the cookie.
                                               (Karina Vxxxx-xxxxxxx Dep. 30:14-30:22).
5                                              ________
6                                              Deposition Excerpts of Rodney Scott, CBP,
                                               Chief Patrol Agent – El Centro Sector (Ex. 3):
7                                              Q: And are any warm meals served, other
                                               than burritos?
8                                              A: No, not as a matter of policy or routine.
                                               There -- there are exceptions to that. I've seen
9                                              on numerous occasions -- again, these are just
10                                             temporary holding facilities. So we're not
                                               planning on keeping people long-term.
11                                             (Scott Dep. 21:20-21:25).
                                               _________
12                                             Deposition Excerpts of Class Member mother
                                               Lindsay Gxxxx xxxxx (Ex. 14):
13
                                               Q: What did they give you for food?
14                                             A: Two slices of bread with a slice of
                                               mortadella, strawberry juice, and to my
15                                             daughter, a cracker.
                                               Q: Do you remember when you first received
16                                             food?
                                               A: The first one is when I arrived, and the
17
                                               second one, it was around 6:00 o'clock. That's
18                                             my estimate because they didn't have a clock,
                                               and I didn't know what it was.
19                                             (Lindsay Gxxxx xxxxx Dep 10:21-11:3).
20                                             Q: …You said that you received a sandwich
                                               with mortadella, and I wanted to clarify what
21
                                               that is in English.
22                                             A: Bologna.
                                               Q: So like bologna?
23                                             A: Like bologna, yeah. No mustard, no
                                               mayonnaise. It’s like those Oscar Mayer
24                                             things, salami. That’s what it is. It was frozen.
25                                             Q: What do you mean, “it was frozen”?
                                               A: It have, like, a layer of ice. But very thin.
26                                             But it had ice.
                                               Q: Were you able to eat it?
27                                             A: We waited for a little bit so it will change
                                               temperature because we were very hungry.
28                                             (Lindsay Gxxxx xxxxx Dep. 25:19-26:7).


                                              6
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1
2                                              MS. GARCIA: Did she observe the other kids
                                               were hungry as well or did they get enough to
3                                              eat?
                                               THE WITNESS: Yes, they were crying with
4                                              hunger. As a matter of fact, there was a lady
                                               there that she was pregnant. She was very
5                                              hungry. (Lindsay Gxxxx xxxxx Dep. 39:10-
6                                              39:19).
                                               ________
7                                              Deposition Excerpts of Class Member Mother
                                               Mirna Mxxxxxx xxxxx (Ex. 15):
8
                                               Mirna Mxxxxxx xxxxx was detained by CBP
9                                              for approximately 62 hours. See Ex. 16,
10                                             Strange Dec. Ex. R, Doc. #214-2.

11                                             Q. Let's talk about the food situation. What --
                                               do you remember the food that you received
12                                             there?
                                               A. It was a bread, a sandwich with a cold
13
                                               bologna in the middle.
14                                             (Mirna Mxxxxxx xxxxx Dep. 20:11-20:15).

15                                             Q So that first day that you were there, these
                                               meals that we're talking about, were any of
16                                             them warm meals?
                                               A. No.
17
                                               (Mirna Mxxxxxx xxxxx Dep. 25:18-25:21).
18
                                               Q. And what about the second day you were
19                                             there? How many times were you fed the
                                               second day?
20                                             A. Some two times, two.
                                               (Mirna Mxxxxxx xxxxx Dep. 25:22-25:24).
21
22                                             Q. Okay. Now, did you ever receive a warm
                                               meal like a burrito while you were there?
23                                             A. No.
                                               (Mirna Mxxxxxx xxxxx Dep. 31:5-31:7).
24
25                                             There was not enough food. All we got were
                                               two slices of bread with a small slice of
26                                             mortadella and small juices. We got those
                                               sandwiches twice a day and once three times
27                                             a day.
                                               [Doc. # 201-5 at 840, Declaration of Mirna
28                                             Mxxxxxx xxxxx Ex. 25, ¶ 5].


                                              7
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1
2                                              ________
                                               Deposition Excerpts Class Member’s mother
3                                              Sara Exxxxxxxx xxxxx (Ex. 17):

4                                              Sara Exxxxxxxx xxxxx was detained by CBP
                                               for approximately 76 hours. See Ex. 16,
5                                              Strange Dec. Ex. L, Doc. #214-2.
6
                                               Q: Okay. And what was that meal like?
7                                              A: A piece of bread and a piece of ham.
                                               Q: Okay. At any time when you stayed at this
8                                              first facility, were you given any other types
                                               of – type of food, apart from the sandwich:
9                                              snacks?
10                                             A: No.
                                               Q: So the only kind of food… Was there a
11                                             difference between the food that they offered
                                               for breakfast as opposed to middle of the day
12                                             or in the evening?
                                               A: No. It was the same thing.
13
                                               (Sara Exxxxxxxx xxxxx Dep. 18:6-19:12).
14
                                               Q: Okay. So can you estimate how many
15                                             times per day you were given food while at
                                               this first station?
16                                             A: We were given twice a day. Because it just
                                               wasn’t enough because there were so many
17
                                               people stuck in there.
18                                             (Sara Exxxxxxxx xxxxx Dep. 20:1-20:6).

19                                             Q: Okay. And it was only sandwiches? There
                                               was never any snacks or anything else
20                                             offered?
                                               A: No, no.
21
                                               Q: Okay. Was it hot food or cold food?
22                                             A: Cold. It wasn’t hot.
                                               (Sara Exxxxxxxx xxxxx Dep. 21:10-21:14).
23
                                               Declaration of Sara Exxxxxxxx xxxxx Doc. #
24                                             201-5 Ex. 24 ¶ 6. “We were fed a sandwich
25                                             two times a day with some juice. My daughter
                                               refused to eat anything but the one slice of
26                                             cold meat inside the sandwich. She was very
                                               hungry but we were not served any food other
27                                             than the cold sandwiches.”
                                               ________
28                                             Deposition Excerpts Class Member Yeslin
                                               Lxxxx xxxxxxx (Ex. 18):

                                              8
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1
2
                                               Yeslin Lxxxx xxxxxxx was detained by CBP
3                                              for approximately 74 hours. See Ex. 16,
                                               Strange Dec. Ex. K, Doc. #214-2.
4
                                               Q: When you got [to the Border Patrol
5                                              station], did they give you any food?
6
                                               A: They gave me a cracker and juice?
7                                              Q: And did they give some to your sister?
                                               A: Yes.
8                                              (Yeslin Lxxxx xxxxxxx Dep. 10:25-11:6).
9                                              Q: And do you remember how long you were
10                                             in that room?
                                               A: Two days and one night.
11                                             Q: And what did they feed you while you
                                               were there?
12                                             A: They only gave me crackers and a little
                                               juice.
13
                                               Q: Did they ever give you like a little
14                                             sandwich?
                                               A: No. In the other center [Ursula] they gave
15                                             me.
                                               (Yeslin Lxxxx xxxxxxx Dep. 11:10-11:19).
16
                                               Q: So going back to the first place, so they
17
                                               gave you some snacks and some juice?
18                                             A: They only gave us cracker.
                                               Q: What did you have to drink?
19                                             A: Only one juice.
                                               Q: For the two days you were there?
20                                             A: Yes.
                                                (Yeslin Lxxxx xxxxxxx Dep. 11:23-12:7).
21
22                                             Q: Did you get juice and one cracker more
                                               than once?
23                                             A: Yes, they gave us three times a day.
                                               (Yeslin Lxxxx xxxxxxx Dep. 13:21-13:23).
24
25                                             Q: When you got to the second place …. Do
                                               you remember what they fed you?
26                                             A: Frozen bread with a little meat inside it.
                                               ….
27                                             Q: Okay. And did you get any snacks in
                                               addition to that?
28                                             A: No.
                                               ….

                                              9
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1
2                                             Q: Any crackers?
                                              A: No.
3                                             Q: And you said you got milk?
                                              A: Yes.
4                                             Q: Did you get any juice.
                                              A: No.
5                                             (Yeslin Lxxxx xxxxxxx Dep. 18:21-20:7).
6
                                              They gave us bread with a little bit of ham,
7                                             but it was all frozen, so I didn’t eat much.
                                              [Doc. # 201-5 at 834, Dec. of Yeslin Lxxxx
8                                             xxxxxxx Ex. 23, ¶ 8].
9                                             Deposition Excerpts Class Member’s Mother
10                                            Yessenia Exxxxxxxx xxxxxxx (Ex. 19):

11                                            Yessenia Exxxxxxxx xxxxxxx was detained
                                              by CBP for approximately 63 hours. See Ex.
12                                            16, Strange Dec. Ex. N, Doc. No. 214-2.
13
                                              Q: Were you given food at this first place?
14                                            A: Yes.
                                              Q: What was it like? What kind of food?
15                                            A: It was, like, two pieces of bread and a
                                              piece of meat.
16                                            …
                                              Q: Okay. Were you given any type of, like,
17
                                              snacks or anything aside from just these
18                                            sandwiches?
                                              A: No.
19                                            Yessenia Exxxxxxxx xxxxxxx Dep. 18:14-
                                              19:9.
20
                                              “For the three days we were there we were
21
                                              only given sandwiches to eat—3 a day. This
22                                            was two slices of stale bread with one slice of
                                              bologna in the middle. Nothing else was in
23                                            the sandwiches. I also got some sugary juice.
                                              In the three days I was there, the children
24                                            were given cookies twice.” [Doc. No. 201-5
25                                            at 846, Dec. of Yessenia Exxxxxxxx xxxxxxx
                                              Ex. 27, ¶ 7].
26                                            _______
                                              Deposition Excerpts Class Member’s mother
27                                            Zulma Mxxxxxxx xxxxxxx (Ex. 20):
                                              Q. Were you given food at the facility?
28                                            A. The only food they gave us was some very
                                              cold bread with, I don't know if it was ham or

                                             10
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1
2                                             another cold cut, and it was for breakfast, for
                                              lunch and for dinner. It was so cold and you
3                                             felt it in your stomach.
                                              Q. Were you given the cold cut sandwich
4                                             three times a day?
                                              A. And a little box of juice. Yes, but I didn't
5                                             take it every time because the first time I had
6                                             it, it didn't settle very well with me, so I
                                              wouldn't take it every time.
7                                             Q. Was your son provided with food at the
                                              facility?
8                                             A. The same thing that they gave me. They
                                              gave us all the same thing.
9                                             (Zulma Mxxxxxxx xxxxxxx Dep. 18:16-
10                                            19:9).

11                                            “I was held at la perrera for two days. During
                                              this time, we were only given burritos, an
12                                            apple, and a bag of chips to eat for breakfast,
                                              lunch, and dinner. We were not given the
13
                                              chance to shower or toothbrushes and
14                                            toothpaste to brush our teeth.”
                                              [Declaration of Zulma Mxxxxxxx xxxxxxx,
15                                            Doc. No. 201-3 at 610, Ex. 19-E, ¶ 8].

16                                            Declaration of attorney Natalia Ospina, Doc.
                                              No. 201-1 Ex. 7 ¶5 (3/10/16)
17
                                              “A Guatemalan mother and child spent two
18                                            days in the ‘hielera,’…They were ... unable to
                                              eat the two pieces of bread and a slice of ham
19                                            that they were provided twice daily during
                                              their time in the hielera.”
20                                            _________
                                              Declaration of attorney Lindsay Harris, Doc.
21
                                              No. 201-2 Ex. 14 ¶4(c)
22                                            “Flores class members and their mothers
                                              report being provided entirely inadequate
23                                            food while at CBP facilities. The food
                                              consists of two to three sandwiches a day,
24                                            each sandwich consisting of two pieces of dry
25                                            bread and one thin slice of ham or bologna.”.
                                              _______
26                                            Declaration Class Member Herson Lxxxxxx
                                              xxxxx, Doc. No. 201-5 Ex. 46 ¶ 8
27                                            (01/30/2016) “Immigration gave us soup and
                                              a burrito only once a day. I was very hungry. I
28                                            was sad, afraid, hungry, and desperate.”.


                                             11
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1
2                                             __________
                                              Declaration of Class Member mother Raquel
3                                             Axxxxx xxxxxx, Doc. No. 201-5 Ex. 26 ¶7
                                              “They only gave us small amounts of food
4                                             two times a day.”
                                              __________
5                                             Declaration of Class Member Faustino Cxxx,
6                                             Doc. No. 201-6 Ex. 53 ¶5 (01/29/2016)
                                              “When being transported here my son told me
7                                             that while he was detained at the Border
                                              Patrol Station, like me... he was only given
8                                             three thin sandwiches a day with one slice of
                                              cold meat, one for breakfast, one for lunch,
9                                             and one for dinner.”
10                                            __________
                                              Declaration of Class Member Josselyn
11                                            Mxxxxx xxxxxx, Doc. No. 201-6 Ex. 55 ¶12
                                              (01/30/2016)
12                                            “The food here is not good. It is always the
                                              same—a bad sandwich. The sandwich is
13
                                              given three times a day. It is two pieces of
14                                            bread and one slice of ham.”
                                              __________
15                                            Declaration of Class Member’s mother Silvia
                                              Vxxxxxx xxxx, Doc. No. 201-6 Ex. 56 ¶6
16                                            (02/01/2016)
                                              “Our only food has been two pieces of bread
17
                                              with one think slice of bologna or something
18                                            that looks like meat these sandwiches are
                                              distributed for breakfast, lunch and dinner.
19                                            Everyone also gets a small plastic container
                                              (250 ml) of “frutoso” twice a day. This taste
20                                            like colored water with sugar. We are very
                                              hungry because of the lack of food ...”
21
                                              __________
22                                            Declaration of thirteen-year-old Class
                                              Member Cesia Vxxxxxxxxx-xxxx, Doc. No.
23                                            201-5 Ex. 29 ¶5 “The food was disgusting; it
                                              was just cold ham sandwiches”.
24
25                                            _______
                                              Declaration of Class Members’ mother Isamar
26                                            Sxxxxxx xxxxxx, Doc. No. 201-5 Ex. 30 ¶7
                                              “We received food three times a day. It was
27                                            the same, cookies, bread with mozzarella, and
                                              a really cold bottle of water”.
28                                            __________
                                              Declaration of Class Members’ mother Kelly

                                             12
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1
2                                             Gxxxxxxxx-xxxxx, Doc. No. 201-5 Ex. 31 ¶7
                                              “The food was terrible: Just bread with one
3                                             slice of cold ham.”

4                                             Declaration of Class Members’ mother Maria
                                              Dxxxx xxxxxxx, Doc. No. 201-5 Ex. 32 ¶6
5                                             “We were just given cold sandwiches with
6                                             frozen ham inside, just one during the day and
                                              one at night.”
7                                             __________
                                              Declaration of Class Members’ mother
8                                             Lindsay Gxxxx xxxxx, Doc. No. 201-5 Ex. 33
                                              ¶8
9                                             “I was given food but it was not good. Only a
10                                            sandwich that was frozen.”

11                                            __________
                                              Declaration of Class Member Katerin
12                                            Yxxxxxxx xxxxxxx (12 yrs), Doc. No. 201-5
                                              Ex. 34 ¶ 9
13
                                              “The sandwiches were just two pieces of
14                                            bread and one thin slice of meat. No butter or
                                              spread, no lettuce, no cheese, nothing.”
15
                                              __________
16                                            Declaration of Class Members’ mother Sonia
                                              Axxxxx-xxxxxx, Doc. No. 201-5 Ex. 35 ¶ 6
17
                                              “To eat we only got a sandwich with one
18                                            piece of ham, which was very cold as well.
                                              For the whole day and night that I was there,
19                                            we only got two sandwiches and two little
                                              bottles of juice.”
20                                            __________
                                              Declaration of Class Members’ mother Kenia
21
                                              Yxxxxx xxxxxxx, Doc. No. 201-5 Ex. 36 ¶8
22                                            “[T]hey gave me a sandwich of 2 slices of
                                              bread with a slice of cold meat, and juice. I
23                                            didn’t eat anything. I gave the bread to my
                                              daughter.”
24                                            _________
25                                            Declaration of Class Members’ mother Maria
                                              Dxxxx xxxxxxx, Doc. No. 201-5 Ex. 32 ¶ 7
26                                            “After this, we were taken to another place,
                                              like a warehouse, that they called the perrera
27                                            (dog house). ... The food was still bad. My
                                              son tried to eat the burritos twice, but both
28                                            times he threw up afterwards.”
                                              __________

                                             13
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1
2                                             Declaration of Class Member Walter
                                              Axxxxxxx xxxxxxxxx (13 yrs old), Doc. No.
3                                             201-5 Ex. 22 ¶ 8
                                              “It was the same bread and ham but this time
4                                             no juice, only a little water.”).
                                              “The only food we got was sandwiches of 2
5                                             pieces of dry bread and one thin slice of ham
6                                             and a small box of juice. We were fed three
                                              times over the two days we were there … We
7                                             were hungry, very cold, scared, and unable to
                                              sleep.” Id. ¶ 6.
8                                             __________
                                              Declaration of Class Member Bianca
9                                             Cxxxxxxxx xxxxx (17yrs old), Doc. No. 201-
10                                            5 Ex. 37 ¶ 13
                                              “I have not been able to leave the cell except
11                                            to get juice and bread and when they clean the
                                              cell. The food is always the same. It is 2
12                                            pieces of bread with one slice of bologna 3
                                              times a day. I have eaten some bread since
13
                                              arriving.”
14                                            __________
                                              Declaration of ACLU of Texas Policy
15                                            Strategist Astrid Dominguez, Doc. No. 201-5
                                              Ex. 38 ¶ 6
16                                            “They were given sandwiches three times a
                                              day, only a slice of bologna and two slices of
17
                                              bread.”
18                                            __________
                                              Declaration of Class Member Victor Rxxxxx
19                                            xxxxxxx, Doc. No. 201-5 Ex. 21 ¶ 4.
                                              “We had arrived at this station around 9 AM
20                                            and were transferred out around 1 AM the
                                              next morning. While at this location we were
21
                                              fed twice, both times we were given a
22                                            sandwich consisting of two frozen pieces of
                                              bread and one thin cold slice of ham.”
23
24
25
26
27

28



                                             14
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1
2           B.  Flores Class Member children     TEDS Manual, § 4.14 Drinking Water, p. 18:
                in CBP facilities continue to    “Functioning drinking fountains or clean
3                                                drinking water along with clean drinking cups
                suffer from inadequate access
                                                 must always be available to detainees.”
4               to clean drinking water
                                                 Deposition Excerpts of Class Member Mother
5                                                Celina Sxxxxxx-xxxx (Ex. 11):
6                                                Celina Sxxxxxx-xxxx was detained by CBP
                                                 for approximately 66 hours. See Ex. 16,
7                                                Strange Dec. Ex. O, Doc. #214-2.

8                                                Q: What about the water situation, was there
                                                 water in the room that you were in?
9                                                A: Yes. There were like cubes – something
10                                               like that with water, but we all use the same
                                                 glass.
11                                               Q: You had one glass for all of you?
                                                 A: There were two to three glasses, but for all
12                                               of us.
                                                 Q: And they didn’t have any little like plastic
13
                                                 cups or anything?
14                                               A: No. I never saw them.
                                                 (Celina Sxxxxxx-xxxx 19:25-20:9).
15
                                                 _________
16                                               Deposition Excerpts of Class Member
                                                 Franklin Rxxxx xxxxxxxxx (Ex. 12):
17
18                                               Q: And were you provided with a jug of
                                                 water?
19                                               A: There they had a jug of water, but they
                                                 only had one cup.
20                                               Q: Can you explain that more.
                                                 A: They only had one cup for everyone that
21
                                                 was there, and I only drank water once from
22                                               that cup.
                                                 Q: Okay. What was the cup made of?
23                                               A: It was, like, paper.
                                                 (Franklin Rxxxx xxxxxxxxx Dep. 11:5-
24                                               11:12).
25
                                                 “The officials put a container with water in
26                                               our room and gave us one cup to share
                                                 amongst the 20 people in my cell. The water
27                                               tasted very bad and the container was not
                                                 clean. Very few minors held in my cell were
28                                               willing to drink the water.”
                                                 [Doc. No. 201-5 at 918, Dec. of Franklin

                                                15
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1
2                                             Rxxxx xxxxxxxxx Ex. 45. ¶8].
                                              ________
3                                             Deposition Excerpts of Class Member Mother
                                              Karina Vxxxx-xxxxxxx (Ex. 13):
4                                             Q: And did you share your triangular glass
                                              with people that you did not know?
5                                             A: Yes.
6                                             Q: How many people did you share your cup
                                              with?
7                                             A: I don’t remember.
                                              Q: Was it more than one other person?
8                                             A: Yes.
                                              (Karina Vxxxx-xxxxxxx Dep. 34:21-35:8).
9

10                                            Q: Do you remember anything in particular
                                              about how the water tasted?
11                                            A: Yes. I remember …It tasted like Clorox.
                                              (Karina Vxxxx-xxxxxxx Dep. 36:3-36:13).
12
                                              Q: Did your son drink out of the big barrel of
13
                                              water?
14                                            A: Yes, and he got sick.
                                              Q: Can you explain how he get sick?
15                                            A: He got diarrhea.
                                              (Karina Vxxxx-xxxxxxx Dep. 38:15-38:22).
16
                                              I asked for more Pedialyte for my son and an
17
                                              officer gave me a little more. When my son
18                                            drank it, he seemed better, but when I gave
                                              him water, he had immediate diarrhea again.
19                                            [Doc. # 201-3 at 631, Dec. of Karina Vxxxx-
                                              xxxxxxx Ex. 19-H, ¶ 8].
20                                            ________
                                              Deposition Excerpts of Class Member Mother
21
                                              Mirna Mxxxxxx xxxxx (Ex. 15):
22
                                              Mirna Mxxxxxx xxxxx was detained by CBP
23                                            for approximately 62 hours. See Ex. 16,
                                              Strange Dec. Ex. R, Doc. No. 214-2.
24
25                                            Q. And you talked also about the water. Why
                                              don't you tell me about the water situation for
26                                            drinking?
                                              A. Ugly.
27                                            Q. Ugly, what does that mean? A. It didn't
                                              have a normal flavor. It takes -- it tasted like a
28                                            chemical, but I never found out what it was.
                                              (Mirna Mxxxxxx xxxxx Dep. 31:8-31:15).

                                             16
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1
2
                                              There was not enough water to drink. [Doc. #
3                                             201-5 at 840, Dec. of Mirna Mxxxxxx xxxxx
                                              Ex. 25, ¶ 5].
4                                             ________
                                              Deposition Excerpts of Class Counsel Peter
5                                             Schey (Ex. 16):
6                                             … [S]everal of the mothers and Class
                                              “Members complained to me that -- I don't
7                                             think they were saying every single time
                                              because I think this happened but definitely
8                                             complained of dirty drinking water and more -
                                              - more frequently complained of insignificant
9                                             cups. So they would have to share a cup with
10                                            other people if they wanted to use a cup.”
                                              (Schey Dep. 30:5-30:11).
11
                                              “Mothers and children interviewed during the
12                                            site inspections uniformly reported … dirty
                                              drinking water [and] one cup for 30-40 people
13
                                              to share…” [Doc. No. 201-1 at 1, Declaration
14                                            of Peter Schey Ex. 1, ¶ 5].
                                              ________
15                                            Deposition Excerpts Class Member’s mother
                                              Sara Exxxxxxxx xxxxx (Ex. 17):
16
                                              Sara Exxxxxxxx xxxxx was detained by CBP
17
                                              for approximately 76 hours. See Ex. 16,
18                                            Strange Dec. Ex. L, Doc. No. 214-2.

19                                            Q: So how did you and your daughter drink
                                              while you were there?
20                                            A: There was a thermos, big thermos, but it
                                              had too much bleach to drink it.
21
                                              (Sara Exxxxxxxx xxxxx Dep. 21:20-21:21).
22
                                              Q: Okay. So you mentioned this again, but --
23                                            I’ll ask it again: So you – do you remember
                                              anything about how the water tasted?
24                                            A: Yes. Like bleach.
25                                            (Sara Exxxxxxxx xxxxx 23:2-23:5).

26                                            “The water tasted like bleach so we were
                                              scared to drink it.” Declaration of Sara
27                                            Exxxxxxxx xxxxx, Doc. No. 201-5 Ex. 24 ¶
                                              6.
28                                            _________
                                              Deposition Excerpts Class Member Yeslin

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1
2                                             Lxxxx xxxxxxx (Plaintiffs Ex. 18):

3                                             Yeslin Lxxxx xxxxxxx was detained by CBP
                                              for approximately 74 hours. See Ex. 16,
4                                             Strange Dec. Ex. K, Doc. #214-2.
5                                             Q: Now, did you have any – do you
6                                             remember – did you have any water in that
                                              room?
7                                             A: No.
                                              Q: Do you remember seeing a big jug on a
8                                             table of anything?
                                              A: No.
9                                             (Yeslin Lxxxx xxxxxxx Dep. 13:24-14:4).
10
                                              Q: So in this room, was there water?
11                                            A: No.
                                              Q: No water?
12                                            A: No.
                                              Q: No jug of water on a table?
13
                                              A: No.
14                                            (Yeslin Lxxxx xxxxxxx Dep 21:5-21:10).
                                              ________
15                                            Deposition Excerpts Class Member’s Mother
                                              Yessenia Exxxxxxxx xxxxxxx (Ex. 19):
16
                                              Yessenia Exxxxxxxx xxxxxxx was detained
17
                                              by CBP for approximately 63 hours. See Ex.
18                                            16, Strange Dec. Ex. N, Doc. #214-2.

19                                            Q: Were you given anything—was there
                                              anything to drink at the first place that you
20                                            went?
                                              A: Yes.
21
                                              Q: What was there to drink?
22                                            A: Just juice.
                                              Q: Was there water?
23                                            A: No. (Yessenia Exxxxxxxx xxxxxxx Dep.
                                              19:10-19:16)
24                                            _________
25                                            Declaration of Raquel Axxxxx xxxxxx, Doc.
                                              No. 201-5 Ex. 26 ¶ 7
26                                            “The border patrol officials would not give us
                                              water. The only way we could get water was
27                                            when we would be let into the room to get
                                              water from the sink in the bathroom. I was
28                                            very thirsty and so was my daughter. I asked
                                              BP officials for water and they responded that

                                             18
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1
2                                             they ‘did not have that.”
                                              __________
3                                             Declaration of Alex Mensing, Doc. No. 201-3
                                              Ex. 19 ¶10
4                                             “Mothers also routinely reported that there is
                                              either not enough water, no access to potable
5                                             water, or no cups with which to drink any
6                                             water that may be provided.”
                                              ________
7                                             Declaration of attorney Lindsay Harris, Doc.
                                              No. 201-2 Ex. 14 ¶4(c)
8                                             “Drinking water is usually in a dirty container
                                              and 30-40 detainees in the cell are often
9                                             required to share one cup.”
10                                            ________
                                              Declaration of Bianca Cxxxxxxxx xxxxx,
11                                            Doc. No. 201-5 Ex. 37 ¶ 11 (17 yrs old)
                                              “The water they given me tasted dirty. So I
12                                            have not drunk water since arriving.”
                                              ________
13
                                              Declaration of Josselyn Mxxxxx xxxxxx,
14                                            Doc. No. 201-6 Ex. 55 ¶ 13 (01/30/2016)
                                              “The water tastes like chlorine.”
15                                            ________
                                              Declaration of Alex Mensing attachment
16                                            Exhibit P, Doc. No. 201-4 Ex. 19 ¶18
                                              (11/15/2015)
17
                                              “We had to share a cup among all the women
18                                            and children about 20 people and the water
                                              hurt my stomach.”
19
                                              Declaration of Alex Mensing attachment
20                                            Exhibit TT, Doc. No. 201-4 Ex. 19 ¶ 8
                                              “I was really dehydrated and needed water but
21
                                              I couldn't drink the water because it made me
22                                            want to vomit.”

23                                            Declaration of Alex Mensing, Doc. No. 201-3
                                              Ex. 19 at ¶ 13
24                                            “...[A] mother reported that she and her eldest
25                                            experienced pain urinating from a lack of
                                              water in the [CBP’s] hielera.”
26
                                              Declaration of Alex Mensing attachment
27                                            Exhibit O, Doc. No. 201-3 Ex. 19 ¶6
                                              “They gave us water but it tasted like it had a
28                                            lot of chlorine in it and tasted horrible.”


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1
2                                             Declaration of Alex Mensing attachment
                                              Exhibit W, Doc. No. 201-4 Ex. 19 ¶9
3                                             “The water wars terrible and tasted like
                                              chlorine. I couldn’t drink it.”
4
                                              Declaration of Alex Mensing attachment
5                                             Exhibit HH, Doc. No. 201-3 Ex. 19
6                                             “[T]hey gave them a dirty water that had a
                                              bad smell.”
7
                                              Declaration of Alex Mensing attachment
8                                             Exhibit KK, Doc. No. 201-3 Ex. 19 (“In the
                                              hielera they only gave water that had a lot of
9                                             chlorine and this caused my baby to get sick
10                                            to his stomach.”).
                                              ________
11                                            Declaration of Karen Zxxxxx xxxxxx, Doc.
                                              No. 201-5 Ex. 39 ¶ 5
12                                            “We did not drink any water because it was
                                              right near the bathroom and the container was
13
                                              disgusting. Instead, I would ration the small
14                                            bags of juice for my son.”

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1
2           C.  Flores Class Member children       TEDS Manual, § 4.6 Hold Room Monitoring,
                are held in CBP facilities that    p. 16:
3                                                  “Cleanliness: All facilities or hold rooms
                are unsanitary and unfit for
                                                   used to hold detainees must be regularly and
4               human habitation                   professionally cleaned and sanitized.
                                                   Officers/Agents or detainees will not be
5                                                  expected nor required to perform such tasks.”
6
                                                   “Hold Room Checks: Regular hold room
7                                                  checks should be conducted and recorded to
                                                   ensure proper occupancy levels, safety,
8                                                  hygiene, and the availability of drinking
                                                   water. Such checks should be recorded in the
9                                                  appropriate electronic systems of record as
10                                                 soon as practicable.”

11                                                 “Privacy: Officers/Agents will enable
                                                   detainees to shower (where showers are
12                                                 available), perform bodily functions, and
                                                   change clothing without being viewed by staff
13
                                                   of the opposite gender, except in exigent
14                                                 circumstances or when such viewing is
                                                   incidental to routine cell checks or is
15                                                 otherwise appropriate in connection with a
                                                   medical examination or MBM under medical
16                                                 supervision.”
17
                                                   “Use of Restrooms: If restrooms are not
18                                                 available in the secure area, supervisors must
                                                   ensure that an officer/agent is within visible
19                                                 or audible range of the secure area to allow
                                                   detainees to access restrooms upon request.”
20
                                                   TEDS Manual, § 4.11 Hygiene, p. 17:
21
                                                   “Basic Hygiene Items: Detainees must be
22                                                 provided with basic personal hygiene items,
                                                   consistent with short term detention and
23                                                 safety and security needs. Families with small
                                                   children will also have access to diapers and
24                                                 baby wipes….
25                                                 Restrooms: Detainees using the restroom will
                                                   have access to toiletry items, such as toilet
26                                                 paper and sanitary napkins. Whenever
                                                   operationally feasible, soap may be made
27                                                 available.”
28                                                 TEDS Manual, § 4.12 Bedding, p. 17:


                                                  21
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1
2                                             “Clean bedding must be provided to juveniles.
                                              When available, clean blankets must be
3                                             provided to adult detainees upon request.”

4                                             TEDS Manual, § 4.15 Restroom Facilities, p.
                                              18:
5                                             “Restroom Facilities: Restroom
6                                             accommodations will be available to all
                                              detainees and a reasonable amount of privacy
7                                             will be ensured. If the detainee is suspected of
                                              being an internal carrier, restroom use may be
8                                             monitored.
                                              Privacy: Officers/Agents must make a
9                                             reasonable effort to afford privacy to all
10                                            detainees of the opposite gender consistent
                                              with the prohibition on voyeurism.”
11
                                              TEDS Manual, § 5.6 Detention, p. 23:
12                                            “Hold Rooms – UAC: Hold rooms for UAC
                                              must provide the following:Toilets and sinks;
13
                                              Professional cleaning and sanitizing at least
14                                            once per day; Drinking fountains or clean
                                              drinking water along with clean drinking
15                                            cups; Adequate temperature control and
                                              ventilation; and Clean bedding.”
16
                                              Deposition Excerpts of Class Member
17
                                              Mother Celina Sxxxxxx-xxxx (Ex. 11):
18                                            Celina Sxxxxxx-xxxx was detained by CBP
                                              for approximately 66 hours. See Ex. 16,
19                                            Strange Dec. Ex. O, Doc. No. 214-2.
20
                                              Q: And what was around the toilet?
21                                            A: Well, the other people, what they did is lay
                                              down around there.
22                                            Q: Okay. So you’re saying there are people
                                              laying down by the toilet.
23                                            A: Yes.
                                              (Celina Sxxxxxx-xxxx 20:23-21:3).
24
25                                            There was an open toilet in the room with no
                                              toilet seat for everyone to use. Everyone
26                                            could see if we were using the toilet.
                                              [Doc. # 201-5 at 849, Dec. of Celina
27                                            Sxxxxxx-xxxx Ex. 28, ¶ 8].
28                                            ________
                                              Deposition Excerpts of Class Member
                                              Mother Karina Vxxxx-xxxxxxx (Ex. 13)

                                             22
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1
2                                             Q:Was there a door to the toilet?
                                              A: No.
3                                             Q: How many toilets were in the room?
                                              A: Three or four.
4                                             Q: Did the bathrooms have sinks?
                                              […]
5                                             A: No. […] No sink to wash the hands.
6                                             Q: Did you have access to a sink in that first
                                              station?
7                                             A: No, I didn’t.
                                              (Karina Vxxxx-xxxxxxx Dep. 25:15-26:20).
8
                                              Q: Can you describe the floor of the room
9                                             where you slept?
10                                            A: Just concrete.
                                              Q: Was it clean or dirty?
11                                            A: Dirty.
                                              Q: What do you mean? How was it dirty?
12                                            A: Dirty. Like a soil from outside.
                                              (Karina Vxxxx-xxxxxxx Dep. 27:9-27:17).
13
                                              _______
14                                            Declaration Excerpts of Mario Martinez,
                                              Chief Patrol Agent of Laredo Sector.
15                                            Trash cans are not kept in holding rooms due
                                              to safety concerns. However, they are
16                                            available in the processing area and made
                                              available to detainees after meals are served
17
                                              for disposal of refuse.
18                                            [Doc. No. 210-1, Dec. of Mario Martinez Ex.
                                              7, ¶ 32].
19                                            _________
                                              Deposition Excerpts of Class Member mother
20                                            Mirna Mxxxxxx xxxxx (Ex. 15):
                                              Mirna Mxxxxxx xxxxx was detained by CBP
21
                                              for approximately 62 hours. See Ex. 16,
22                                            Strange Dec. Ex. R, Doc. #214-2.

23                                            Q. Did you have any other medical issues
                                              while you were there at the CBP facility the
24                                            first facility?
25                                            A. Yes. Since we slept on the floor and some
                                              -- and so -- and because sometimes we had to
26                                            sleep there on the side of the toilet. It was
                                              ugly and dirty and smelly.
27                                            Q. I'm sorry. Are you saying that you literally
                                              slept up against the toilet itself or just that you
28                                            were in the cell nearby the toilet?
                                              A. No. It was -- as it turned out, I had to sleep

                                             23
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1
2                                             there because there was no more room. It was
                                              very full.
3                                             Q. Okay. And when you say you had to sleep
                                              there, you mean your head was pressed up
4                                             against the toilet?
                                              A. The toilet was over here. It was over here
5                                             on the floor. I was sleeping right there
6                                             because, first of all, the force of the air didn't
                                              get as strongly there. And the other one was
7                                             because there wasn't enough space. It was
                                              full. There were many people.
8                                             (Mirna Mxxxxxx xxxxx Dep. 33:15-34:11).
9                                             A. Okay. The toilet was over here. And over
10                                            here was the wall from where we were at, like
                                              that. And I would lie down over here. There
11                                            was a toilet. I was over here by the wall. And
                                              then I would place my little boy in between
12                                            me and over there and cover him so that the
                                              strength of the cold air would not hit him.
13
                                              (Mirna Mxxxxxx xxxxx Dep. 35:1-35:7).
14
                                              Q (BY MS. CONNOLLY) So going back to
15                                            your medical issues. So –
                                              A. That's where I picked up -- well, head lice.
16                                            That's where I picked up head lice.
                                              (Mirna Mxxxxxx xxxxx Dep. 35:8-35:11).
17
18                                            The bathroom situation was very unsanitary.
                                              My youngest son and I got diarrhea and we
19                                            didn’t receive any medical attention. We
                                              weren’t provided with any toiletries and I
20                                            wasn’t able to bathe. [Doc. No. 201-5 at 840,
                                              Dec. of Mirna Mxxxxxx xxxxx Ex. 25, ¶ 6].
21
                                              _________
22                                            Deposition Excerpts of Class Counsel Peter
                                              Schey (Ex. 16):
23                                            Cleanliness in toilets. I visited about four --
                                              three or four detention cells and in two of
24                                            them I observed that there seemed to be
25                                            plenty of problems in the sense that there was
                                              what seemed to be soiled toilet paper around
26                                            the -- around the toilets. (Schey Dep. 31:23-
                                              32:2).
27
                                              At night the cells were crowded and people
28                                            would have to sleep right around the toilet
                                              which is in an area maybe four feet by five

                                             24
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1
2                                             feet that has a semi-privacy wall around it that
                                              I forget came up maybe -- maybe four feet.
3                                             (Schey Dep. 32:4-32:9).

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1
2           D.  Class members with torn,         TEDS Manual, § 5.6 Detention, p. 22:
                soiled or wet clothes are not    “Hygiene Articles, Bedding and Clean
3                                                Clothing - Juveniles: Juveniles will be given
                provided with dry clothes by
                                                 access to basic hygiene articles, and clean
4               CBP officials.                   bedding. When available, juveniles will be
                                                 provided clean and dry clothing.
5                                                Officers/Agents may give access to these
6                                                provisions to any juvenile at any time….”

7                                                Deposition Excerpt of Paul Beeson, CBP,
                                                 Chief Patrol Agent – Tucson Sector (Ex. 4):
8                                                Q. Okay. I'm not talking about at the TCC.
9                                                I'm talking about at the station. Do you
                                                 know if those stations maintain some
10                                               inventory of change of clothing for
                                                 children? If you know. If you don't know,
11                                               just say you don't know...
12                                               THE WITNESS: So I don't know for certain
                                                 if they do. I believe that they do, though.
13                                               (Beeson Dep. 52:24-53:8)

14                                               Q. Is a there budget line item for you to
                                                 acquire clothing for children?
15
                                                 A. I'm not aware of one for that.
16                                               Q. Okay. And where is that clothing
                                                 obtained from?
17                                               A. The stuff that I am aware of is, I believe,
                                                 was donation and then I think we do get
18
                                                 some from DUMO (phonetically), the
19                                               Defense and Utilization Management
                                                 Office, I think that's what it stands for if I
20                                               recall correctly.
                                                 Q. You believe that you get some change of
21
                                                 clothing for children from that group or
22                                               agency?
                                                 A. I know we get clothing from them. I
23                                               don't know that they have children
                                                 specifically but I do know we have children
24
                                                 for clothing -- clothing for children. I've
25                                               seen it.
                                                 Q Okay. And you have seen, and you
26                                               understand that somebody donated that?
                                                 A I believe some of it was donated, either
27
                                                 brought in by agents who were donating it
28                                               or we got it from other locations.
                                                 Q And what was the size of the inventory at
                                                 the most recent time that you looked at it?

                                                26
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2                                             Approximately how many articles of
                                              clothing would you say were available and
3                                             covering what age range? …
                                              THE WITNESS: I did not go through the
4                                             clothing. I don't know that I can answer that.
5                                             (Beeson Dep. 53:13-54:14).
                                              __________
6                                             Deposition Excerpts of Class Member’s
                                              Mother Mirna Mxxxxxx xxxxx (Ex. Xx):
7                                             Q. How was your health at that facility?
                                              A. Well, what happened to me there was that
8
                                              there was no access to where I could change
9                                             my underwear. I contacted an infection. I
                                              picked up an infection. And when I would
10                                            urinate, I would like throw out blood from my
                                              parts.
11                                             (Mirna Mxxxxxx xxxxx Dep. 32:10-32:14).
12                                            _________
                                              Deposition Excerpts of Class Member
13                                            Mother Ritza Mxxx xxxxxxx (Ex. 10):
                                              Q: Okay. And that you were then wearing
14                                            your boxer shorts in the cell and you asked for
                                              dry pants, but they gave you back your wet
15
                                              pants, is that correct?
16                                            A: Yes. (Ritza Mxxx xxxxxxx Dep. 35:19-
                                              35:22).
17                                            ________
                                              Deposition Excerpts Class Member’s
18                                            mother Zulma Mxxxxxxx xxxxxxx (Ex.
19                                            20):
                                              Q. When you arrived at la hielera, were your
20                                            son's clothes wet from crossing the river?
                                              A. Yes …
21                                            Q. And did anybody at that Border Patrol
                                              Station offer your son dry clothing?
22                                            A. No.
23                                            Q. And to your knowledge, at that first Border
                                              Patrol Station, did anyone offer your son a
24                                            warm shower? …
                                              A. Yes. Like I told you before, a la hielera,
25                                            they didn't offer us anything, not clothes, not
                                              blankets, not a shower, nothing.
26
                                              (Zulma Mxxxxxxx xxxxxxx Dep. 42:5-
27                                            42:24).
                                              ________
28                                            Declaration of Sara Exxxxxxxx xxxxx,
                                              mother of Class Member:


                                             27
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1
2                                             During the three days at the border patrol
                                              facilities, my daughter was not able to ...
3                                             change underwear or clothes.
                                              [Doc. No. 201-5 at 837, Ex. 24,¶ 8].
4                                             _________
                                              Declaration of Class Member Yeslin Lxxxx
5                                             xxxxxxx (age 9):
6                                             They did not give us any blankets and we
                                              were all wet and they didn’t give us any dry
7                                             clothes. Ex. 23 ¶ 6
                                              _________
8                                             Declaration of Eloisa Rxxxxx xxxxxx,
                                              Doc. No. 201-6 Ex. 58 ¶8
9                                             “My clothes and my daughter’s clothes
10                                            were wet and we were not given dry
                                              clothes.”
11
                                              Declaration of attorney Jocelyn Dyer:
12                                             The mother also reported that she and her
                                              son were freezing and shivering while
13
                                              they were in CBP custody because of the
14                                            cold temperatures and the fact that they
                                              were forced to wear wet clothing for four
15                                            days straight. Ex. 6 ¶11A (12/21/15).

16                                            Declaration of Class Member Mother Isamar
                                              Sxxxxxx xxxxxx:
17
                                              We were wet from crossing the river and
18                                            forced to stay in our wet clothes the entire
                                              time. (Doc. No. 201-5 Ex. 30 ¶6.)
19
                                              Declaration of Class Member Mother
20                                            Karen Zxxxxx xxxxxx:
21                                            My son was cold and wearing wet
                                              clothes, so he was so cold that his lips
22                                            turned purple. (Doc. No. 201-5 Ex. 39,
                                              Ex. 39 ¶7).
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1
2           E.  Class members in CBP              U.S. Customs and Border Protection National
                facilities for 12-72 hours are    Standards on Transport, Escort, Detention,
3                                                 and Search (“TEDS”), October 2015,
                not provided showers, soap,
                                                  available at:
4               toothbrushes or towels.           https://www.cbp.gov/sites/default/files/docum
                                                  ents/cbp-teds-policy-
5                                                 20151005_1.pdf.
6
                                                  TEDS §4.11 Hygiene
7                                                 Showers: Reasonable efforts will be made to
                                                  provide showers, soap, and a clean towel to
8                                                 detainees who are approaching 72 hours in
                                                  detention.
9

10                                                TEDS §5.6 Detention
                                                  Showers – Juveniles: Reasonable efforts will
11                                                be made to provide showers, soap, and a clean
                                                  towel to juveniles who are approaching 48
12                                                hours in detention.
                                                  _________
13
                                                  Deposition Excerpts of Rodney Scott, CBP,
14                                                Chief Patrol Agent – El Centro Sector (Ex. 3):
                                                  Q: And if the juvenile is detained, is there -- is
15                                                there any policy in your sector which would
                                                  indicate at what point a juvenile may or may
16                                                not be offered a warm shower?
                                                  A: Yes. At 48 hours, if we have access to
17
                                                  facilities, we're going -- we're going to try to
18                                                make sure that kid gets a shower offered to
                                                  them. Our -- our facilities don't normally
19                                                have -- or our stations don't normally have
                                                  those facilities, so we've had to kind of do an
20                                                ad hoc in a couple of occasions. But, yes. So
                                                  at 48 hours, we're trying to find a place for
21
                                                  them to take a shower. And in that case, they
22                                                do get a full-on towel, normal, clean towel,
                                                  shampoo, soap, that kind of stuff. (Scott Dep.
23                                                24:5-24:18) (emphasis added).
24                                                Q: How do you know that this 48-hour-mark
25                                                shower is being provided? ….
                                                  A: So that's documented now, kind of what
26                                                we talked about a minute ago, through the E3
                                                  detention module. It's a database we have. So
27                                                that's one of the red flags that pops up, and
                                                  then the agents actually have to put data into
28                                                the system so you can go back and track and
                                                  record -- you know, basically see was it done,

                                                 29
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1
2                                             exactly when was it done…. (Scott Dep.
                                              49:12-49:21).
3
                                              A: … there's a division at our headquarters in
4                                             Washington, D.C., that monitors that system
                                              on a regular basis. And I get flags from them,
5                                             if you will. (Scott Dep. 51:3-51:6).
6
                                              _________
7                                             Deposition Excerpts of Class Member mother
                                              Sara Exxxxxxxx xxxxx (Ex. 17):
8                                             A: But they did not give us anything to bathe
                                              or brush our teeth, nothing.
9                                             (Sara Exxxxxxxx xxxxx Dep. 24:24-24:25).
10
                                              Q: Was there any – were there any issues with
11                                            the drinking water at the facility?
                                              A: There was none to brush our teeth or to
12                                            bathe, just what they would give us to drink.
                                              (Sara Exxxxxxxx xxxxx Dep. 25:17-25:20).
13
14                                            During the three days at the border patrol
                                              facilities, my daughter was not able to
15                                            shower, wash ... We were not given the
                                              opportunity to brush our teeth for three days.
16                                            [Doc. No. 201-5 at 837, Dec. of Sara
                                              Exxxxxxxx xxxxx Ex. 24, ¶ 8].
17
                                              ________
18                                            Declaration of Yessenia Exxxxxxxx xxxxxxx
                                              (Doc. No. 201-5, Ex. 27):
19                                             “For three days we were given no soap to
                                              wash, no toothbrushes to brush our teeth, no
20                                            paper towels to dry our hands when we
                                              washed our hands, nothing to brush our hair,
21
                                              no change of underwear or clothes, no pillows
22                                            or blankets and no beds to sleep in. We had to
                                              try to sleep in the freezing cold cell on the
23                                            concrete floor. We were exhausted physically
                                              and emotionally.” Doc. No. 201-5 at 846,
24                                            Dec. of Yessenia Exxxxxxxx xxxxxxx Ex. 27,
25                                            ¶ 6.

26                                            “[At La Perrera,] I was able to take a shower
                                              for the first time since before I came into
27                                            custody, but I have spoken to my mother and
                                              she says that neither she nor my brother was
28                                            able to take a shower.” Id. ¶ 9.


                                             30
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1
2           F.   Class members in CBP                 TEDS Manual, § 4.11 Hygiene,
                 facilities are not provided with     Basic Hygiene Items: Detainees must be
3                                                     provided with basic personal hygiene items,
                 soap and towels to wash from
                                                      consistent with short term detention and
4                the time they are first detained.    safety and security needs. Families with small
                                                      children will also have access to
5                                                     diapers and baby wipes.
6                                                     Restrooms: Detainees using the restroom will
                                                      have access to toiletry items, such as toilet
7                                                     paper and sanitary napkins. Whenever
                                                      operationally feasible, soap may be made
8                                                     available.
9                                                     TEDS Manual, § 5.6 Detention, Hygiene
10                                                    Articles, Bedding and Clean Clothing -
                                                      Juveniles: Juveniles will be given access to
11                                                    basic hygiene articles, and clean bedding.

12
                                                      Deposition Excerpts of Rodney Scott, CBP,
13
                                                      Chief Patrol Agent – El Centro Sector (Ex.
14                                                    3):
                                                      Q: Can you tell us, is -- are juveniles held in
15                                                    your stations provided soap to wash with?
                                                      A: Yes. Every one of the holding rooms has a
16                                                    sink and it has a soap dispenser that's checked
17                                                    every day to make sure that it's -- it's
                                                      restocked and supplied, yes.
18                                                    Q: And are they provided any type of towels
                                                      to dry themselves, dry their hands or face with
19                                                    after washing?
                                                      A: In El Centro sector, no. It's a unique
20                                                    environment. It's very arid. I mean, there's
21                                                    no humidity hardly whatsoever. So it air dries
                                                      very quickly. So we do not provide paper
22                                                    towels. Unfortunately, throughout -- over the
                                                      years, we've realized that there's a lot of
23                                                    problems with the paper towel. They actually,
                                                      very intentionally or unintentionally, they
24
                                                      think they can flush it down the toilet. And
25                                                    we've had a lot of plumbing issues, and then
                                                      through research we decided this was a better
26                                                    option. It's also more environmentally
                                                      friendly that you don't have the germ issues
27                                                    this way either. And we're talking hand
                                                      washing and face washing on a daily basis,
28
                                                      not -- not, like, a shower or something like
                                                      that. (Scott Dep. 23:5-24:4).

                                                     31
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1
2                                             _________
                                              Deposition Excerpts of Class Member
3                                             Mother Mirna Mxxxxxx xxxxx (Ex. 15):
                                              Q. So there was a toilet in your cell, correct?
4                                             A. Yes.
                                              Q. And there was a sink with that toilet?
5
                                              A. Yes.
6                                             Q. And they had soap with that sink?
                                              A. No.
7                                             (Mirna Mxxxxxx xxxxx Dep. 18:20-19:1).

8                                             Q. Now, you said earlier that there was no
                                              soap for you to wash your hands.
9
                                              A. No.
10                                            Q. Did you ever ask any of the people at the
                                              facility to provide soap?
11                                            A. No.
                                              Q. And was there any sort of hand sanitizer in
12                                            the facility?
                                              A. Yes.
13
                                              Q. Okay. So there was the hand sanitizer in
14                                            the sink area?
                                              A. It was only the apparatus by itself.
15                                            Q. You're saying the apparatus was there, but
                                              there was no sanitizer in it?
16                                            A. Soap, no.
17                                            (Mirna Mxxxxxx xxxxx Dep. 42:1-42:15).
                                              __________
18                                            Deposition Excerpts of Class Counsel Peter
                                              Schey (Ex. 16):
19                                            The no soap or water, that's not really
                                              contested. I observed there was no soap and
20                                            there was no paper towels. That's what all the
21                                            mothers say and CBP doesn't deny that in any
                                              of their declarations that they have filed in
22                                            this case. They say that people are either
                                              provided soap or hand sanitizer. To be honest
23                                            with you, I didn't see -- in the cells I visited
                                              maybe the day I visited they took out all the
24                                            hand sanitizers just for my visit but -- but I
25                                            can tell you that in none of the cells that I
                                              visited was there either hand sanitizer or soap.
26                                            There was nothing. There was nothing to
                                              wash with. Nor -- nor -- there was a small
27                                            sink with cold water right above the toilet. So
                                              you have a metal toilet, no toilet seat, and
28
                                              right above the toilet is a very small sink with
                                              one water spout, cold water. And if you

                                             32
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1
2                                             wanted to wash, I guess you could wash there
                                              but there was no soap and there were no
3                                             towels of any type to dry. If you washed your
                                              face, washed your hands, there was no -- so I
4                                             personally observed that.
                                              (Schey Dep. 30:21-31:15).
5                                             __________
6                                             Deposition Excerpts Class Member’s
                                              mother Zulma Mxxxxxxx xxxxxxx
7                                             (Plaintiffs’ Ex. 20):
                                              Q. And at la hielera, was there any soap and
8                                             towels in the cell so that you could wash your
                                              hands and face?
9
                                              A. No.
10                                            (Zulma Mxxxxxxx xxxxxxx Dep. 43:5-43:8).
                                              _________
11                                            Deposition Excerpts of Class Member
                                              Franklin Rxxxx xxxxxxxxx (Ex. 12):
12                                            Q: Can you tell me about the toilet facilities?
13                                            A: It was a toilet, and it didn’t have a seat
                                              where you sit down. It was not very clean,
14                                            and they only had a sink.
                                              Q: Okay. So there was a sink in the
15                                            bathroom?
                                              A: Yes. No paper or anything to wash.
16
                                              Q: Was there soap?
17                                            A: No.
                                              Q: Was there any hand sanitizer?
18                                            A: No.
                                              Q: Was there a wall around the toilet area?
19                                            A: Yes. There was a wall about this high
                                              (indicating).
20
                                              Q: For the record, you're holding your hand
21                                            up about three feet would you say?
                                              A: Yes.
22                                            (Franklin Rxxxx xxxxxxxxx Dep. 10:2-
                                              10:17).
23
                                              Q: Okay. And were you able to wash your
24
                                              face?
25                                            A: Yes.
                                              Q: Okay. Was there soap available?
26                                            A: No.
                                              (Franklin Rxxxx xxxxxxxxx Dep. 17:2-
27                                            17:12).
28
                                              “At the border patrol station in McAllen …
                                              [t]here was no soap and no hand dryer or

                                             33
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1
2                                             paper towels.”
                                              [Doc. No. 201-5 at 918, Dec. of Franklin
3                                             Rxxxx xxxxxxxxx Ex. 45. ¶ 7].
                                              _________
4                                             Deposition Excerpt of Class Member’s
                                              Mother Lindsay Gxxxx xxxxx (Ex. 14):
5                                             A: The bathroom ...didn't have ... soap.
6                                             (Lindsay Gxxxx xxxxx Dep. 8:20-8:22).

7
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1
2           G.  Class Member children suffer     TEDS Manual 4.6 Hold Room Monitoring, p.
                from extremely cold              16:
3                                                “Temperature Controls: When it is within
                temperatures in CBP detention
                                                 CBP control, officers/agents should maintain
4               facilities. Defendants do not    hold room temperature within a reasonable
                provide children with jackets    and comfortable range for both detainees and
5               or sweaters to deal with the     officers/agents. Under no circumstances will
6               cold temperatures.               officers/agents use temperature controls in a
                                                 punitive manner.”
7
                                                 Declaration Excerpts of Class Member
8                                                Mother Celina Sxxxxxx-xxxx (Ex. 11):
                                                 Celina Sxxxxxx-xxxx was detained by CBP
9                                                for approximately 66 hours. See Ex. 16,
10                                               Strange Dec. Ex. O, Doc. #214-2.
                                                 “We were taken to a Border Patrol station.
11                                               My son and I were detained in a cell for a
                                                 period of what I believe was two days. The
12                                               cell was extremely cold very crowded. I
                                                 believe that as more people came into the
13
                                                 room, the air conditioners were turned up.”
14                                               [Doc. No. 201-5 at 849, Dec. of Celina
                                                 Sxxxxxx-xxxx Ex. 28, ¶ 5].
15
                                                 Deposition Excerpts of Class Member
16                                               Franklin Rxxxx xxxxxxxxx (Ex. 12):
                                                 Q: And what happened when you were
17
                                                 apprehended?
18                                               A: They took us to a detention center. They
                                                 call it the “ice box.”
19                                               (Franklin Rxxxx xxxxxxxxx Dep. 7:24-8:1).
20                                               Q: So who did you hear call it “the ice box”?
                                                 A: The people that were there in that same
21
                                                 room.
22                                               Q: The other immigrants?
                                                 A: Yes.
23                                               (Franklin Rxxxx xxxxxxxxx Dep. 8:13-8:16).
24                                               A: All this part and all this area (indicating), I
25                                               got spots because of the cold.
                                                 Q: Did you seek medical treatment for that
26                                               condition?
                                                 A: Not at that place.
27                                               Q: Okay. I want to clarify. You said you had
                                                 spots from the cold on your cheeks?
28                                               A: Yes.
                                                 Q: Before you were apprehended, did you

                                                35
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1
2                                             have any medical problems?
                                              A: No.
3                                             Q: You said you did not notify anyone at the
                                              McAllen border station about your skin.
4                                             A: Yes.
                                              Q: Yes, you did not tell anyone?
5                                             A: Not at that place, but yes to the next place
6                                             that we were detained, the following place.
                                              (Franklin Rxxxx xxxxxxxxx Dep. 13:1-
7                                             13:18).

8                                             Q: So earlier you said that you did not tell
                                              anyone at the border station about the spots
9                                             on your skin, but that you did tell someone
10                                            later. When and who did you tell?
                                              A: I told that to one of the persons that were
11                                            there, but that person only just told me, "Just
                                              wash your face."
12                                            Q: So you told someone -- a border patrol
                                              agent?
13
                                              A: To the guards that they were taking care of
14                                            us at the second location.
                                              (Franklin Rxxxx xxxxxxxxx Dep. 17:2-
15                                            17:11).

16                                            Q: Did you receive a blanket at the second
                                              facility?
17
                                              A: Yes.
18                                            Q: Did you need it?
                                              A: Yes.
19                                            Q: Can you describe the temperature?
                                              A: Cold.
20                                            (Franklin Rxxxx xxxxxxxxx Dep. 18:4-
                                              18:10).
21
22                                            Q: And were you cold the whole two days
                                              that you were there?
23                                            A: Yes.
                                              (Franklin Rxxxx xxxxxxxxx Dep. 40:3-40:5).
24
25                                            Deposition Excerpts of Class Member Mother
                                              Karina Vxxxx-xxxxxxx (Ex. 13)
26                                            Q: And why do you call it the icebox?
                                              A: Because it’s very cold.
27                                            (Karina Vxxxx-xxxxxxx Dep. 23:14-23:16).
28                                            The door to the room was thick metal, like the
                                              door to a walk-in freezer. [Doc. No. 201-3 at

                                             36
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1
2                                             631, Dec. of Karina Vxxxx-xxxxxxx Ex. 19-
                                              H, ¶ 2].
3
                                              The room was horrible. It was freezing cold.
4                                             The floor was concrete. Many people slept on
                                              the floor with no blankets.
5                                             [Doc. No. 201-3 at 631, Dec. of Karina
6                                             Vxxxx-xxxxxxx Ex. 19-H, ¶ 3].

7                                             My son and I slept under one of the toilets
                                              because it was too cold to sleep in the main
8                                             area of the room and it was warmer under the
                                              toilet. The smell was horrible and other
9                                             people used the toilet during the night while
10                                            we were lying under it.
                                              [Doc. No. 201-3 at 631, Dec. of Karina
11                                            Vxxxx-xxxxxxx Ex. 19-H, ¶ 5].

12                                            Many people slept in the toilet areas. As many
                                              people as could fit tried to sleep there and
13
                                              people were fighting over those spaces. [Doc.
14                                            No. 201-3 at 631, Dec. of Karina Vxxxx-
                                              xxxxxxx Ex. 19-H, ¶ 6].
15
                                              Many time, such as when I asked for a
16                                            blanket because it was so cold, officers told
                                              me that being in the hielera was our
17
                                              punishment for coming to the United States.
18                                            One officer told me when I showed him my
                                              freezing cold son sleeping on the floor with
19                                            no blanket, “This is what happens when you
                                              come to my country – you know that we don’t
20                                            like immigrants.”
                                              [Doc. No. 201-3 at 631, Dec. of Karina
21
                                              Vxxxx-xxxxxxx Ex. 19-H, ¶ 11].
22
                                              Declaration Excerpt of Mario Martinez, Chief
23                                            Patrol Agent of Laredo Sector (Exhibit 5):
                                              Laredo Sector Stations maintain a temperature
24                                            conducive to the health of detainees, with
25                                            particular caution given to overheating. I have
                                              never heard of temperature being used by
26                                            Border Patrol Agents in a punitive manner. In
                                              holding rooms designed for juveniles, the
27                                            temperature is maintained between 66-80
                                              degrees Fahrenheit.
28                                            [Doc. No. 210-1, Dec. of Mario Martinez Ex.
                                              7, ¶ 33].

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1
2
                                              Although Border Patrol has long maintained
3                                             appropriate temperatures in its stations, in
                                              response to the Court’s order, the Laredo
4                                             Sector also obtained infared temperature
                                              meters in order to take the temperature in any
5                                             holding room prior to placing a juvenile in
6                                             that room and every twenty-four hours
                                              thereafter. […] Consistent with the October
7                                             16, 2015 guidance, Border Patrol Agents
                                              record in e3DM if the temperature is within
8                                             range (66-80 degrees Fahrenheit) or must
                                              specifically note when the temperature is out
9                                             of range. If the temperature is out of range,
10                                            Border Patrol Agents must immediately
                                              inform their supervisors who will contact
11                                            FM&E for immediate corrective action. [Doc.
                                              No. 210-1, Dec. of Mario Martinez Ex. 7, ¶
12                                            63].
13
                                              Deposition Excerpts of Manuel Padilla Jr.,
14                                            CBP, Chief Patrol Agent – Rio Grande Valley
                                              Sector (Ex. 2):
15                                            Q: …But I am just saying, there is no place in
                                              the welfare check E3DM system – there is no
16                                            field to say that this person or the mother
                                              complained that it was too cold to sleep. Is
17
                                              that fair to say?
18                                            A: That is fair to say. (Padilla Dep. 31:1-
                                              31:5).
19
                                              Deposition Excerpts of Paul Beeson, CBP,
20                                            Chief Patrol Agent – Tucson Sector (Ex. 4):
                                              Q Is it correct that you've been instructed to
21
                                              keep the temperature in holding cells for
22                                            minors and possibly including adults, between
                                              66 and 80 degrees? ...
23                                            THE WITNESS: There is some discussion
                                              about the temperature. I can't remember if it's
24                                            66 or 68, but 80 is the top range.
25                                            (Beeson Dep. 12:16-12:23).

26                                            Q: Would your response be the same if I
                                              asked you about other factors that you're
27                                            supposed to put in there such as temperature
                                              control, et cetera, would your responses be the
28                                            same about what you know or don't know or
                                              are familiar with about their training,

                                             38
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1
2                                             instruction guidance, et cetera?
                                              ....
3                                             THE WITNESS: Yes, I think it would.
                                              (Beeson Dep. 46:14-46:21).
4
                                              The temperature at Tucson Sector Border
5                                             Patrol stations is set between 71 and 74
6                                             degrees, and generally ranges between 68 and
                                              80 degrees in practice. In my experience,
7                                             many detainees are not accustomed to air
                                              conditioning, and sometimes find the holding
8                                             rooms cooler than they are accustomed to.
                                              [Doc. No. 209-3, Dec. of Paul Beeson, Ex. 6,
9                                             ¶ 37].
10
                                              Deposition Excerpts of Class Member mother
11                                            Lindsay Gxxxx xxxxx (Ex.14):
                                              Q: And when you were first apprehended, you
12                                            spent some time at the Customs and Border
                                              Protection patrol station in the McAllen
13
                                              station; is that right?
14                                            A: I don’t remember if it was McAllen
                                              because first they took me to a place – to cold
15                                            place and –
                                              MS. GARCIA: Sorry to interrupt. That’s an
16                                            ice box.
                                              THE INTERPRETER: Ice box.
17
                                              THE WITNESS: They were ice box because
18                                            at a certain place they had children detained,
                                              and in a separate place they had the adults.
19                                            Q: So the ICE records say that it was the
                                              McAllen border station. (Lindsay Gxxxx
20                                            xxxxx Dep. 7:9-7:20).
21
                                              A: We arrived at 11:30 to a very cold place,
22                                            and they had some cement benches.
                                              (Lindsay Gxxxx xxxxx Dep. 8:19-8:20).
23
                                              A: …Throughout the time passed by, the
24                                            temperature got colder. There was a time at
25                                            4:00 o'clock in the morning that my daughter
                                              couldn't sleep anymore, and I just had to wrap
26                                            her with my shirt. And then I had to put her
                                              feet between my legs because they were
27                                            turning blue. I had to reiterate the fact that she
                                              had a rash and I requested help, and she got
28                                            worse when she was inside.
                                              (Lindsay Gxxxx xxxxx Dep. 9:1-9:8)

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1
2
                                              A: The temperature of my blanket or if it will
3                                             cover me from the cold weather? They were
                                              not very large. It would not cover me
4                                             completely.
                                              Q: Okay.
5                                             A: And at the beginning, yes, it will warm me
6                                             up. But throughout the time, the temperature
                                              kept going lower and lower and lower to the
7                                             point that my daughter became bluish because
                                              of the cold weather. (Lindsay Gxxxx xxxxx
8                                             Dep. 13:20-14:2).
9                                             Q: Now, you have called the first station "the
10                                            ice box"; is that right?
                                              A: Yes.
11                                            Q: Where does that name come from?
                                              A: Because it was very cold. According to
12                                            them, it was to disinfect us.
                                              Q: According to who?
13
                                              A: The people that were there, they said that
14                                            the guards from there will tell them that the
                                              cold, it was to disinfect us. (Lindsay Gxxxx
15                                            xxxxx Dep. 26:10-26:19).

16                                            A: Besides the temperature, temperature,
                                              there were other kids that they were crying
17
                                              too because of the temperature. (Lindsay
18                                            Gxxxx xxxxx Dep. 40:16-40:18).

19                                            “Kenia was so cold she could not go to sleep.
                                              There were no beds, pillows or blankets. I
20                                            held Kenia tight, wrapping my arms around
                                              her to keep her warm. I did that for over three
21
                                              hours to help her sleep. She has a rash, and I
22                                            was worried about her. She did not get to see
                                              a doctor or nurse while we were at the CBP
23                                            station. Her hands started to turn colors, she
                                              was so cold.” [Doc. No. 201-5 at 872, Dec. of
24                                            Lindsay Gxxxx xxxxx Ex. 33, ¶7].
25
                                              Deposition Excerpts of Class Member Mother
26                                            Mirna Mxxxxxx xxxxx (Ex. 15):
                                              Mirna Mxxxxxx xxxxx was detained by CBP
27                                            for approximately 62 hours. See Ex. 16,
                                              Strange Dec. Ex. R, Doc. #214-2.
28                                            Q. Can you describe for me yourself the area
                                              you were staying?

                                             40
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1
2                                             A. Yes. It's like a room and has a cement
                                              sidewalk. And it has its bathroom. And it's
3                                             very cold.
                                              Q. Let's talk about the temperature for a
4                                             second. You say it was very cold.
                                              A. Very cold.
5                                             Q. Now, you had clothing that you -- what
6                                             clothing were you wearing when you were
                                              there?
7                                             A. I only had on a shirt or a blouse. Excuse
                                              me. Blouse. And a pair of pants and only that
8                                             because I couldn't bring in my sweater. They
                                              had took that away from me. I couldn't bring
9                                             in anything else.
10                                            Q. Now, did you at any time see anyone
                                              adjusting the temperature?
11                                            A. No.
                                              (Mirna Mxxxxxx xxxxx Dep. 12:3-12:20).
12
                                              Q. Now, you said that the temperature was
13
                                              chilly in the cell you were in.
14                                            A. Yes.
                                              Q. Did the facility give you and your sons any
15                                            sort of cover or blanket?
                                              A. No.
16                                            Q. At no point that you were there?
                                              A. No. At no time. No.
17
                                              (Mirna Mxxxxxx xxxxx Dep. 13:1-13:8).
18
                                              Q. Now, in your declaration, you discuss the
19                                            temperature. And you said the children began
                                              crying. And when the children cried, they
20                                            would turn the temperature down even
                                              further.
21
                                              A. Yes.
22                                            Q. And is it your testimony today that that is
                                              accurate?
23                                            A. Yes.
                                              Q. Now, you never saw anyone touch a
24                                            temperature gauge, correct?
25                                            A. Well, they didn't get near it. It was at -- the
                                              officer, he had something in his hand. And he
26                                            would simply go like this and lower it, lower
                                              it, make it colder.
27                                            Q. And just for the record –
                                              A. He held something in his hand.
28                                            (Mirna Mxxxxxx xxxxx Dep. 17:24-18:14).


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1
2                                             We never got a mattress or a blanket, and it
                                              was very cold. The children began crying,
3                                             and when the children cried they would turn
                                              the temperature down even further. We were
4                                             completely unable to sleep because it was so
                                              cold. [Doc. No. 201-5 at 840, Dec. of Mirna
5                                             Mxxxxxx xxxxx Ex. 25, ¶ 4].
6
                                              Deposition Excerpt of Attorney Peter Schey
7                                             (Ex. 16):
                                              …[I]n monitoring the protocol that is being
8                                             set up for border patrol conditions, they say
                                              monitoring of temperatures is acceptable if it's
9                                             from 66 to 80 degrees. So if border patrol
10                                            sections keep it at 66, apparently it's okay
                                              under the monitoring guidelines but yet for
11                                            most Class members, especially if they have
                                              to sleep on a concrete floor and they've just
12                                            got one mylar blanket they're going to be
                                              freezing cold. (Schey Dep. 56:16-56:24).
13
14                                            Deposition Excerpts Class Member’s mother
                                              Sara Exxxxxxxx xxxxx (Ex.17):
15                                            Sara Exxxxxxxx xxxxx was detained by CBP
                                              for approximately 76 hours. See Ex. 16,
16                                            Strange Dec. Ex. L, Doc. No. 214-2.
                                              A: From there, they put us into a cold room,
17
                                              and we spent two days in there and two
18                                            nights. (Sara Exxxxxxxx xxxxx 17:4-17:5).

19                                            The place was very cold. [Doc. No. 201-5 at
                                              837, Dec. of Sara Exxxxxxxx xxxxx Ex. 24,,
20                                            ¶ 6].
21
                                              Deposition Excerpts Class Member Yeslin
22                                            Lxxxx xxxxxxx (Ex. 18):
                                              Yeslin Lxxxx xxxxxxx was detained by CBP
23                                            for approximately 74 hours. See Ex. 16,
                                              Strange Dec. Ex. K, Doc. #214-2.
24                                            Q: Now, did you get any blankets while you
25                                            were at that first place?
                                              A: No.
26                                            Q: And –
                                              A: We had them, but they don’t allow us to
27                                            take them.
                                              Q: Okay. So you had them when you were
28                                            first stopped by the men?
                                              A: Yes.

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1
2                                             Q: But they didn’t allow them into the room
                                              with you?
3                                             A: Yes.
                                              (Yeslin Lxxxx xxxxxxx Dep. 16:1-16:12).
4
                                              Deposition Excerpts Class Member Yessenia
5                                             Exxxxxxxx xxxxxxx (Ex. 19):
6                                             Yessenia Exxxxxxxx xxxxxxx was detained
                                              by CBP for approximately 63 hours. See Ex.
7                                             16, Strange Dec. Ex. N, Doc. No. 214-2.

8                                             Q: So when they put you in the truck; in the
                                              van you said, were you with your mother and
9                                             your brother?
10                                            A: I was with both of them.
                                              Q: Okay. And where did you go in the van?
11                                            A: To the icebox.
                                              Q: Do you know if the icebox has another
12                                            name?
                                              A: No.
13
                                              Q: Is the icebox—what—how would you
14                                            describe the icebox?
                                              A: It’s a room. It’s really cold.
15                                            Q: Okay. Is that where you were—you were
                                              detained with your mother and your brother?
16                                            A: Yes. (Yessenia Exxxxxxxx xxxxxxx Dep.
                                              16:23-17:11).
17
18                                            Q: Was it always too cold or was it sometimes
                                              too hot and sometimes too cold or was it just
19                                            always too cold?
                                              A: Always too cold. (Yessenia Exxxxxxxx
20                                            xxxxxxx Dep. 18:10-18:13).
21
                                              Deposition Excerpts Class Member’s
22                                            mother Zulma Mxxxxxxx xxxxxxx (Ex.
                                              20):
23                                            Q. Who called it la hielera?
                                              A. Everyone who arrives there, we call it that
24
                                              because it's a long, narrow room and it's very,
25                                            very cold.
                                              (Zulma Mxxxxxxx xxxxxxx Dep. 12:4-12:7).
26
                                              Q. Is it your testimony that you did not sleep
27                                            for three days?
                                              A. Yes. I couldn't sleep because of the cold.
28
                                              (Zulma Mxxxxxxx xxxxxxx Dep. 16:16-19).


                                             43
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1
2                                             Q. Was your son given a blanket at the
                                              facility?
3                                             A. No. Supposedly, the blanket was that
                                              aluminum paper that they gave you there.
4                                             Q. Were those around you provided with the
                                              same aluminum blanket?
5                                             A. Some of them had some and some others
6                                             didn't. They would give them to some and not
                                              to others. The hardest part was to see the
7                                             children complain because of the cold.
                                              (Zulma Mxxxxxxx xxxxxxx Dep. 18:5-
8                                             18:15).
9                                             Declaration of Alex Mensing:
10                                            “He [Fredis] was in bad shape. The three days
                                              of freezing in la hielera had made him very
11                                            sick and he had difficulty breathing.” [Doc. #
                                              201-3 at 610, Dec. of Alex Mensing Ex. 19-E,
12                                            ¶ 7].
13
                                              Declaration of Alex Mensing, ¶12(3) The
14                                            hieleras are very cold, and mothers reported
                                              that the air conditioning runs constantly.
15                                            Some families reported being so cold that
                                              their ‘bones began to ache,’ that they ‘lost
16                                            feeling in hands and feet,’ or that their hands
                                              and feet became ‘numb.’ One mother
17
                                              described the cold as ‘unbearable’ and
18                                            recalled that while she herself was shaking
                                              with cold, children were crying from cold and
19                                            hunger. Another mother reported that she
                                              woke up with a headache from the cold. One
20                                            fifteen-year-old Flores class member reported
                                              that she could not feel her feet because she
21
                                              was so cold. One mother reported feeling like
22                                            her hair was frozen and wrapping her sweater
                                              around her son’s head to keep him warm.
23                                            Another recounted that the ‘cold penetrated
                                              me to the bones’ and she wrapped her small
24                                            children in her jacket in an effort to keep them
25                                            warm. One mother reported that her ten-year-
                                              old Flores class member son’s lips became so
26                                            badly chapped from the cold that they burst,
                                              were bleeding, and he could not open his
27                                            mouth to eat.
28                                            Declaration of Alex Mensing, Ex. 19 ¶12(4)
                                              “While some mothers and children received

                                             44
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1
2                                             "aluminum" sheets to sleep under, others did
                                              not. Many mothers who received the sheets
3                                             reported that they did not provide sufficient
                                              warmth. Other mothers were deterred from
4                                             requesting the sheets after seeing how angrily
                                              officials reacted when other detained mothers
5                                             asked for them. One mother reported that
6                                             CBP officials made the families throw away
                                              the thin pieces of aluminum foil each day and
7                                             then withheld "new ones as punishment if we
                                              asked too many times for help. " Other
8                                             mothers reported that officers ordered the
                                              families held clean the cells. When the
9                                             families did not comply to the officers'
10                                            satisfaction, the officers reportedly punished
                                              them by taking away the remaining mylar
11                                            sheets or ordering them to throw their sheets
                                              in the trash.”
12                                            ________
                                              Declaration of Sonia Axxxxx-xxxxxx, Class
13
                                              Member Mother:
14                                            We were transported to a border patrol station
                                              where we were held for one day and one
15                                            night…It was very cold there…There were
                                              about 20 or 25 children in the cell and they
16                                            were all crying because it was so cold. Doc. #
                                              201-5 Ex. 35 ¶6.
17
                                              ________
18                                            Declaration of Class Member Allison Mxxxx
                                              xxxxx:
19                                            Every time more people came it seems to get
                                              colder in the room. Doc. # 201-5 Ex. 40 ¶6
20                                            (05/01/2016).
                                              _________
21
                                              Declaration of volunteer attorney Natalia
22                                            Ospina, Doc. # 201-1 Ex. 7 ¶5 (3/10/16)
                                              “A Guatemalan mother and child…informed
23                                            me that they were unable to sleep due to the
                                              cold, lack of space, and wet floors.”
24                                            _________
25                                            Declaration of CARA Pro Bono Project
                                              volunteer Leanne Purdum, Doc. # 201-1 Ex. 8
26                                            ¶ 5 (3/1/16)
                                              “Mothers  consistently told me that the
27                                            hielera was very cold...”
                                               __________
28
                                              Declaration of attorney Jocelyn Dyer, Doc. #
                                              201-1 Ex. 6 ¶11A (12/21/15)

                                             45
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1
2                                             “The mother also reported that she and her
                                              son were freezing and shivering while they
3                                             were in CBP custody because of the cold
                                              temperatures and the fact that they were
4                                             forced to wear wet clothing for four days
                                              straight.”
5
6                                             Id. ¶11B (12/21/15)
                                              “The mother reported that she and her
7                                             daughter were extremely cold at the hielera
                                              where they were initially detained at the
8                                             border for three days. She observed that the
                                              more crowded their cell became, the lower the
9                                             CBP officials dropped the temperature.”
10                                            _________
                                              Declaration of volunteer attorney Theresa
11                                            Wilkes, Doc. # 201-1 Ex. 9 ¶8 (11/2015)
                                              “They reported that temperatures in the
12                                            hielera were so low that their children got
                                              sick. They were given thin foil blankets, often
13
                                              only one per family, that would easily tear
14                                            and rattle in the cold air blowing into their
                                              holding cells...”
15                                            _________
                                              Declaration of Class Member Melvin
16                                            Mxxxxxxx xxxxx, Doc. # 201-6 Ex. 59 ¶6
                                              (01/20/2016):
17
                                              “We would sleep on the floor with no
18                                            blankets or pillows, The place was very cold –
                                              we could not stand how cold it was.”
19                                            _________
                                              Declaration of Class Member Mother Isamar
20                                            Sxxxxxx xxxxxx, Doc. # 201-5 Ex. 30 ¶6
                                              “The temperature in the room was extremely
21
                                              cold. We were wet from crossing the river and
22                                            forced to stay in our wet clothes the entire
                                              time. We were only given aluminum blankets
23                                            to keep warm.”
                                              _________
24                                            Declaration of Class Member Mother Karen
25                                            Zxxxxx xxxxxx, Doc. # 201-5 Ex. 39 ¶7
                                              “We could not sleep because the air
26                                            conditioning was turned up high and we were
                                              very cold. We only had cement planks to lie
27                                            on and they did not give us blankets. They
                                              gave us plastic sheets. My son was cold and
28                                            wearing wet clothes, so he was so cold that
                                              his lips turned purple. I had to wrap him in a

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1
2                                             plastic sheet and hold him on my lap so that
                                              he would not have to sleep on the cold
3                                             cement.”
                                              _________
4                                             Declaration of Class Member Mother Kelly
                                              Gxxxxxxxx-xxxxx, Doc. # 201-5 Ex. 31 ¶5
5                                             “My son and I were taken, I believe to the
6                                             McAllen Border Patrol station, which all
                                              detainees there called the hielera (ice box)
7                                             because it was so cold.”
                                              _________
8                                             Declaration of Class Member Mother Alex
                                              Mensing attachment Exhibit Y, Doc. # 201-4
9                                             Ex. 19 ¶2
10                                            “They took us to the ICE holding facility. It
                                              was ice cold, and we were soaking wet from
11                                            the river. Super cold. Woke up with a
                                              headache from the cold... Everyone was
12                                            shivering. I hugged my child to keep him
                                              warm...We slept on the floor, and they gave
13
                                              us aluminum space blankets.”
14                                            _________
                                              Declaration of Class Member Mother
15                                            Amarilis Lxxxxxx xxxxx, Doc. # 201-5 Ex.
                                              44 ¶7 (2/3/16)
16                                            “The border patrol station was very cold...
                                              [W]e had to sleep on a concrete bench, which
17
                                              was also a very cold temperature.”
18                                            _________
                                              Declaration of Class Member Mother Kelly
19                                            Gxxxxxxxx-xxxxx, Doc. # 201-5 Ex. 31 ¶7
                                              “It was very cold in the hielera and my son
20                                            and I did not have blankets”
                                              _________
21
                                              Declaration of Kelly Gxxxxxxxx-xxxxx, Doc.
22                                            # 201-5 Ex. 31 ¶8
                                              “It was also very cold in the perrera.”
23                                            _________
                                              Declaration of Class Member Edgardo
24                                            Dxxxxx xxxxxxxx, Doc. # 201-6 Ex. 49 ¶ 6
25                                            “The cell was very cold. I did not have a
                                              jacket and was not provided a jacket to wear
26                                            in the cold cell. I felt very, very cold in that
                                              cell.”
27                                            _________
                                              Declaration of Class Member Mother Raquel
28                                            Axxxxx xxxxxx, Doc. # 201-5 Ex. 26 ¶ 9
                                              "The temperature in the border patrol center

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1
2                                             was extremely cold. All I had was what I was
                                              wearing and it was very cold. There was a
3                                             leftover space blanket in my room and I
                                              would use this, but they did not give us
4                                             anything for the terrible cold."
                                              ________
5                                             Declaration of Alex Mensing attachment
6                                             Exhibit U, Doc. # 201-4 Ex. 19 ¶7
                                              “[T]he most difficult part about being in this
7                                             station, also known as the ‘Icebox,’ was the
                                              cold, which was made worse by the fact that
8                                             we slept directly on the floor and had no
                                              blankets.”)
9                                             ________
10                                            Declaration of Alex Mensing attachment
                                              Exhibit CC, Doc. # 201-3 Ex. 19 ¶2
11                                            “I had to sleep on the floor with my
                                              daughter in a freezing cold room without
12                                            any blankets.”
                                              _________
13
                                              Declaration of Alex Mensing attachment
14                                            Exhibit SS, Doc. # 201-4 Ex. 19 ¶5
                                              “We had to sleep on the cold concrete floor. I
15                                            asked the officers for blankets and they told
                                              me to wait but never gave us blankets.”
16
17
18
19

20
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22
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28



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1
2           H.  Class Members are held in       TEDS Manual § 4.7 Hold Room Standards, p.
                inhumanely overcrowded CBP      16:
3                                               “Capacity: Every effort must be made to
                detention facilities and are
                                                ensure that hold rooms house no more
4               forced to endure sleep          detainees than prescribed by the operational
                deprivation.                    office’s policies and procedures. Capacity
5                                               may only be exceeded with supervisory
6                                               approval. However, under no circumstances
                                                should the maximum occupancy rate, as set
7                                               by the fire marshal, be exceeded.”

8                                               Deposition Excerpts of Class Member Mother
                                                Celina Sxxxxxx-xxxx (Ex. 11):
9                                               Q: And then can you describe for me the
10                                              room that they put you in?
                                                A: It was a room bigger than this. Very cold.
11                                              There were a lot of people. Well, there
                                                weren’t beds or like something to sleep on.
12                                              There was an open bathroom, so if you go to
                                                the bathroom everybody would see you. They
13
                                                didn’t give us blankets to get warmer.
14                                              Q: Okay. So how many people would you
                                                estimate were in the room with you?
15                                              A: Well, more or less 50 people.
                                                Q: 50 people. Was it all women and children?
16                                              A: Women and children. (Celina Sxxxxxx-
                                                xxxx Dep. 17:5-17:18).
17
18                                              “At the border patrol station there were about
                                                50 other people in our cell. It was so crowded
19                                              there was barely room for everyone. My son
                                                and I were freezing. There were no beds, it
20                                              was just a room with cement floors and
                                                benches….” [Doc. # 201-5 at 849, Dec. of
21
                                                Celina Sxxxxxx-xxxx Ex. 28, ¶ 8].
22                                              _______
                                                Deposition Excerpts of Class Member
23                                              Franklin Rxxxx xxxxxxxxx (Ex. 12):
                                                Q: Can you please describe for me the area
24                                              that you were in at the McAllen border
25                                              station.
                                                A: It was a closed room. It was very cold.
26                                              There was only one cement bench and lots of
                                                minors. Couldn’t sleep.
27                                              Q: You said “lots of minors.” About how
                                                many minors?
28                                              A: Like, 15 or 20 minors.
                                                (Franklin Rxxxx xxxxxxxxx Dep. 9:11-9:18).

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1
2
                                              BY MS. GARCIA:
3                                             Q: You said that you were at McAllen, you
                                              think, for two days.
4                                             A: Yes.
                                              Q: And were you able to sleep those days?
5                                             A: No.
6                                             ...
                                              MS. GARCIA: Could he lay down?
7                                             THE WITNESS: No.
                                              MS. GARCIA: Why not?
8                                             THE WITNESS: There were too many
                                              people.
9                                             MS. GARCIA: Could he sit?
10                                            THE WITNESS: No.
                                              MS. GARCIA: Was it like that the whole two
11                                            days?
                                              THE WITNESS: Yes.
12                                            (Franklin Rxxxx xxxxxxxxx Dep. 39:6-
                                              39:24).
13
14                                            Q: You said that you were not able to lay
                                              down or sit at the McAllen border station. So
15                                            are you saying that you stood for two days?
                                              A: Kneeled.
16                                            Q: You kneeled.
                                              A: Stood, squat, couch.
17
                                              (Franklin Rxxxx xxxxxxxxx Dep. 42:7-
18                                            42:12).

19                                            “At the border patrol station in McAllen I was
                                              held in an over-crowded cell with about 20
20                                            other minors. The cell was only concrete and
                                              had a concrete bench around the edge of the
21
                                              cell except where there was a metal toilet with
22                                            a short wall around two sides. ... Bright lights
                                              were left on all night long making it difficult
23                                            to sleep and border patrol officials were
                                              constantly coming in and out of the cell... We
24                                            were required to sleep on the concrete floor,
25                                            which was also very cold. ... Sleeping there
                                              was almost impossible. In the morning I felt
26                                            completely weak and wasted.” [Doc. # 201-5
                                              at 918, Dec. of Franklin Rxxxx xxxxxxxxx
27                                            Ex. 45. ¶ 7].
28
                                              _________

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1
2                                             Deposition Excerpts of Class Member mother
                                              Karina Vxxxx-xxxxxxx (Ex. 13):
3                                             Q: About how many people would you say
                                              were in the room with you?
4                                             A: Many women. More than 50.
                                              Q: Were there more or less children than
5                                             women?
6                                             A: Only women with children.
                                              (Karina Vxxxx-xxxxxxx Dep. 23:17-23:22).
7                                             _________
                                              Declaration of Chief Patrol Agent – Laredo
8                                             Sector, CBP, Mario Martinez. (Doc. # 210-1,
                                              Ex. 7, ¶ 40):
9                                             “The lights typically remain on at all times
10                                            while detainees remain in Border Patrol
                                              custody for security reasons and due to
11                                            operational necessity. Border Patrol Stations
                                              are 24/7 facilities, and Border Patrol Agents
12                                            may arrive with newly apprehended aliens at
                                              all hours of the night. Border Patrol Agents
13
                                              must be able to maintain visual control over
14                                            the holding rooms to ensure the safety and
                                              security of the detainees.”
15                                            _________
                                              Declaration of Chief Patrol Agent – Rio
16                                            Grande Valley Sector, CBP, Manuel Padilla
                                              Jr. [Doc. # 211-1, Ex. 10, ¶ 22]:
17
                                              Due the fact that the number of apprehensions
18                                            varies widely on a daily basis, the number of
                                              detainees per station and, in turn, per holding
19                                            cell fluctuates greatly. For this reason, there
                                              are times when a large number of detainees
20                                            may be held in a certain hold room. As the
                                              RGV Sector has nine stations as well as the
21
                                              CPC-Ursula, our agents are able to take
22                                            various steps to reduce overcrowding. This
                                              includes activating CPC-Weslaco, detailing
23                                            agents from other sectors, and moving aliens
                                              to stations that have a lower detainee
24                                            population.
25                                            _________
                                              Deposition Excerpts of Chief Patrol Agent –
26                                            El Centro Sector, CBP, Rodney Scott (Ex. 3):
                                              Q: Yes, it does. And so you're saying that you
27                                            could actually look at a room, and it would
                                              tell you, like -- and I assuming that's a certain
28                                            time period, like in a one-hour block or a
                                              three-hour block, it would tell you how many

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1
2                                             people were in that room?
                                              A: Yes. To the best of my knowledge, yes,
3                                             that information could be pulled out of it, yes.
                                              Q: You have not pulled it out; is that correct?
4                                             A: No, I have not.
                                              Q: And has anybody -- has anybody from
5                                             headquarters sent you an alert that there's
6                                             been a problem -- it doesn't sound like it, but
                                              that there's been a problem with room
7                                             capacity?
                                              A: No – (Scott Dep. 87:8-87:22).
8                                             _________
                                              Deposition Excerpts of Chief Patrol Agent –
9                                             Tucson Sector, CBP, Paul Beeson (Ex. 4):
10                                            Q: At these Border Patrol stations, am I
                                              correct the lights are on 24/7; is that right?
11                                            MS. FABIAN: Object to form. Q: (By Mr.
                                              Schey:) Lights in the holding cells.
12                                            A: I believe that they are, yes.
                                              (Beeson Dep. 39:10-39:14).
13
14                                            Because individuals are coming and going at
                                              all hours of the day and evening, it is
15                                            necessary for the lights to remain on for
                                              round-the-clock processing. [Doc. # 209-3,
16                                            Dec. of Paul Beeson, Ex. 6, ¶ 9].
                                              _________
17
                                              Deposition Excerpts of Class Member mother
18                                            Lindsay Gxxxx xxxxx (Ex. 14):
                                              Q: Can you describe the condition of the cell
19                                            you were kept in at Ursula.
                                              A: ... I was able to sleep and rest for a little
20                                            bit. Not that much because there were all
                                              kinds of people. There were lots of people
21
                                              there. (Lindsay Gxxxx xxxxx Dep. 17:6-
22                                            17:11).

23                                            THE WITNESS: I spent almost two nights
                                              without sleeping. I was able to lean and rest.
24                                            The place was really cold, and I was able to
25                                            sit in a corner there. And there were a lot of
                                              benches—concrete benches. And there were a
26                                            lot of women there that were pregnant too.
                                              Lots of kids.
27                                            Q: Are you talking about the first location or
                                              the second location?
28                                            A: The ice box, the first one. My ugliest
                                              experience was there. (Lindsay Gxxxx xxxxx

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1
2                                             Dep. 17:15-17:24).
                                              _________
3                                             Deposition Excerpts of Class counsel Peter
                                              Schey (Ex. 16):
4                                             It appeared to me that the cells were severely
                                              overcrowded. It appeared to me that there was
5                                             not room for people to sleep.
6                                             (Schey Dep. 26:17-26:20).

7                                             I was not there at nighttime but defendants
                                              have confirmed over and over again that,
8                                             yeah, they’re bright lights. (Schey Dep. 28:8-
                                              28:10).
9                                             ________
10                                            Declaration of Class Member mother Ritza
                                              Mxxx xxxxxxx (Doc. # 201-3, Ex. 19-O, ¶ 7):
11                                            “The lights were left on all night when we
                                              were in the hielara. My son and I were not
12                                            able to sleep all night because of the lights
                                              and because we were so cold. Even if we
13
                                              were able to sleep, there was no place to
14                                            sleep. The only option was to sleep on the
                                              floor.”
15                                            _________
                                              Deposition Excerpts of Class Member mother
16                                            Sara Exxxxxxxx xxxxx (Ex. 17):
                                              Q: About how many people would you
17
                                              estimate were there?
18                                            A: It was really full. Lots of moms with their
                                              kids.
19                                            (Sara Exxxxxxxx xxxxx Dep. 20:7-20:10).
20                                            Q: And can you estimate about how many
                                              other people were in that room with you?
21
                                              A: Around 20 moms with their kids.
22                                            Q: Okay. Is that 20 people total or 20 moms?
                                              A: No, 20 moms plus their children.
23                                            (Sara Exxxxxxxx xxxxx Dep. 20:16-20:20).
24                                            We would sleep on the floor. [Doc. # 201-5 at
25                                            837, Dec. of Sara Exxxxxxxx xxxxx Ex. 24,,
                                              ¶ 6].
26                                            _________
                                              Declaration of Class Member Yeslin Lxxxx
27                                            xxxxxxx Doc. # 201-5 at 834, Ex. 23, ¶ 6:
                                              “The first night we were there, we had to
28                                            sleep sitting up on a bench because there were
                                              so many people there that there was no room

                                             53
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1
2                                             to lay down. They next night, we slept on the
                                              floor. ... I could only sleep a tiny bit because
3                                             the lights were always on the whole time and
                                              the floor was cold and hard.”
4                                             ________
                                              Deposition Excerpt of Class Member mother
5                                             Yessenia Exxxxxxxx xxxxxxx (Ex. 19):
6                                             Q: Okay. Do you remember about how many
                                              people were there in the room with you?
7                                             A: Quite a few.
                                              Q: Would you say more or less than 20 if you
8                                             had to estimate? …
                                              A: More.
9                                             (Yessenia Exxxxxxxx xxxxxxx Dep. 20:13-
10                                            20:19).
                                              _________
11                                            Declaration of Kenia Yxxxxx xxxxxxx, Doc.
                                              # 201-5 Ex. 36 ¶ 8.
12                                            “This facility was very crowded the whole
                                              time we were there. There [were] about 40
13
                                              people in one room the size of a bedroom.
14                                            There was no space to do anything. Every
                                              time we tried to stand up, they just kept
15                                            yelling that we should sit or lay down, but
                                              there was barely any space.”
16                                            _________
                                              Declaration of Silvia Vxxxxxx xxxx, Doc. #
17
                                              201-6 Ex. 56 ¶4 (02/01/2016)
18                                            “Here at the Border Patrol facility we are held
                                              in a cell with about thirty to forty other
19                                            mothers, and children. ... The bright lights on
                                              the ceiling stay on all nights. ... It is very hard
20                                            to get any sleep because the floor is hard and
                                              cold, the cell is very crowded, the lights are
21
                                              on and very bright, and children are crying
22                                            and coughing all night long.”
                                              _________
23                                            Declaration of attorney Lindsay Harris, Doc.
                                              #201-2 Ex. 14 ¶4(b)
24                                            “ Holding cells are often so overcrowded that
25                                            Flores class members cannot lie down on the
                                              concrete to try to sleep. Lights are kept on all
26                                            night adding to the extreme difficult children
                                              have sleeping in these cells.”
27                                            _________
                                              Declaration of CARA Pro Bono Project
28                                            volunteer Leanne Purdum, Doc. # 201-1 Ex. 8
                                              ¶ 5 (3/1/16)

                                             54
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1
2                                             “Mothers consistently told me that ... the
                                              lights were kept on all night, and the rooms
3                                             are sometimes so full that no one can lie
                                              down.”
4                                             _________
                                              Declaration of Alex Mensing attachment
5                                             Exhibit PP, Doc. # 201-4 Ex. 19 ¶5
6                                             “There was nowhere to lay down. There were
                                              only cement benches. The lights were always
7                                             on... There were a lot of people in this hielera.
                                              I would guess more than thirty women and
8                                             children.”
                                              _________
9                                             Declaration of Allison Mxxxx xxxxx Leiva
10                                            (2/19/16), Doc. # 201-5 Ex. 40 ¶6
                                              “There were so many people squeezed into the
11                                            room. There were no beds, just a few cement
                                              slabs to lay on.” [Emphasis added]
12                                            _________
                                              Declaration of Cesia Vxxxxxxxxx-xxxx (13
13
                                              yrs) (4/23/16), Doc. # 201-5 Ex. 29 ¶5
14                                            “There were many people in our cell...The
                                              lights were on all night and there was just one
15                                            small window.”
                                              _________
16                                            Declaration of Isamar Sxxxxxx xxxxxx
                                              (4/23/16), Doc. # 201-5 Ex. 30 ¶5
17
                                              “We were kept in a very small room with no
18                                            beds. The only place to sleep was on the floor.
                                              But there were so many people in the room
19                                            that there was not enough room for us all to
                                              lay down ... It was also hard because we could
20                                            not tell what time of day or night it was. It
                                              was hard to get any sleep there.”
21
                                              _________
22                                            Declaration of Maria Dxxxx xxxxxxx
                                              (4/23/16), Doc. # 201-5 Ex. 32 ¶6
23                                            “We slept on the floor, but there was barely
                                              any room to sleep because there were too
24                                            many people in the cell.”
25                                            _________
                                              Declaration of Maria Dxxxx xxxxxxx
26                                            (4/23/16), Doc. # 201-5 Ex. 32 ¶7
                                              “After this, we were taken to another place,
27                                            like a warehouse, that they called the perrera
                                              (dog house)... There were even more people
28                                            there than in the hielera…The lights were
                                              kept on all night and there were no windows.”

                                             55
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1
2                                                   _________
                                                    Declaration of Sonia Axxxxx-xxxxxx
3                                                   (2/3/16), Doc. # 201-5 Ex. 35 ¶6
                                                    “…[T]here wasn’t enough space to lie down.
4                                                   There were about 35 or 40 people in the cell.
                                                    We had to try to sleep sitting up, which was
5                                                   very difficult… There were about 20 or 25
6                                                   children in the cell and they were all crying...”
                                                    ________
7                                                   Declaration of Alex Mensing attachment
                                                    Exhibit R, Doc. # 201-4 Ex. 19 ¶1 (11/9/15)
8                                                   “There were a lot of people. There were
                                                    people who slept standing up. Even a
9                                                   woman who was 8 months pregnant with
10                                                  swollen legs slept standing up. …The lights
                                                    were on all night.”
11                                                  _________
                                                    Declaration of Fanny Exxxxxxxx
12                                                  xxxxxxxxx, Doc. # 201-6 Ex. 54 ¶ 4 (2/3/16)
                                                    “My son and I had to sleep on the floor. The
13
                                                    room where we were held was … very
14                                                  crowded. ... Bright lights were kept on all
                                                    day and all night long. With these conditions
15                                                  it was almost impossible to sleep for several
                                                    days.”
16                                                  ________
                                                    Declaration of Eloisa Rxxxxx xxxxxx,
17
                                                    Doc. # 201-6 Ex. 58 ¶8 (01/29/2016)
18                                                  “My daughter and I were taken to another
                                                    facility, where we spent a day and a night.
19                                                  We were in a cell with about 60 people.
                                                    We could not lie down to sleep.”
20                                                  _________
                                                    Declaration of Josselyn Mxxxxx xxxxxx,
21
                                                    Doc. # 201-6 Ex. 55 ¶ 7 (01/30/2016)
22                                                  “This cell is very crowed. I think there are 40
                                                    or 50 people here. Yesterday I think there
23                                                  were more than 70 people in this cell.”
24                                                  TEDS Manual § 4.12 Bedding, p. 17:
25          I.   Class members processed in         “Clean bedding must be provided to juveniles.
                 some CBP facilities, including     When available, clean blankets must be
26                                                  provided to adult detainees upon request.”
                 in McAllen and other Texas
27               facilities, where the largest      Deposition Excerpts of Class Member
                 number of class members are        Franklin Rxxxx xxxxxxxxx (Ex. 12):
28               processed, must sleep on           Q: Did you receive a blanket?
                 concrete floors with no mats or    A: No.

                                                   56
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1
2              mattresses and only a mylar    Q: Did you receive anything to keep warm?
               blanket.                       A: No.
3                                             (Franklin Rxxxx xxxxxxxxx Dep. 9:23-10:1).

4                                             BY MS. GARCIA:
                                              Q: You said that you were at McAllen, you
5                                             think, for two days.
6                                             A: Yes.
                                              Q: And were you able to sleep those days?
7                                             A: No.
                                              MS. GARCIA: Okay. Was he given any -- he
8                                             testified that there was no blanket. Was there
                                              anything else that he could sleep with?
9                                             THE WITNESS: No.
10                                            (Franklin Rxxxx xxxxxxxxx Dep. 39:6-
                                              39:16).
11
                                              “Making it even harder to sleep, we were not
12                                            given mats or mattresses to sleep on. We were
                                              required to sleep on the concrete floor, which
13
                                              was also very cold. We had no pillows or
14                                            blankets. Sleeping there was almost
                                              impossible. In the morning I felt completely
15                                            weak and wasted.” [Doc. # 201-5 at 918, Dec.
                                              of Franklin Rxxxx xxxxxxxxx Ex. 45. ¶ 7].
16                                            _________
                                              Deposition Excerpts of Class Member mother
17
                                              Ritza Mxxx xxxxxxx (Ex. 10):
18                                            Q: Were you given any type of blanket while
                                              you were there?
19                                            A: No.
                                              Q: Were you given anything, which we would
20                                            call a Mylar blanket, which kind of looks
                                              metallic?
21
                                              A: No.
22                                            Q: Were you given anything at all to help you
                                              keep warm?
23                                            A: She, the only thing that she had was a
                                              sweater, and that’s how she covered her son
24                                            because he has asthma. (Ritza Mxxx xxxxxxx
25                                            Dep. 17:10-17:19).
                                              ________
26                                            Deposition Excerpts of Class Member mother
                                              Yessenia Exxxxxxxx xxxxxxx (Ex. 19):
27                                            Q: Were there any pads or anything to sleep
                                              on?
28                                            A: No.
                                              Q: Did you sleep when you were there?

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1
2                                             A: Hardly at all.
                                              Q: Where did you—were you able to lie down
3                                             or anything?
                                              A: On the floor.
4                                             Q: Okay. Was there a mat or anything to lay
                                              on? …
5                                             A: No.
6                                             (Yessenia Exxxxxxxx xxxxxxx Dep. 19:21-
                                              20:12).
7
                                              Q: Did they give you blankets or anything
8                                             like that?
                                              A: No. (Yessenia Exxxxxxxx xxxxxxx Dep.
9                                             21:7-21:9).
10
                                              “On the third day I was finally given a silver
11                                            foil to cover myself at night. At times the cell
                                              was so crowded that it wasn’t possible to lay
12                                            down to try to sleep because there wasn’t
                                              enough room.” [Doc. # 201-5 at 846, Dec. of
13
                                              Yessenia Exxxxxxxx xxxxxxx Ex. 27, ¶ 6].
14                                            _________
                                              Deposition Excerpts of Class Member mother
15                                            Karina Vxxxx-xxxxxxx (Ex. 13):
                                              Q: And where were you taken to sleep?
16                                            A: On the floor.
                                              (Karina Vxxxx-xxxxxxx Dep. 23:1-23:3).
17
18                                            Q: Were you given anything to sleep with?
                                              A: They gave me an aluminum sheet.
19                                            Q: And did they give your son an aluminum
                                              sheet as well?
20                                            A: They gave him nothing.
                                              Q: Did they give you the sheet to share?
21
                                              A: yes. To share with my son.
22                                            Q: Can you describe the floor of the room
                                              where you slept?
23                                            A: Just concrete.
                                              Q: Was it clean or dirty?
24                                            A: Dirty.
25                                            Q: What do you mean? How was it dirty?
                                              A: Dirty. Like a soil from outside.
26                                            (Karina Vxxxx-xxxxxxx Dep. 26:22-27:17).
                                              _________
27                                            Deposition Excerpts of Chief Patrol Agent –
                                              Rio Grande Valley Sector, CBP, Manuel
28                                            Padilla Jr. (Ex. 2):
                                              Q: And there is no field to record whether the

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1
2                                             minor received a mat to sleep on or did not.
                                              Is that correct?
3                                             MS. FABIAN: Object to form.
                                              THE WITNESS: Correct. (Padilla Dep.
4                                             30:11-30:14).
5                                             Q: Okay. Are there any -- I know that at the
6                                             present time mattresses are provided at Ursula
                                              but not at the other stations. Is that primarily a
7                                             budget concern or is it that there is just no
                                              space for people to sleep, to lay down on a
8                                             mat at those stations?
                                              THE WITNESS: Yes, sir. It's not practical to
9                                             have those mattresses at the -- at the station
10                                            level because, again, our intent is to process
                                              people and turn them over to the appropriate
11                                            agencies as soon as practical.
                                              Q: I understand.
12                                            A: Yeah. It is just not an operational – not
                                              operationally feasible. (Padilla Dep. 47:13-
13
                                              47:25).
14                                            _________
                                              Deposition Excerpts of Chief Patrol Agent –
15                                            Tucson Sector, CBP, Paul Beeson (Ex. 4):
                                              Q: -- are minors in your custody provided any
16                                            blankets to sleep under, if you know?
                                              A: I don't know.
17
                                              Q:How about at the TCC?
18                                            A: Yes, they are.
                                              Q: And what type of blankets are they
19                                            provided?
                                              A: They are the mylar type.
20                                            (Beeson Dep. 35:10-35:16).
                                              __________
21
                                              Deposition Excerpts of Class Counsel Peter
22                                            Schey (Ex. 16):
                                              I personally observed people – now, it wasn’t
23                                            at nighttime, it was in the morning, but I
                                              personally observed many people sleeping on
24                                            a concrete floor even though it was morning
25                                            time. Not being provided mats or blankets,
                                              I’ve personally observed and I believe spoke
26                                            to agents and it has been confirmed over and
                                              over again by defendants since then that
27                                            detainees at McAllen were not provided mats.
                                              (Schey Dep. 27:7-27:15).
28
                                              I believe people told me that they were

                                             59
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1
2                                             getting a Mylar blanket but if they were cold
                                              and needed a second blanket, they weren’t
3                                             getting it. (Schey Dep. 27:16-27:18).
                                              _________
4                                             Deposition Excerpts of Class Member mother
                                              Zulma Mxxxxxxx xxxxxxx (Ex. 20):
5                                             A.... They gave us something, supposedly
6                                             they were blankets, but they were made out of
                                              aluminum. But it wouldn't help us with the
7                                             cold and we arrived there all wet. There were
                                              no mattresses. There was nothing on the floor.
8                                             We were just -- we couldn't sleep. The
                                              children were crying and screaming: Mom,
9                                             let's go, let's go.
10                                            (Zulma Mxxxxxxx xxxxxxx Dep. 14:17-
                                              14:24).
11                                            _________
                                              Declaration of Silvia Vxxxxxx xxxx, Doc. #
12                                            201-6 Ex. 56 ¶4 (02/01/2016)
                                              “Here at the Border Patrol facility …[t]he cell
13
                                              has no furniture. There is a concrete floor and
14                                            concrete bench around the walls of the cell.
                                              People fill the floor and benches. Everyone
15                                            sleeps on the concrete floors and benches side
                                              by side. ... We have no mattresses or pillows
16                                            or blankets. We only have a thin silver paper
                                              to cover ourselves when trying to sleep. ”
17
                                              _________
18                                            Declaration of attorney Lindsay Harris, Ex.
                                              14 ¶4(b)
19                                            “Flores class members may be held in CBP
                                              facilities from one to three nights and are
20                                            provided no mattresses, mats, blankets or
                                              pillows. They sleep on concrete floors or
21
                                              benches and are usually only provided a foil
22                                            sheet to cover themselves with.”
                                              _________
23                                            Declaration of volunteer attorney Theresa
                                              Wilkes, Doc. # 201-1 Ex. 9 ¶8 (3/16)
24                                            “They were given thin foil blankets, often
25                                            only one per family, that would easily tear
                                              and rattle in the cold air blowing into their
26                                            holding cells.”
                                              _________
27                                            Declaration of Amarilis Lxxxxxx xxxxx, Doc.
                                              # 201-5 Ex. 44 ¶7 (2/3/16)
28                                            “It was only concrete in my cell and we had
                                              to sleep on a concrete bench, which was also

                                             60
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1
2                                             a very cold temperature. We were not given
                                              mattresses or pillows for the concrete bench
3                                             on which we had to sleep. It was very difficult
                                              to sleep.”
4                                             _________
                                              Declaration of Fanny Exxxxxxxx
5                                             xxxxxxxxx, Doc. # 201-6 Ex. 54 ¶ 4 (2/3/16)
6                                             “We were not given mattresses or blankets.
                                              We were each given a foil sheet to use as a
7                                             blanket. The floor we had to sleep on was
                                              very hard and very cold. Bright lights were
8                                             kept on all day and all night long. With these
                                              conditions it was almost impossible to sleep
9                                             for several days.”
10                                            _________
                                              Declaration of Sonia Axxxxx-xxxxxx
11                                            (2/3/16), Doc. # 201-5 Ex. 35 ¶6
                                              “No blankets or mattresses were provided.”
12                                            _________
                                              Declaration of Alex Mensing, Doc. # 201-3
13
                                              Ex. 19 ¶12(5)
14                                            “At the hieleras, most mothers and children
                                              were forced to sleep on cold concrete floors.”
15                                            _________
                                              Declaration of Alex Mensing attachment
16                                            Exhibit C, Doc. # 201-3 Ex. 19 ¶4
                                              “There were some aluminum sheets in the
17
                                              corner for us to cover ourselves with, but
18                                            they were used, and there were not enough
                                              for everyone. There were no mattresses in
19                                            our room.”
                                              __________
20                                            Declaration of Josselyn Mxxxxx xxxxxx,
                                              Doc. # 201-6 Ex. 55 ¶ 10 (01/30/2016)
21
                                              “There are no beds or blankets here, just a
22                                            piece of foil. I have slept on the concrete floor
                                              and a concrete bench that lines the wall... I
23                                            wish there was a mattress or pillows here.”
                                              _________
24                                            Declaration of Edgardo Dxxxxx
25                                            xxxxxxxx, Doc. # 201-6 Ex. 49 ¶ 6
                                              “We were required to sleep on the
26                                            concrete floor… We had no pillows or
                                              blankets. Each minor was given a thin
27                                            silver foil paper to cover ourselves with…
                                              But it didn’t make much difference.
28                                            Sleeping there was almost impossible. In
                                              the morning I was exhausted and the other

                                             61
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1
2                                             minors also seemed exhausted.”
                                              _________
3                                             Declaration of Alex Mensing attachment
                                              Exhibit H, Doc. # 201-3 Ex. 19 ¶4 “Every
4                                             time an officer came to the door of the
                                              room to bring someone in or take
5                                             someone out, I would ask the officer for a
6                                             blanket for both of us or at least for my
                                              three year old son. I asked about ten
7                                             different officers. They said they would
                                              bring me one but they never did.”
8
9

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1
2           2.   FLORES CLASS MEMBER          Deposition Excerpts of Class Member mother
               CHILDREN ARE ROUTINELY NOT     Celina Sxxxxxx-xxxx (Ex. 11):
3                                             Q: So now, going back to this first facility
               ADVISED OF FLORES RIGHTS BY
                                              when you met with the immigration officer,
4              CBP OR ICE OFFICERS.           did they give you any paperwork or
                                              information about immigration places? ….
5                                             A: No. (Celina Sxxxxxx-xxxx Dep. 32:11-
6                                             32:20).

7                                             Q: Now, when you were at Dilley, you spoke
                                              with some immigration folks, is that correct?
8                                             A: Yes, it is correct.
                                              Q: And did they give you a list of free legal
9                                             services?
10                                            A: There, no.
                                              Q: They did not at Dilley give you a list of
11                                            free legal services?
                                              A: That was after when I went to saw a
12                                            lawyer.
                                              Q: And was that while you were still at
13
                                              Dilley?
14                                            A: Yes.
                                              Q: Okay. And so you were able to go speak
15                                            with a lawyer while you were at Dilley?
                                              A: Yes.
16                                            Q: And now, when you were at Dilley, the
                                              walls of the rooms, did you notice the posters
17
                                              on the walls?
18                                            A: Yes, there were….
                                              Q: Okay. Do you remember seeing posters for
19                                            free legal services posted on the wall?
                                              A: No. That, no. (Celina Sxxxxxx-xxxx Dep.
20                                            36:2-37:19).
21
                                              “My son and I were held in the immigration
22                                            detention center in Dilley, Texas for about 18
                                              days. During my time in Dilley, neither me
23                                            nor my son were told by immigration officials
                                              about the Flores case. I have no knowledge of
24                                            the Flores case. I have no knowledge of the
25                                            Flores case.” [Doc. # 201-5 at 849, Dec. of
                                              Celina Sxxxxxx-xxxx Ex. 28, ¶ 11].
26                                            _________
                                              Deposition Excerpts of Class Member
27                                            Franklin Rxxxx xxxxxxxxx (Ex. 12):
                                              Q: At some point did an immigration official
28                                            give you a document explaining your rights?
                                              A: No.

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1
2                                             (Franklin Rxxxx xxxxxxxxx Dep. 24:5-24:7).
                                              Q: Were you at any point in your detention
3                                             told about your rights as a minor under
                                              Flores?
4                                             A: No.
                                              (Franklin Rxxxx xxxxxxxxx Dep. 41:20-
5                                             41:22).
6
                                              “No one at the border patrol facility notified
7                                             me about any rights I had under the Flores
                                              case. I never heard of the Flores case until I
8                                             was interviewed to provide this declaration.”
                                              [Doc. # 201-5 at 918, Dec. of Franklin Rxxxx
9                                             xxxxxxxxx Ex. 45. ¶ 10].
10                                            “I have not been told about anything about
                                              any rights I may have under the Flores case at
11                                            this detention facility.” [Doc. # 201-5 at 918,
                                              Dec. of Franklin Rxxxx xxxxxxxxx Ex. 45. ¶
12                                            12].
                                              _________
13
                                              Deposition Excerpts of Class Member mother
14                                            Karina Vxxxx-xxxxxxx (Ex. 13):
                                              Q: At any point when you were in custody
15                                            with border patrol, did you receive a
                                              document explaining your rights or your son’s
16                                            rights?
                                              A: No.
17
                                              Q: Is it possible that the rights were posted on
18                                            the wall of the detention center?
                                              A: No. There was anything – or maybe. I
19                                            don’t remember. […] I can’t remember seeing
                                              anything.
20                                            (Karina Vxxxx-xxxxxxx Dep. 68:3-68:16).
                                              _________
21
                                              Declaration of Chief Patrol Agent – Laredo
22                                            Sector, CBP, Mario Martinez Doc. # 210-1,
                                              Ex. 7 ¶ 39
23                                            In March 2016, the CBP Office of
                                              Administration, Chief Accountability Officer
24                                            (CAO) Management Inspections Division
25                                            (MID) conducted the audits at several Laredo
                                              Sector stations and examined that (1) no
26                                            reports had been maintained to document
                                              UACs viewing the video Know What to
27                                            Expect (video intended to provide a clear and
                                              consistent message in simple Spanish
28                                            explaining to the UACs what they can expect
                                              while in CBP custody)

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1
2                                             _________
                                              Deposition of attorney Bridget Cambria (Ex.
3                                             21):
                                              A. ... I observe the paperwork that they
4                                             receive. They provide the paperwork
                                              Immigration gives them. I didn't see any of it,
5                                             anything about the Flores settlement.
6                                             (Cambria Dep. 74:3-74:6).

7                                             At no point since my representation of
                                              families at the Berks County Residential
8                                             Center began in June of 2014 has any child or
                                              mother in the facility been advised of their
9                                             rights under the Flores Settlement. [Doc. #
10                                            201-1 at 103, Dec. of Bridget Cambria Ex. 3,
                                              ¶ 12].
11                                            __________
                                              Declaration of Ed McCarthy, Doc. # 201-1 at
12                                            173, Ex. 11 ¶ 11
                                              “None of the mothers and Flores class
13
                                              members who I interviewed or represented at
14                                            Karnes from October 17, 2015 to October 30,
                                              2015 told me that any CBP or ICE official, or
15                                            staff member at Karnes, had informed them
                                              about any aspect of the Flores settlement
16                                            including any rights that Flores class
                                              members may possess.”
17
                                              __________
18                                            Deposition Excerpts of Class Counsel Peter
                                              Schey (Ex. 16):
19                                            No access to information regarding detainees'
                                              rights, that's what people told me. I didn't -- in
20                                            my personal observation nobody -- no
                                              detainee who I spoke to -- to Class member or
21
                                              mother -- was able to -- or had in her
22                                            possession, and I could physically observe
                                              this, any notice of rights. When I asked them,
23                                            "Do you have any sort of notice of rights
                                              relating to Flores or anything else," they said
24                                            no. They hadn't even heard of Flores.
25                                            (Schey Dep. 32:13-32:21).

26                                            Despite many class members being held at
                                              CBP facilities for a day or several days, no
27                                            efforts that Class Counsel is aware of are
                                              made by CBP staff to comply with Paragraphs
28                                            12A, 18 and 24D. Indeed, Border Patrol
                                              agents do not even appear to be aware of

                                             65
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1
2                                             these obligations of the Settlement rather than
                                              intentionally violating them… Not one of the
3                                             Class Members and mothers interviewed
                                              during Class Counsel’s inspections had any
4                                             idea how to contact an attorney.
                                              [Doc. # 201-1 at 1, Dec. of Peter Schey Ex. 1,
5                                             ¶ 8].
6                                             _________
                                              Deposition Excerpts of Class Member mother
7                                             Sara Exxxxxxxx xxxxx (Ex. 17):
                                              Q: And did they provide you with any
8                                             documents?
                                              A: No.
9                                             Q: So you were not given any paperwork at
10                                            any time – or at – of any kind?
                                              A: No.
11                                            Q: Okay. Were you given any paperwork of
                                              any kind for the two days that you stayed
12                                            there?
                                              A: No, nothing.
13
                                              (Sara Exxxxxxxx xxxxx Dep. 17:25-18:5).
14
                                              Q: Okay. So when was the first time you
15                                            learned about the Flores case? Which – I’ll
                                              say, “Which facility were you being held at
16                                            when you learned about the Flores case?
                                              A: I was already in detention. I had been there
17
                                              for about a month and a half.
18                                            Q: Which place?
                                              A: In Karnes.
19                                            (Sara Exxxxxxxx xxxxx Dep. 32:7-32:15).
20                                            Q: Is it possible that you forgot being advised
                                              of this?
21
                                              A: But I’d already been detained for a while,
22                                            but the officers never said anything to me
                                              about my daughter being able to be with my
23                                            brother. (Sara Exxxxxxxx xxxxx Dep. 32:21-
                                              32:25).
24
25                                            Q. Were there any signs or information posted
                                              on the walls of the place – the room that you
26                                            were held?
                                              A: No.
27                                            Q: Nothing whatsoever?
                                              A: No, nothing.
28                                            (Sara Exxxxxxxx xxxxx Dep. 23:6-23:11).


                                             66
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1
2                                             No one at the border patrol facilities notified
                                              me about rights my daughter had as a minor
3                                             or any rights she had under the Flores case.
                                              No one told me that I could use a phone to
4                                             call a lawyer nor did I see any phones to use
                                              to call a lawyer. No one gave me a list of
5                                             lawyers I could call. There was no list of
6                                             lawyers or free legal aid programs to call
                                              posted anywhere that I saw. [Doc. # 201-5 at
7                                             837, Declaration of Sara Exxxxxxxx xxxxx
                                              Ex. 24,, ¶ 6].
8
                                              “I don’t remember anyone explaining
9                                             that my daughter had rights as a minor
10                                            under the Flores case.” [Doc. # 201-5 at
                                              837, Declaration of Sara Exxxxxxxx
11                                            xxxxx Ex. 24,, ¶ 9].
                                              _________
12                                            Declaration of Yessenia Exxxxxxxx xxxxxxx,
                                              Doc. # 201-5 at 846, Ex. 27, ¶ 8
13
                                              “No one at the border patrol facilities told me
14                                            about rights I had as a minor or any rights I
                                              had under the Flores case. No one told me
15                                            that I could use a phone to call a lawyer nor
                                              did I see any phones to use to call a lawyer.
16                                            No one gave me a list of lawyers I could call.
                                              There were no list of lawyers or free legal aid
17
                                              programs to call posted anywhere that I could
18                                            see. No one asked me if I had relatives in the
                                              United States other than my mother who
19                                            could care for me. No one told me that I had a
                                              right to see an Immigration Judge about my
20                                            detention. No one asked me if I feared return
                                              to my home country.”
21
                                              _________
22                                            Declaration of CARA Pro Bono Project
                                              volunteer Leanne Purdum, Doc. # 201-1 Ex. 8
23                                            ¶11 (3/1/16)
                                              “None of the Flores class members or their
24                                            mothers that I interviewed indicated that they
25                                            were told by any CBP, ICE or detention
                                              facility staff about the Flores case, or any
26                                            rights that minors have under the Flores
                                              settlement or the District Court's August
27                                            remedial Order.”
                                              _________
28                                            Declaration of volunteer attorney Theresa
                                              Wilkes, Doc. # 201-1 Ex. 9 ¶12 (11/2015)

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1
2                                             “Indeed, none of the family units I
                                              interviewed had been told anything about the
3                                             Flores Settlement by CBP or ICE officers or
                                              by other staff employed at Dilley.”
4                                             _________
                                              Declaration of Allison Mxxxx xxxxx, Doc. #
5                                             201-5 Ex. 40 ¶10 (5/1/16)
6                                             “At no point did any officer or official ever
                                              talk to me, my sister, or my mom about our
7                                             legal rights or the Flores case.”

8                                             Id. ¶11
                                              “The entire eight months we have been
9                                             detained neither me, nor my sister, nor my
10                                            mother have ever been spoken to by officials
                                              about a case called Flores.”
11                                            __________
                                              Declaration of Diana Cxxxxx xxxxx, Doc. #
12                                            201-5 Ex. 43 ¶6 (2/2/16)
                                              “While I was in detention before my release
13
                                              the authorities never gave me any notice of
14                                            my rights as a juvenile or under the Flores
                                              case.”
15
                                              Id. ¶9
16                                            “During our time here at Dilley no one has
                                              given me or my mother any notice about my
17
                                              rights as a minor or my rights under the Flores
18                                            case.”
                                              _________
19                                            Declaration of Cesia Vxxxxxxxxx-xxxx, Doc.
                                              # 201-5 Ex. 29 ¶19 (4/23/16)
20                                            “No officials have told me anything about
                                              Flores throughout all the months that I have
21
                                              been detained.”
22                                            _________
                                              Declaration of Isamar Sxxxxxx xxxxxx, Doc.
23                                            # 201-5 Ex. 30 ¶33 Berks, (4/23/16)
                                              “Immigration at Dilley never told us we had
24                                            any rights under Flores for my daughter.”
25                                            _________
                                              Declaration of Kelly Gxxxxxxxx-
26                                            xxxxx, Doc. # 201-5 Ex. 31 ¶8
                                              (5/1/16)
27                                            “At no time while detained at this
                                              facility did any ICE agent or any other
28                                            official tell me anything about my
                                              son’s rights under the Flores case. To

                                             68
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1
2                                             the best of my knowledge, no one
                                              explained anything about the Flores
3                                             case to my son.”
                                              _________
4                                             Declaration of Maria Dxxxx xxxxxxx,
                                              Doc. # 201-5 Ex. 32 ¶9 (4/23/16)
5                                             “No official at Dilley told me anything
6                                             about the Flores case or any rights my
                                              son had under the Flores case.”
7                                             _________
                                              Declaration of Amarilis Lxxxxxx xxxxx,
8                                             Doc. # 201-5 Ex. 44 ¶7 (2/3/16)
                                              “No one at the border patrol facilities
9                                             notified my son or I about the rights that
10                                            my son had under the Flores case.”
                                              _________
11                                            Declaration of Herson Lxxxxxx xxxxx,
                                              (13yrs), Doc. # 201-5 Ex 46 ¶9 (2/3/16)
12                                            “To date, I have not been advised of my
                                              rights under the Flores case. My mother
13
                                              was not provided any information about
14                                            my rights under the Flores case.”
                                              _________
15                                            Declaration of Raquel Axxxxx xxxxxx, Doc.
                                              # 201-5 Ex. 26 ¶11 (2/3/16)
16                                            "Since our arrest no official has told us
                                              anything about the Flores case.”
17
                                              __________
18                                            Declaration of Katerin Yxxxxxxx xxxxxxx
                                              (12 yrs), Doc. # 201-5 Ex. 34 ¶13 (2/3/16)
19                                            “As best I remember I have not been told
                                              about my rights under the Flores case at this
20                                            detention facility.”
                                              _________
21
                                              Declaration of Sonia Axxxxx-xxxxxx, Doc.
22                                            # 201-5 Ex. 35 ¶8 (2/3/16) “I have not been
                                              told that my son has about my rights under
23                                            the Flores case ...”
                                              _________
24                                            Declaration of Vilma Sxxxx xx xxxx,
25                                            Doc. # 201-5 Ex. 47 ¶9 (2/3/16)
                                              “No one here has told me anything about
26                                            any rights my daughter has under the
                                              Flores case. No forms relating to the
27                                            Flores case have been given to me.”
                                              _________
28                                            Declaration of volunteer attorney Natalia
                                              Ospina, Doc. # 201-1 Ex. 7 ¶9 (3/10/16)

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1
2                                             “During the numerous interviews I
                                              conducted at the Dilley detention center I
3                                             did not encounter a single Flores class
                                              member or Flores class member mother
4                                             who indicated that they … had been
                                              provided any documents or advisals
5                                             required by the Flores Settlement..
6                                             _________
                                              Karen Zxxxxx xxxxxx and her son,
7                                             nationals of El Salvador, were
                                              apprehended in Texas on or about August
8                                             29, 2015 and then detained at Dilley, TX.
                                              On or about October 28, 2015 they were
9                                             transferred to the detention center at Berks,
10                                            PA. Ms. Zxxxxx xxxxxx declares: “The
                                              officials and staff at the detention center in
11                                            Dilley never advised me of my son’s rights
                                              under the Flores case.” Dec. of Karen
12                                            Zxxxxx xxxxxx, Doc. # 201-5 Ex. 39 ¶ 11.
                                              __________
13
                                              Walter Axxxxxxx xxxxxxxxx, a thirteen-year-
14                                            old national of El Salvador, was detained on
                                              or about November 9, 2015 at the Texas
15                                            border. He declares that during several weeks
                                              of detention at Dilley “no officer told me
16                                            anything about the Flores case or my rights
                                              under the Flores case.” Declaration of Walter
17
                                              Axxxxxxx xxxxxxxxx, Doc. # 201-5 Ex. 22 ¶
18                                            9. After three weeks of further detention at
                                              Berks “no official has explained any rights I
19                                            may have under the Flores case.” Id. ¶12.
20
21
22
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1
2           A.  Defendants do not advise Class    Dec. of Celina Sxxxxxx-xxxx, Doc. # 201-5
                Members about their right to a    at 849, Ex. 28, ¶ 7
3                                                 “I was never told that my son a had a right
                custody hearing before an
                                                  under the Flores case to have an immigration
4               Immigration Judge and do not      judge review his bond situation or consider
                afford accompanied children       his release. I was not told that my son could
5               bond or custody hearings          speak with an attorney or given a list of free
6               before Immigration Judges.        legal services until I was later taken to Dilley,
                                                  TX, a detention center.
7                                                 __________
                                                  Dec. of Franklin Rxxxx xxxxxxxxx, Doc. #
8                                                 201-5 at 918, Ex. 45 ¶ 11
                                                  “No one told me that I had a right to see an
9                                                 Immigration Judge about my detention. I have
10                                                talked to my mother and my mother has said
                                                  that no one told her about any rights that I
11                                                have as a minor, or any rights I may have to
                                                  see an immigration judge, or any rights I may
12                                                have under the Flores case.”
13
                                                  “I have not been told that I can see a judge
14                                                about my detention or release.” [Doc. # 201-5
                                                  at 918, Dec. of Franklin Rxxxx xxxxxxxxx
15                                                Ex. 45. ¶ 11].
                                                  _________
16                                                Deposition Excerpts of Dilley Assistant Field
                                                  Office Director, Enforcement and Removal
17
                                                  Operations, ICE, Valentin de la Garza (Ex. 7):
18                                                Q. (By Mr. Schey) At Dilley at this time, is
                                                  the notice of rights to judicial review provided
19                                                to class members or their mothers?
                                                  A. I don't recall the notice of rights, what
20                                                exactly it contains, so I'm going to have to
                                                  answer, "No, I don't know."
21
                                                  MS. FABIAN: Peter, I think if you clarify
22                                                which document you're talking about, it
                                                  would be helpful.
23                                                Q. (By Mr. Schey) Yeah. I believe it is
                                                  Exhibit 6 to the agreements. Does that remind
24                                                you?
25                                                A. If it's the form I'm thinking of, yes, sir, we
                                                  -- we provide it to them.
26                                                Q. And what do you fill in on that form?
                                                  A. You’re asking me to try to remember. I’m
27                                                going off of just memory.
                                                  Q. Yeah. Just from your memory.
28                                                A. Date, names of individuals being it served
                                                  on, and the person serving it.

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1
2                                             (De La Garza Dep. 43:8-43:25).
                                              _________
3                                             Dec. of Yessenia Exxxxxxxx xxxxxxx, Doc. #
                                              201-5 at 846, Ex. 27 ¶ 10
4                                              “I have not been told that I can see a judge
                                              about my release.”
5                                             _________
6                                             Deposition Excerpts of CARA project
                                              volunteer attorney Admanda Doroshow (Ex.
7                                             22):
                                              A: Well, the basis for this belief is that no one
8                                             had any idea about the rights that they had.
                                              No one had any idea that -- about being
9                                             released, about the right to a bond hearing,
10                                            about the right to their – not even an idea of
                                              what the process the credible fear interview
11                                            was, a right of review of a credible fear
                                              interview. If anything, I thought people were
12                                            misinformed of their rights because officers
                                              were telling them lies of saying things about
13
                                              lies about being entitled to bond or how much
14                                            bond was. So that's where that statement
                                              comes from. (Doroshow Dep. 22:9-22:22).
15
                                              Q: How did you know the officers were
16                                            telling them lies?
                                              A: I would ask clients. I would ask them has
17
                                              anyone explained to to you – for example, has
18                                            anyone explained to you about a bond. That
                                              was one of the things that I remember
19                                            happening regularly. They would say yeah,
                                              the officer told me it would be, and they
20                                            would say an exorbitant number. It would
                                              make me stay here much longer. They would
21
                                              tell them facts that weren’t true. The
22                                            motivation, I think, at that time, they wanted
                                              people to be released with equal monitors, so
23                                            I’m assuming that that was the motivation,
                                              but I would ask them, because one of the
24                                            things I would do when they first came in, I
25                                            wanted to make sure they could know as
                                              much of their rights as they could and retain it
26                                            for when they’re not talking to their lawyer.
                                              (Doroshow Dep. 22:25-23:21).
27                                            _________
                                              Dec. of Juanita Hester, Doc. # 215-1, Ex. 20 ¶
28                                            10
                                              To my knowledge, ICE (or legally INS) has

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1
2                                             not provided the notice in Exhibit 6 of the
                                              FSA to accompanied children. However, ICE
3                                             is committed to providing the Exhibit 6 notice
                                              and will be working to implement a procedure
4                                             to provide the notice to accompanied minors
                                              at KCRC.
5                                             _________
6                                             Dec. of Bridget Cambria, Doc. # 201-1 at
                                              103, Ex. 3 ¶ 12
7                                             No child has ever been afforded a bond
                                              hearing before an immigration judge as is
8                                             required under Flores. I have never seen any
                                              efforts towards compliance on the part of
9                                             ICE, except the period immediately prior to
10                                            the Order of Judge Gee.
                                              _________
11                                            Declaration of Peter Schey, Doc. # 201-1 at 1,
                                              Ex. 1, ¶ 10
12                                            “Class Members and those representing them
                                              consistently report and declare in their
13
                                              declarations filed herewith that ICE agents in
14                                            violation of the Settlement –...
                                                  ●   Do not provide accompanied Class
15                                                     Members with “a notice of rights,”
                                                       (Paragraph 12A), they do not
16                                                     “promptly provide each minor not
                                                       released with... (b) an explanation of
17
                                                       the right of judicial review as set out
18                                                     in Exhibit 6…”

19

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1
2           B.  Defendants have not provided      Deposition Excerpts of attorney Robyn
                accompanied minors not            Barnard (Ex. 23):
3                                                 Q. Were you provided with any reasons why
                released with "a notice of the
                                                  they were not released?
4               reasons for housing the minor     A. No.
                in a detention or medium          Q. Did the notice only state that they would
5               security facility."               not be released?
6                                                 A. The notice is, as far as I'm aware and my
                                                  experience, it's the standard notice that
7                                                 Immigration and Customs Enforcement issues
                                                  in relation to a parole request. And all that it
8                                                 states is the person's name and that the release
                                                  request had been received and that upon
9                                                 consideration of the person's case it has been
10                                                determined that they are not eligible for
                                                  release.
11                                                (Barnard Dep. 70:15-71:3).
                                                  __________
12                                                Deposition Excerpts of Berks Assistant Field
                                                  Office Director, Enforcement and Removal
13
                                                  Operations, ICE, Joshua Reid (Ex. 8):
14                                                Q. Is there anything among the list of rights of
                                                  detainees that tells them that they have the
15                                                right to leave the facility?
                                                  A. No.
16                                                (Reid Dep. 28:10 – 28:13)
                                                  _________
17
                                                  Deposition Excerpts of Assistant Director of
18                                                Field Operations, Enforcement and Removal
                                                  Operations, ICE, Phillip Miller (Ex. 9):
19                                                Q. Are you yourself aware of what the term
                                                  medium secure facility means as set forth in
20                                                the Flores settlement?
                                                  A: No.
21
                                                  (Miller Dep. 102:20-102:23)
22
                                                  Q. So you've seen an activity report about
23                                                custody determinations; but my question was,
                                                  do you see any report that would indicate that
24                                                these notices have been distributed every 15
25                                                days?
                                                  A. The distribution of the notices, no, I don't
26                                                track that. I track the actions taken based on
                                                  the case reviews.
27                                                (Miller Dep. 156:12-156:21)
28



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1
2           3.   DHS FAILS TO MAKE AND RECORD
               ONGOING EFFORTS AIMED AT
3              RELEASE OR PLACEMENT OF
4              FLORES CLASS MEMBERS
5           A.  Defendants do not make and       TEDS Manual, § 5.6 Detention, Expeditious
                record "continuous" efforts      Processing: Whenever operationally feasible,
6                                                at-risk individuals will be expeditiously
                from the time accompanied
7                                                processed to minimize the length of time in
                minors "are taken into           CBP custody.
8               custody" aimed at the release
                of minors under ¶¶ 14 and 19     Declaration of Assistant Field Office Director
9               of the Agreement. Defendants     of Enforcement and Removal Operations, San
                place these Class Members in     Antonio Field Office, ICE, Juanita Hester, Ex.
10                                               21, ¶ 13
                expedited removal, subject
11                                               “At the time of their detention at STFRC, the
                them to mandatory detention,     declarants above were in expedited removal
12              and release them if their        proceedings and subject to mandatory
                mothers pass a credible or       detention. Many individuals detained at a
13              reasonable fear interview.       FRC are not eligible for bond. For example,
                                                 individuals who are processed as
14
                                                 reinstatements of previously-issued final
15                                               orders of removal or as arriving aliens are not
                                                 eligible for a bond hearing before an
16                                               immigration judge. For individuals in the
                                                 expedited removal process, detention is
17                                               mandatory unless the individual is determined
                                                 to possess a credible fear remain in the
18
                                                 expedited removal process and are generally
19                                               detained until removal.”
                                                 [Doc. # 216-1, Declaration of Juanita Hester,
20                                               Ex. 21, ¶ 13].
21                                               Deposition Excerpts of Berks Assistant Field
22                                               Office Director, Enforcement and Removal
                                                 Operations, ICE, Joshua Reid (Ex. 8):
23                                               Q. What are other things you consider?
                                                 A. There’s a variety of policies and
24                                               procedures. For example, the DHS
                                                 enforcement priorities, you know, the ICE
25                                               directive relating to parole of aliens found to
26                                               be credible fear, policies such as those.
                                                 Q. So you said one was the credible
27                                               fear. What was the other one?
                                                 A. The DHS Department Homeland Security
28                                               Enforcement priorities that were set in place
                                                 by DHS Secretary Johnson.


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1
2                                             Q. And what are the criteria in those
                                              enforcement policies that could result in a
3                                             release of a minor?
                                              A. They’re not really specific to minors, but
4                                             they to—they are specific to the decision
                                              whether to apprehend, detain or remove aliens
5                                             in general. (Reid Dep. 15:17-16:10)…
6
                                              A. Well, the memorandum states if an alien
7                                             falls within the priorities, depending on the
                                              level, ICE should typically pursue
8                                             apprehension, detention and removal unless
                                              there's exceptional or compelling
9                                             circumstances against other or alien
10                                            demonstrates they're eligible for some form of
                                              relief removal, either asylum or some other
11                                            forms. (Reid Dep. 16:18-16:24)

12                                            Q. But my question was, who falls within the
                                              priorities? Who's eligible for release? Not for
13
                                              ongoing detention…
14                                            Q. Other than people who appear to qualify
                                              for relief from removal?
15                                            THE WITNESS: Aliens that—that would be
                                              it, that appear to be eligible for some type of
16                                            relief or removal or can demonstrate
                                              exceptional circumstances.
17
                                              Q. What does that mean, exceptional
18                                            circumstances?
                                              A. There’s a variety of things that could be
19                                            taken into play. It could be a medical
                                              condition a medical condition of their family
20                                            member; numerous factors. (Reid Dep. 18:1-
                                              18:19)
21
22                                            Q. And this policy, does it provide any
                                              examples of these compelling or exceptional
23                                            circumstances?
                                              A. I would have to look at the policy
24                                            memorandum to answer that, sir. (Reid Dep.
25                                            19:17-19:21)

26                                            Q. If a mother is determined to be pregnant at
                                              Berks, is that a basis upon which the mother
27                                            and her accompanying child may be released?
                                              A. That we would take that consideration into
28                                            factor and, yes, it could be.
                                              Q. Other than to attend a removal hearing, can

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1
2                                             you recall the most recent example of when a
                                              class member, a Flores class member, was
3                                             authorized to leave the grounds of Berks? ….
                                              THE WITNESS: I don’t recall.… (Reid Dep.
4                                             19:25-20:25)
5                                             Q. …When a person expresses a fear of
6                                             return, is that recorded in that person’s A file?
                                              ….
7                                             THE WITNESS: It would depend on when
                                              they expressed the fear.
8                                             Q. Okay. Can you just explain that?
                                              A. If they express fear of returning to their
9                                             home country at the time of apprehension,
10                                            yes, it would typically be documented in the
                                              A file….
11                                            A. There’s several different forms. It could be
                                              a sworn statement or the record of deportable
12                                            alien. (Reid Dep. 69:7-69:22)
                                              ….
13
                                              THE WITNESS: …But if an alien expresses a
14                                            fear, it could be in the A file and not in the
                                              EARM at all, or it could be vice versa. (Reid
15                                            Dep. 71:11-71:13)

16                                            Q. And then when CIS is notified that this
                                              person has expressed a fear, how are they
17
                                              notified? Just tell us, how is that
18                                            accomplished?
                                              A. It’s typically done via e-mail notification.
19                                            (Reid Dep. 72:1-72:5). ….
20                                            Q. Okay. The first question was at Berks, if a
                                              mother or a minor made a fear request, let's
21
                                              say orally to an ICE agent, would that ICE
22                                            agent communicate that directly to CIS or
                                              would they communicate it to some other ICE
23                                            agent who is assigned to then communicate
                                              with CIS?
24                                            A. The ICE agent would likely do it directly.
25                                            Q. Okay. And when that happens, does it
                                              happen by e-mail or how does it happen?
26                                            A: I believe it happens via e-mail. (Reid Dep.
                                              74:2-74:12)
27
                                              Q. I understand. Are all -- what, in general
28                                            terms, in this EARM, are any significant
                                              events, dates about that detainee that's

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1
2                                             supposed to be entered into that system? ….
                                              Q. Such as requests for reconsideration,
3                                             applications for release, and decisions on
                                              those. Are those the types of things that would
4                                             generally be recorded in the EARM? ….
                                              THE WITNESS: Some of those things can be
5                                             recorded in the EARM. (Reid Dep. 78:20-
6                                             79:4)

7                                             Q. Who then decides what the terms of
                                              release might be? Who decides that?
8                                             A. Once again, several people are involved in
                                              that.
9                                             Q. Just tell us who would do that.
10                                            A. From the officer to the supervisor to
                                              myself to sometimes the deputy field office
11                                            director, and the field office director. (Reid
                                              Dep. 83:4-83:11)
12
                                              Q. You know how there's some matters like
13
                                              whatever average length of detention or
14                                            number of people there, where data is
                                              extracted on a daily or maybe a weekly or
15                                            maybe even a monthly basis so things can be
                                              tracked. And I'm wondering, are these time
16                                            periods that I've been discussing with you, are
                                              any data reports prepared for you that would
17
                                              give you a snapshot of how long it's taking to
18                                            do the various things that I just mentioned?
                                              MS. FABIAN: Object to form.
19                                            THE WITNESS: Prepare for me specifically,
                                              no. Are there reports that could be prepared
20                                            for that? I don’t know. (Reid Dep. 84:20-
                                              85:7)
21
22                                            Q. So on what basis does your declaration
                                              state that although you maintain limited
23                                            discretion to parole aliens subject to expedited
                                              removal, when it is, quote, required to meet a
24                                            medical emergency or is necessary for the
25                                            legitimate law enforcement objective, end
                                              quote, these cases, meaning, obviously, the
26                                            cases above, failed to meet the noted
                                              exceptions and, therefore, do not warrant
27                                            release. On what basis do you make that
                                              statement?
28                                            A. Under the INA.
                                              Q. Okay. So based on the law that they're

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1
2                                             subject to mandatory detention?
                                              A. Yes. That was one of the factors. Like I
3                                             said, there’s other factors taken into
                                              consideration, but that was one.
4                                             Q. Other than the INA, what are the other
                                              factors that you could consider other than
5                                             what's authored by the INA?
6                                             A. Whether they're -- they appear to be
                                              eligible for any particular form of relief,
7                                             family ties community ties, manner of entry,
                                              length of presence in the United States, are
8                                             typically factors that are taken into
                                              consideration; some of them. Not all. (Reid
9                                             Dep. 106:11-107:10)
10
                                              Q. Okay. So if all of those factors are
11                                            considered, there ought to be some indication
                                              of that, either in the A file or in the letter that
12                                            was sent to -- provided to the detainee or his
                                              or her lawyer, which would most likely be in
13
                                              the A file; is that correct?
14                                            MS. FABIAN: Object to form.
                                              THE WITNESS: As I stated, yes. There's a
15                                            letter that's sent typically. If we receive a
                                              request for release in writing we're going to
16                                            provide a written response. And likely, that
                                              will be included in the A file.
17
                                              Q. And if all of these factors are considered,
18                                            typically the letter or the notes in the A file
                                              would indicate that they were considered? Is
19                                            that fair to say, if they were considered?
                                              THE WITNESS: Yes. For example, for
20                                            several of these, it goes over the immigration
                                              history, how they were encountered, the
21
                                              length of presence. A lot of those factors are
22                                            in the letters.
                                              Q. Okay. And is it fair to say if something is
23                                            going to be considered, if a record is going to
                                              be made of that, is that fair to say? ….
24                                            THE WITNESS: As stated previously,
25                                            usually it's something that EARM will be
                                              added, a request was received, and it was
26                                            approved or denied in the letter that we
                                              provide. (Reid Dep. 110:17-112:7)
27
                                              Q. Okay. And in any of those cases, do you
28                                            recall what factor or factors prompted the
                                              release of that either one person or a handful

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1
2                                             of people?
                                              A. I don't recall off the top of my head. Like I
3                                             said, we take into consideration multiple
                                              factors. I don't think it would be one factor
4                                             that would make the decision. It's not made in
                                              a vacuum. We try to take in all the factors that
5                                             I mentioned before. (Reid Dep. 121:7-121:16)
6
                                              Deposition Excerpts of Assistant Director of
7                                             Field Operations, Enforcement and Removal
                                              Operations, ICE, Phillip Miller (Ex. 9):
8                                             Q. And when -- prior to Karnes and Dilley
                                              being set up, when – when accompanied
9                                             minors were released, what authority was
10                                            relied upon by ICE to release those children?
                                              THE WITNESS: We used our discretionary
11                                            detention authority under Section 236(a),
                                              which also provides opportunity for us to set
12                                            conditions to include the conditions under
                                              which someone could be released. (Miller
13
                                              Dep. 11:10-11:24)
14
                                              Q. And what does 236(a) say?
15                                            Can you tell us your best recollection?
                                              A. Well, I'm not an attorney, so I don't have
16                                            the law memorized; but operationally it gives
                                              us the authority to set conditions of either
17
                                              continued detention or release for cases that
18                                            are not mandatory detention. (Miller Dep.
                                              12:2-12:9)
19
                                              Q. And when -- when -- when was the most
20                                            recent time that ICE officers at your detention
                                              facilities received any in-person training
21
                                              regarding the options for release under the
22                                            Flores settlement for minors in your custody?
                                              THE WITNESS: Every time new detailers
23                                            arrive at one of the residential centers, they
                                              have an intake briefing and instruction on,
24                                            you know, what they will be required to do
25                                            while they're at the facility. And that training
                                              is predicated on our operational understanding
26                                            of the Flores agreement. (Miller Dep. 49:14-
                                              50:8).
27
                                              Q. And are you aware of any time in which
28                                            ICE agents working at the family detention
                                              facilities have received in-person training

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1
2                                             about the Flores requirements with regards to
                                              the options for release of minors in your
3                                             custody?
                                              A. No, I don't. (Miller Dep. 52:13-52:20).
4
                                              Q. Are you aware of any in-person training
5                                             provided to your officers at family detention
6                                             centers -- I said in-person training -- regarding
                                              Judge Gee's -- and for the Court Reporter,
7                                             that's G-E-E -- August 2015 order in the
                                              Flores case?
8                                             A. No.
                                              Q. Are you aware of any written instructions
9                                             or guidance issued to your officers at the
10                                            family detention centers in writing,
                                              instructions or guidance, regarding Judge
11                                            Gee's August 2015 order in the Flores case?
                                              THE WITNESS: No, not to the officers.
12                                            (Miller Dep. 53:5-53:22).
13
                                              Q. Are you aware of any written instructions
14                                            issued to ICE officers, and, if so, please
                                              identify those instructions, that explains to
15                                            them what the term escape risk means in the
                                              Flores settlement?
16                                            A. No.
                                              Q. Are you aware of any in-person training
17
                                              about that?
18                                            A. About defining terms from Flores?
                                              Q. Explaining to the officers what the term
19                                            escape risk means under the Flores settlement,
                                              are you aware of any in-person training on
20                                            that question?
                                              A. No.
21
                                              Q. Do you recall what the -- or how the term
22                                            escape risk is -- is defined in -- in the Flores
                                              settlement in general?
23                                            A. No.
                                              (Miller Dep. 101:22-102:19).
24
25                                            Declaration of Assistant Director for Field
                                              Operations, Enforcement and Removal
26                                            Operations (ERO), in Washington, D.C., ICE,
                                              John Gurule, Doc. # 217-1, Ex. 22, ¶ 14:
27                                            A small percentage of individuals do remain
                                              in ICE family residential centers for longer
28                                            periods of time. This is because these
                                              individuals generally fall into one of three

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1
2                                             categories: (1) individuals who are in
                                              mandatory detention because they have not
3                                             yet been found to have a credible fear, are still
                                              seeking to establish a claim to credible fear
4                                             through requests for re-interview or
                                              reconsideration, and have sought and received
5                                             stays of removal; (2) individuals who have
6                                             been denied a finding of credible fear and are
                                              awaiting removal and subject to mandatory
7                                             detention; or (3) individuals in family units
                                              with final orders where the parent has been
8                                             determined to constitute a flight risk.
                                              [Doc. # 217-1, Declaration of John Gurule,
9                                             Ex. 22, ¶ 14].
10
                                              Deposition Excerpts of attorney, Ed
11                                            McCarthy, Ex. 24:
                                              Q. Paragraph 4 of your deposition states that
12                                            you observed no change in ICE policy in the
                                              detention of Flores members while at Karnes.
13
                                              What do you mean by “no change”?
14                                            A. Their practice of holding women in
                                              detention who had received a negative
15                                            determination following credible fear or a
                                              reasonable fear interview did not change
16                                            while I was there. And at no point did they
                                              receive a custody review in front of an
17
                                              immigration judge, and so there were no
18                                            changes in that status. (McCarthy Dep. 29:7-
                                              29:17).
19
                                              A. In speaking to my clients and the
20                                            employees at Karnes and the deportation
                                              officers, at no point did any of them mention
21
                                              any efforts being made to place – to place
22                                            their children outside of Karnes. (McCarthy
                                              Dep. 49:13-49:17).
23
                                              A. I saw no consideration being given to any
24                                            credible or reasonable fear – fears that –
25                                            sorry, any credible fears that the children
                                              might have had. At no point had I heard of
26                                            children being present during the parents’
                                              interview or having their own interview for
27                                            any of my clients. (McCarthy Dep. 50:17-
                                              50:22).
28
                                              Declaration Excerpts of Ed McCarthy, Doc. #

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1
2                                             201-1 at 173, Ex. 11:
                                              “I observed no change in ICE policy in the
3                                             detention of accompanied Flores class
                                              members during my pro bono work at
4                                             Karnes.” [Doc. # 201-1 at 173, Declaration of
                                              Ed McCarthy Ex. 11, ¶ 4].
5
6                                             “None of the mothers or Flores class
                                              members who I interviewed or represented at
7                                             Karnes…informed me that any efforts had
                                              been taken or were being taken that they were
8                                             aware of to release or place Flores class
                                              members as expeditiously as possible under
9                                             the terms of the Flores settlement. [Doc. #
10                                            201-1 at 173, Dec. of Ed McCarthy Ex. 11, ¶
                                              12].
11
                                              Deposition Excerpts of attorney Robyn
12                                            Barnard (Ex. 23):
                                              A. The only time I've had any discussion with
13
                                              Immigration and Customs Enforcement
14                                            officers who are giving me reasons for why
                                              either the parent or child who are detained at
15                                            Berks Detention Center are not being
                                              released, they will solely say generally that
16                                            it's because they're not eligible for release,
                                              and by that I understand that they mean that
17
                                              the parent and child had been entered into
18                                            expedited removal and were not eligible
                                              under the laws that apply to expedited
19                                            removal and both were entered in that
                                              proceeding to be released from detention
20                                            because of their negative or credible or
                                              reasonable fear interviews.
21
                                              (Barnard Dep. 63:14-64:2).
22
                                              Q. How many of the class members who you
23                                            are the representing have a stay of deportation
                                              issued by any authority?
24                                            A. All of them received stays of deportation.
25                                            Q. And all of them have remained in custody
                                              despite the fact that they have a stay of
26                                            deportation; is that correct?
                                              A. Correct.
27                                            (Barnard Dep. 64:12-64:20).
28                                            Deposition Excerpts of Dilley Assistant Field
                                              Office Director, Enforcement and Removal

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1
2                                             Operations, ICE, Valentin de la Garza (Ex. 7):
                                              Q. Okay. My question was not whether they
3                                             become subject to mandatory detention if
                                              their -- if their fear claim is denied. My
4                                             question was, have you received any
                                              instructions to comply with paragraph 14,
5                                             regarding the release of minors if that minor's
6                                             claim, fear claim, has been rejected?
                                              MS. FABIAN: Ob -- Object to form and
7                                             foundation. I think he's answered your
                                              question to the best of his ability.
8                                             Q. (By Mr. Schey) Okay. You may answer
                                              this question.
9                                             A. Yes, sir. Our guidance is that, at that point,
10                                            they are a final order; they become a
                                              mandatory detention, and we proceed with the
11                                            removal.
                                              Q. Okay. So in other words, you have not
12                                            received any instruction or guidance
                                              regarding the release of minors under
13
                                              paragraph 14 if their fear claim has been
14                                            denied; is that fair to say?
                                              MS. FABIAN: Object to form, foundation.
15                                            THE WITNESS: My answer's going to be the
                                              same thing, sir. My guidance is to hold them
16                                            to -- until they become a mandatory --
                                              Q. (By Mr. Schey) Okay.
17
                                              A.-- detention and to proceed with the
18                                            removal.
                                              (De La Garza Dep. 32:2-32:25).
19
                                              Declaration of Sara Eizabeth Lopez, Doc. #
20                                            201-5, Ex. 24, ¶ 9
                                              “No one has talked to me about whether my
21
                                              daughter can be released to a friend or relative
22                                            in the United States.”
                                              [Doc. # 201-5, Dec. of Sara Exxxxxxxx
23                                            xxxxx, Ex. 24, ¶ 9].
24                                            Declaration of Karen Zxxxxx xxxxxx,
25                                            detained with her Class Member son since on
                                              or about August 29, 2015, and still detained
26                                            with her son eight months later, Doc. # 201-5
                                              Ex. 39 ¶ 11
27                                            “No official questioned me about relatives or
                                              friends in the U.S. able to care for my son. No
28                                            one asked me if I wanted my son transferred
                                              to a licensed facility for children.”

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1
2                                             Declaration of Karen Zxxxxx xxxxxx, Doc. #
                                              201-5 Ex. 39 ¶ 11.
3
                                              Declaration of Class Member, Walter
4                                             Axxxxxxx xxxxxxxxx, Doc. # 201-5 Ex. 22 ¶
                                              9
5                                             “No one asked me about relatives or family
6                                             friends who may be willing to take care of me
                                              here in the U.S. No official told me that any
7                                             decision had been made about releasing or
                                              detaining me …”
8                                             Declaration of Walter Axxxxxxx xxxxxxxxx,
                                              Doc. # 201-5 Ex. 22 ¶ 9.
9

10                                            Declaration of volunteer attorney Natalia
                                              Ospina, Doc. # 201-1, Ex. 7, ¶9 (3/10/16)
11                                            “During the numerous interviews I conducted
                                              at the Dilley detention center I did not
12                                            encounter a single Flores class member or
                                              Flores class member mother who indicated
13
                                              that they had been interviewed or questioned
14                                            by CBP or ICE officials to obtain information
                                              needed to expeditiously process class
15                                            members for release to family or friends or
                                              placement in a facility licensed for the care of
16                                            dependent children.”.
                                              Declaration of Natalia Ospina, Doc. # 201-1,
17
                                              Ex. 7, ¶9.
18
                                              Declaration of Manoj Govindaiah, Director
19                                            of Family Detention Services with RAICES,
                                              Doc. # 201-2 Ex. 17, ¶16 “When they
20                                            arrived at the border, she and her daughters
                                              entered the United States and were detained
21
                                              at the Karnes detention center around
22                                            January 26, 2016. Her son entered with an
                                              unrelated Brazilian man who traveled with
23                                            them. Her son was classified as an
                                              unaccompanied minor and placed in the
24                                            custody of the Office of Refugee
25                                            Resettlement (“ORR”). Although Rina had
                                              relatives in Boston that were willing to
26                                            sponsor her son for release from ORR
                                              custody, on February 10, 2016 ORR
27                                            “reunified” Rina’s son with her and ICE
                                              admitted him at the Karnes detention
28                                            center.” Declaration of Manoj Govindaiah,
                                              Director of Family Detention Services with

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1
2                                             RAICES, Doc. # 201-2, Ex. 17, ¶16.

3                                             Declaration of volunteer attorney Theresa
                                              Wilkes, Doc. # 201-1, Ex. 9, ¶ 11 (11/2015)
4                                             “I interviewed no Flores class members or
                                              their mothers who had been questioned during
5                                             their several weeks of detention by CBP or
6                                             USICE officers about relatives or friends who
                                              could care for the children upon release, nor
7                                             had any class member or mother been
                                              questioned about the possibility of the class
8                                             member being placed in a licensed facility for
                                              the care of dependent children. I saw
9                                             absolutely no evidence either in my
10                                            discussions with class members or their
                                              mothers, or when reviewing their
11                                            administrative files, that DHS was in any way
                                              taking and recording steps to release Flores
12                                            class members without unnecessary delay or
                                              as expeditiously as possible. In fact, I became
13
                                              aware of no efforts at all to release class
14                                            members under Paragraph 14 or to place them
                                              under Paragraph 19 of the Flores Settlement.
15                                            Based on my discussions with Flores class
                                              members and their mothers, and review of
16                                            their files, it was clear that DHS continues to
                                              ignore Paragraph 18 of the Settlement which
17
                                              provides upon taking a minor into custody,
18                                            DHS must make and record prompt and
                                              continuous efforts toward family reunification
19                                            and the release of the minor pursuant to
                                              Paragraph 14.”
20                                            Declaration of Theresa Wilkes, Doc. # 201-1,
                                              Ex. 9, ¶ 11.
21
22                                            Declaration of Raquel Axxxxx xxxxxx, Doc.
                                              # 201-5, Ex. 26, ¶11 (2/3/16)
23                                            "No officials have talked to me about whether
                                              we have relatives or close friends in the U.S.
24                                            who could temporarily care for my daughter.”
25                                            Declaration of Raquel Axxxxx xxxxxx, Doc.
                                              # 201-5, Ex. 26, ¶11.
26
                                              Declaration of Class Member, Katerin
27                                            Yxxxxxxx xxxxxxx (12 years old) Doc. #
                                              201-5, Ex. 34, ¶13 (2/3/2016)
28                                            “No one asked where I was hoping to live in
                                              the United States, even though my dad lives

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1
2                                             in Virginia and my mom and I want to live
                                              with him.”
3                                             Declaration of Katerin Yxxxxxxx xxxxxxx,
                                              Doc. # 201-5, Ex. 34, ¶13.
4
                                              Declaration of Sonia Axxxxx-xxxxxx, Doc. #
5                                             201-5, Ex. 35, ¶8 (2/3/16)
6                                             “No one at the border patrol station or here at
                                              Karnes has ever questioned me or discussed
7                                             with me the possibility of my sons being
                                              released to relatives or friends here in the
8                                             United States.”
                                              Declaration of Sonia Axxxxx-xxxxxx, Doc. #
9                                             201-5, Ex. 35, ¶8.
10
                                              Declaration of Leny Adonay Guzman (15
11                                            yrs old) Doc. # 201-6, Ex. 48, ¶ 8 (2/3/16)
                                              “To this day no officer or employee at
12                                            Karnes has discussed with me or my mom
                                              the possibility that I could be released to
13
                                              my aunt in Houston. To the best of my
14                                            knowledge no one has contacted my aunt
                                              to learn more about whether she can take
15                                            care and custody of me.” Declaration of
                                              Leny Adonay Guzman (15 yrs old) Doc. #
16                                            201-6, Ex. 48, ¶ 8.
17
                                              Declaration of Bridget Cambria, Doc. # 201-1
18                                            at 103, Ex. 3, ¶ 12
                                              “I have never been informed or seen any
19                                            efforts by the Defendants to provide
                                              continuous efforts toward release except the
20                                            period immediately prior to the Order of
                                              Judge Gee. Following the decision and order
21
                                              of Judge Gee and the release of many families
22                                            who were detained for long periods of time,
                                              ICE nearly immediately began to detain class
23                                            members for periods in violation of the
                                              settlement.”
24                                            Declaration of Bridget Cambria, Doc. # 201-1
25                                            at 103, Ex. 3, ¶ 12.

26                                            Declaration of Raquel Axxxxx xxxxxx, Doc.
                                              # 201-5, Ex. 26, ¶¶ 11-12 (2/3/16)
27                                            “My daughter is not a flight risk, a danger to
                                              herself or others, or are juvenile delinquent,
28                                            yet not one official has talked to me in the
                                              past month and a half to explore whether my

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1
2                                             daughter can or should be released to a family
                                              member or family friend.”
3                                             Declaration of Raquel Axxxxx xxxxxx, Doc.
                                              # 201-5, Ex. 26, ¶¶ 11-12.
4
                                              Declaration of Kelly Gxxxxxxxx-xxxxx,
5                                             Doc. # 201-5, Ex. 31, ¶14 (5/1/16)
6                                             “I have family here in the U.S., my
                                              brother lives here and he has TPS
7                                             [Temporary Protected Status], he has
                                              been here for more than 20 years and
8                                             lives in Houston. He would be willing to
                                              have my son live with him. No
9                                             immigration officers at the border, at
10                                            Karnes, or [at] Berks have ever asked me
                                              about my son going to live with my
11                                            brother.”
                                              Declaration of Kelly Gxxxxxxxx-xxxxx,
12                                            Doc. # 201-5, Ex. 31, ¶14.
13
                                              Declaration of attorney Lindsay Harris, Doc.
14                                            # 201-2, Ex. 14, ¶4(d)
                                              “Flores class members in CPB facilities are
15                                            not told by officials about any rights they may
                                              possess under the Flores settlement.”
16                                            Declaration of Lindsay Harris, Doc. # 201-2,
                                              Ex. 14, ¶4(d)
17
                                              Declaration of volunteer attorney Natalia
18                                            Ospina, Doc. # 201-1, Ex. 7, ¶9 (3/10/16)
                                              “According to the detainees I interviewed
19                                            not one had been told that Flores class
                                              members have the right to a custody
20                                            hearing before an immigration judge and
                                              none of the Flores class members had
21
                                              been taken before an immigration judge
22                                            for a bond redetermination hearing.”
                                              Declaration of Natalia Ospina, Doc. #
23                                            201-1, Ex. 7, ¶9.
24                                            Declaration of Allison Mxxxx xxxxx,
25                                            Doc. # 201-5, Ex. 40, ¶10 (5/1/16)
                                              “At no point [during our detention]
26                                            did anyone ever talk to me or my
                                              sister about our rights as children. I
27                                            was never talked to about any ability
                                              to be released to my dad or to receive
28                                            a bond in front of an immigration
                                              judge.”

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1
2                                             Declaration of Allison Mxxxx xxxxx,
                                              Doc. # 201-5, Ex. 40, ¶10.
3
                                              Declaration of Manoj Govindaiah, Director
4                                             of Family Detention Services with
                                              RAICES, San Antonio, Texas, Doc. # 201-
5                                             2, Ex. 17, ¶20
6                                             “Children at the Karnes detention center
                                              have routinely told us that they were not
7                                             informed of their rights to custody
                                              redetermination hearings, as required by the
8                                             Flores settlement agreement, and the same
                                              is true of the class members I met with on
9                                             February 3, 2016.”
10                                            Declaration of Manoj Govindaiah Doc. #
                                              201-2, Ex. 17, ¶20.
11
                                              Declaration of thirteen-year-old class member
12                                            Cesia Vxxxxxxxxx-xxxx, Doc. # 201-5, Ex.
                                              29, ¶19
13
                                              “...[n]o official … has informed me that I
14                                            have a right to see an immigration judge
                                              about my custody status."
15                                            Declaration of Cesia Vxxxxxxxxx-xxxx, Doc.
                                              # 201-5, Ex. 29, ¶19.
16
                                              Declaration of Kelly Gxxxxxxxx-xxxxx, Doc.
17
                                              # 201-5, Ex. 31, ¶ 6 (5/1/16)
18                                            “I was never told that my son had a rights
                                              under the Flores case to have an immigration
19                                            judge review his bond situation or consider his
                                              release."
20                                            Declaration of Kelly Gxxxxxxxx-xxxxx, Doc.
                                              # 201-5, Ex. 31, ¶ 6.
21
22                                            Declaration of Victor Rxxxxx xxxxxxx (age
                                              15), Doc. # 201-5, Ex. 21, ¶¶ 7, 11 (4/23/16)
23                                            “No one told me that I maybe had the right to
                                              ask an immigration judge to review my
24                                            detention status or whether I should be released
25                                            on bond or other conditions…."
                                              Declaration of Victor Rxxxxx xxxxxxx, Doc.
26                                            # 201-5, Ex. 21, ¶¶ 7, 11.

27                                            Declaration of Walter Axxxxxxx xxxxxxxxx
                                              (age 13), Doc. # 201-5, Ex. 22, ¶ 8 (2/18/16)
28                                            “No one told me about … seeking a judge
                                              about being held in detention."

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1
2                                             Declaration of Walter Axxxxxxx xxxxxxxxx,
                                              Doc. # 201-5, Ex. 22, ¶ 8.
3                                             Declaration of Diana Cxxxxx xxxxx, Doc. #
                                              201-5, Ex. 43, ¶10 (2/2/16)
4                                             “While here at Dilley for the past month no
                                              one working with the immigration has talked
5                                             to me about … my right to see a judge to
6                                             decide if I should be released. My mother has
                                              told me that while we have been detained here
7                                             no one has spoken to her about … my right to
                                              see a judge about my release.”
8                                             Declaration of Diana Cxxxxx xxxxx, Doc. #
                                              201-5, Ex. 43, ¶10.
9

10                                            Declaration of Edgardo Dxxxxx
                                              xxxxxxxx, Doc. # 201-6, Ex. 49, ¶11
11                                            (2/2/16)
                                              “...no officer here at Dilley has said
12                                            anything to me or my mother about …
                                              seeing an immigration judge to decide if I
13
                                              or I and my mother should be released
14                                            from detention.”
                                              Declaration of Edgardo Dxxxxx
15                                            xxxxxxxx, Doc. # 201-6, Ex. 49, ¶11.

16                                            Declaration of twelve-year-old Class
                                              Member, Flember Jose Contreras, Doc. # 201-
17
                                              6, Ex. 50, ¶8 (2/2/16)
18                                            “I have not been told that I can see a judge
                                              about my detention or release.”
19                                            Declaration of Flember Jose Contreras, Doc. #
                                              201-6, Ex. 50, ¶8.
20                                            Declaration of Karen Lxxxxxx xxxxxxxx
                                              (12 years old), Doc. # 201-6, Ex. 51, ¶11
21
                                              (2/2/16)
22                                            “I came to Dilley with my mother on
                                              Sunday, January 23, 2016. I have not been
23                                            told that I can see a judge about my
                                              release.”
24                                            Declaration of Karen Lxxxxxx xxxxxxxx,
25                                            Doc. # 201-6, Ex. 51, ¶11.

26                                            Declaration of Madelyn Mxxxxxxx-
                                              xxxxx, Doc. # 201-6, Ex. 52, ¶10 (13
27                                            years old w/ mother, Elsy Noemi Lopez,
                                              (2/2/16)
28                                            “While here at Dilley for the past month
                                              no one working with the immigration has

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1
2                                             talked to me about … my right to see a
                                              judge to decide if I should be released.
3                                             My mother has told me that while we
                                              have been detained here no one has
4                                             spoken to her about …my right to see a
                                              judge about my release.”
5                                             Declaration of Madelyn Mxxxxxxx-
6                                             xxxxx, Doc. # 201-6, Ex. 52, ¶10.

7                                             Declaration of Manoj Govindaiah, Director of
                                              Family Detention Services with RAICES in
8                                             San Antonio, Texas, Doc. # 201-2, Ex. 17,
                                              ¶21
9                                             “Class members also reported being placed
10                                            with unrelated adults, which is also very
                                              common at the Karnes detention center too.”
11                                            Declaration of Manoj Govindaiah, Doc. #
                                              201-2, Ex. 17, ¶21.
12
                                              Declaration of Amarilis Lxxxxxx xxxxx,
13
                                              Doc. # 201-5, Ex. 44, ¶8 (2/3/16)
14                                            “I have not been told that I can see a judge
                                              about my detention or release.”
15                                            Declaration of Amarilis Lxxxxxx xxxxx,
                                              Doc. # 201-5, Ex. 44, ¶8.
16
                                              Declaration of Sonia Axxxxx-xxxxxx, Doc. #
17
                                              201-5, Ex. 35, ¶8 (2/3/16)
18                                            “I have not been told that my son …could see
                                              a judge about his detention or release.”
19                                            Declaration of Sonia Axxxxx-xxxxxx, Doc. #
                                              201-5, Ex. 35, ¶8.
20
                                              Declaration of Katerin Yxxxxxxx
21
                                              xxxxxxx, Doc. # 201-5, Ex. 34, ¶7
22                                            (2/3/16)
                                              “No one told me that I had a right to
23                                            see an Immigration Judge about my
                                              detention. … I have talked to my
24                                            mother and my mother has said that
25                                            no one has told her about… any
                                              rights I may have to see an
26                                            immigration judge.”
                                              Declaration of Katerin Yxxxxxxx
27                                            xxxxxxx, Doc. # 201-5, Ex. 34, ¶7.
28                                            Declaration of Allison Mxxxx xxxxx, Doc. #
                                              201-6, Ex. 40, ¶12 (2/19/16)

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1
2                                             “There was no need for me [or] my sister …
                                              to be placed in detention. Our father, Elias
3                                             Mxxxxx xxxxx, lives in Dallas, Texas. He
                                              has been here for about 12 years. My mother
4                                             also has a sister … who lives in Maryland
                                              and is a Legal Permanent Resident … My
5                                             mom also has an aunt in Maryland who is a
6                                             U.S. citizen … Immigration knows that we
                                              have family willing to care for us, and they
7                                             have denied our release for the last 8
                                              months.” Dec. of Allison Mxxxx xxxxx,
8                                             Doc. # 201-6, Ex. 40, ¶12.
9                                             Declaration of 13-year-old Class Member,
10                                            Cesia Vxxxxxxxxx-xxxx, who was detained
                                              for about six months when she declared:
11                                            “No official here has questioned me to
                                              determine if I have a close family member to
12                                            whom I could be released or whether I am
                                              willing to be placed in a licensed home if no
13
                                              relative is found to be capable of caring for
14                                            me.”
                                              Dec. of Cesia Vxxxxxxxxx-xxxx, Doc. # 201-
15                                            5, Ex. 29, ¶19.

16                                            No one at the border patrol station asked me
                                              any questions about whether I had any
17
                                              relatives or family friends to whom I could be
18                                            released in the United States. My mother was
                                              with me when I was interviewed and provided
19                                            this declaration and she also says that no one
                                              ever asked her about any relatives or close
20                                            friends we have in the U.S. that could take
                                              care of me if I was released from detention. I
21
                                              do have an uncle named Leandro Ortiz
22                                            Garcia, and he has permission to be in the
                                              United States and travels in and out of the
23                                            country frequently. He lives in San Antonio,
                                              Texas and he could care for me if I am
24                                            released from custody. My uncle owns his
25                                            house. He works in construction. My uncle’s
                                              address is 12809 Old Spanish Trl. Live Oak,
26                                            San Antonio, TX 78233. My uncle could pick
                                              me up from Karnes City if I were released.
27                                            My mother and I were planning to travel to
                                              San Antonio, TX to live with my uncle. But
28                                            no one has made any effort to reunite me with
                                              my uncle. Since being detained and being in

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2                                             close contact with many other detained
                                              minors and talking to them every day, to the
3                                             best of my knowledge not one minor in
                                              custody has been questioned about relatives in
4                                             the U.S. or close family friends to whom they
                                              could be released. Release is not an option if
5                                             you are arrested with your mother.”
6                                             Declaration of Franklin Rxxxx xxxxxxxxx,
                                              Doc. # 201-5 at 918, Ex. 45, ¶ 10.
7                                             Declaration of Sara Exxxxxxxx xxxxx, Doc. #
                                              201-5 at 837, Ex. 24, ¶ 9
8                                             “No one has talked to me about whether my
                                              daughter can be released to a friend or relative
9                                             in the United States.”
10                                            Declaration of Sara Exxxxxxxx xxxxx, Doc. #
                                              201-5 at 837, Ex. 24, ¶ 9.
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2           B.  Defendants have no contracts     Deposition Excerpts of Chief Patrol Agent –
                with licensed programs to        Rio Grande Valley Sector, CBP, Manuel
3                                                Padilla Jr. (Ex. 2):
                place accompanied minors
                                                 Q. Okay. Are you currently aware of any
4               under ¶¶ 14E or 19 of the        licensed program that either Border Patrol or
                Agreement and therefore never    ICE is operating, or has a contract with,
5               place Class Members in such      where minors may be placed temporarily if
6               facilities                       they are not eligible for release from
                                                 custody?...
7                                                THE WITNESS: Is this accompanied minors
                                                 or unaccompanied minors?
8                                                Q. Accompanied minors. I know -- I know
                                                 unaccompanied minors go to ORR.
9                                                THE WITNESS: Yes. I am not -- I am not
10                                               aware of any program that Border Patrol
                                                 works with -- in that – in that construct.
11                                               (Padilla Dep. 20:13-20:25).

12                                               Deposition Excerpts of Assistant Director of
                                                 Field Operations, Enforcement and Removal
13
                                                 Operations, ICE, Phillip Miller (Ex. 9):
14                                               Q. Are you aware of any training provided in
                                                 the PALMS Module regarding the definition
15                                               of a licensed program under the Flores
                                                 settlements?
16                                               MR. SILVIS: Object to foundation.
                                                 THE WITNESS: No.
17
                                                 (Miller Dep. 54:17-54:23).
18
                                                 Q. And at the present time, does ICE have any
19                                               contracts with any licensed programs, other
                                                 than your detention -- family detention
20                                               centers, in which you could place
                                                 accompanied minors?
21
                                                 MR. SILVIS: Objection, foundation.
22                                               THE WITNESS: Not placement locations.
                                                 We have a family case management program
23                                               where we could facilitate community re-
                                                 engagement generally utilized for folks
24                                               who are not good candidates for the
25                                               FRCs. We will look to place them into the
                                                 family case management program as an
26                                               alternative to detention. (Miller Dep. 60:16-
                                                 61:9).
27
                                                 Q. Are you aware of -- of any licensed
28                                               program, other than your family detention
                                                 centers, your three family detention centers,

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1
2                                             that ICE has contracted with for the
                                              placement of minors in your custody who for
3                                             one reason or another placement with an
                                              individual is not available or appropriate?
4                                             A. No.
                                              (Miller Dep. 61:18-62:2).
5
6                                             Deposition of Berks Assistant Field Office
                                              Director, Enforcement and Removal
7                                             Operations, ICE, Joshua Reid (Ex. 8):
                                              Q. Is Berks currently a licensed facility or
8                                             unlicensed?
                                              MS. FABIAN: Object to form.
9                                             THE WITNESS: As the license is pending
10                                            litigation, I don’t feel I’m qualified to make
                                              that determination.
11                                            (Reid Dep. 28:14-28:19).

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2            C.  Defendants have no procedures       Deposition of Assistant Field Office Director
                 in place to obtain Affidavits of    of Enforcement and Removal Operations, San
3                                                    Antonio Field Office, ICE, Juanita Hester, Ex.
                 Support for those willing to
                                                     6:
4                accept custody of a minor as        THE WITNESS: As I stated earlier, the
                 required by ¶ 15 and ICE            information in reference to family, friends,
5                officers do not confer with         relative, that information would be in the
6                Class Members or their              database, not necessarily in their A-file.
                 mothers about placement             (Hester Dep. 100:22-100:25)
7                pursuant to any part of the
                                                     Deposition of Karina Vxxxx-xxxxxxx, Ex.
8                Settlement.                         13:
                                                     Q. Did anyone speak to you about what would
9                                                    happen to you when you first arrived?
10                                                   A. No.
                                                     Q. Were you given any paperwork or forms to
11                                                   fill out?
                                                     A. No.
12                                                   (Karina Vxxxx-xxxxxxx Dep. 22:10-22:16).
13
                                                     Deposition of Chief Patrol Agent – Laredo
14                                                   Sector, CBP, Mario Martinez, Ex. 5:
                                                     Q. In paragraph 14 of your declaration you
15                                                   state that border patrol agents when they are
                                                     processing family units asked about contacts
16                                                   that the family has in the United States; do
                                                     you see that or recall that?
17
                                                     A: Yes, sir, I see it.
18                                                   Q: Where is that information recorded? The
                                                     responses to that inquiry or those inquiries,
19                                                   where – where is that recorded?
                                                     A: That would be recorded within the e3 in
20                                                   the I-213.
                                                     Q. I'm sorry. In both places? 19 A. Well, e3 is
21
                                                     the mechanism through which the 20 I-213
22                                                   form is generated.
                                                     Q. Okay. So the I-213 is part of the e3
23                                                   detention module?
                                                     A. Not the detention module, but the actual
24                                                   enforcement module. So we used e3, which is
25                                                   a system, and within that system there are
                                                     different modules. And the processing is done
26                                                   within the one system so that we can capture
                                                     all the information that is pertinent, not just
27                                                   from the law enforcement perspective but also
                                                     for the processing of the individual and the
28                                                   disposition.
                                                     Q. And what is -- in what module is the I-213

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2                                              included?
                                               A. It's in the actual processing site of the e3
3                                              intake.
                                               (Martinez Dep. 12:8-14:8).
4
                                               Deposition Excerpts of Chief Patrol Agent –
5                                              Rio Grande Valley Sector, CBP, Manuel
6                                              Padilla Jr. (Ex. 2):
                                               Q. Yeah, but I don't see anything in that that
7                                              refers to my question. I am not talking about
                                               food or water. I am very specifically looking
8                                              at your paragraph 15. And your paragraph 15
                                               tells us that your agents have been provided
9                                              guidance that they are "required" to follow.
10                                             And that guidance requires them from
                                               unaccompanied minors to obtain not only
11                                             parents and legal guardian contact
                                               information in the United State, but also "any
12                                             relatives." My question is very simple. Has a
                                               similar guidance been issued to agents with
13
                                               regards to accompanied minors, and if so,
14                                             when was it issued and in what manner was it
                                               issued?
15                                             THE WITNESS: Yes, sir. I do not -- I cannot
                                               answer that question right now. I would have
16                                             to research that. (Padilla Dep. 15:16-16:4).
17
                                               Q. Okay. What is -- are you aware that under
18                                             paragraph 14 a minor shall be released to a
                                               suitable custodian, including, let's say, an
19                                             uncle and an auntie or grandmother or
                                               grandfather? Are you aware of that?
20                                             THE WITNESS: Yes, sir. I am aware that it's
                                               a parent or a legal guardian, if I remember
21
                                               correctly.
22                                             Q. Okay. But other than -- other than the
                                               parents or legal guardian, without guessing,
23                                             do you remember what the other options are
                                               that could be explored for placement under
24                                             paragraph 14, if you -- if you recall?
25                                             A. Yes. What I do recall is that we give as
                                               much information to ORR and it is their
26                                             responsibility to look at those options to see
                                               who is suitable to take custody and care of
27                                             those unaccompanied children.
                                               (Padilla Dep. 17:12-18:7).
28
                                               Q. Okay. How about when -- when your

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1
2                                              agents are processing family units -- or let's
                                               say family units, A, as a matter of practice, if
3                                              you know, do they ask the mother or the
                                               father if there is a non-relative adult living in
4                                              the United States to whom they may want
                                               their child released? ….
5                                              A. Yes. I -- I do not know. And I do not want
6                                              to speculate. (Padilla Dep. 19:16-19:24).

7                                              Declaration of Chief Patrol Agent, Tucson
                                               Sector, CBP, Paul Beeson
8                                              “The TCC maintains a team of processors
                                               specifically for juveniles, who are given
9                                              training by the Tucson Sector Juvenile
10                                             Coordinator to ensure their actions comply
                                               with the Agreement and the TVPRA. Each
11                                             agent receives a two hour training block
                                               covering appropriate processing procedures,
12                                             credible fear claims, trafficking questions and
                                               other concerns which are unique to the
13
                                               juvenile population.”
14                                             Declaration of Paul Beeson, Doc. # 209-3, Ex.
                                               6, ¶ 85.
15
                                               Deposition Excerpts of Assistant Director of
16                                             Field Operations, Enforcement and Removal
                                               Operations, ICE, Phillip Miller (Ex. 9):
17
                                               Q. Sure. You talked about how
18                                             the officers would make inquiry into the
                                               sponsor; is that correct?
19                                             A. Yes.
                                               Q. And you mentioned several things they
20                                             would look into. If a minor is involved, is one
                                               of the issues they look into the
21
                                               appropriateness of the minor living in that
22                                             home?
                                               A. No. We defer to the mother.
23                                             (Miller Dep. 89:15-89:25).
24                                             Q. When -- when I deposed the -- the ICE
25                                             officials in charge of these three detention
                                               centers, I was not able to learn what -- what
26                                             they would do differently at the 15 day mark
                                               than at any other time, because they testified
27                                             we're constantly reviewing every case to see if
                                               anything has changed. I'm wondering, can
28                                             you tell us what the instruction says about this
                                               15 days and what it says anybody is supposed

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2                                              to do differently after 15 days?
                                               MR. SILVIS: Object to the form.
3                                              THE WITNESS: Sure. The original guidance
                                               that went out, I believe it was in June of '15,
4                                              was at the Secretary's direction to, you know,
                                               provide the residents with the opportunity to -
5                                              - to inform ICE of any changes in their
6                                              circumstance or sponsorship. And we would
                                               do that iteratively throughout their continued
7                                              detention. Now that families are in detention
                                               for a much shorter period of time, I probably
8                                              would imagine that AFODs, A-F-O-D,
                                               assistant field office directors at the facilities
9                                              had that ongoing dialogue with the residents.
10                                             The 15-day benchmarks remain in effect.
                                               They notice the residents that their -- you
11                                             know -- that their case is being reviewed and
                                               if they have any additional submissions that
12                                             they or their counsel would like to have
                                               considered. But for many of them if -- if they
13
                                               get to the 15 day point, it's usually only once.
14                                             You know, most of these folks that we're
                                               talking about are -- you know -- are generally
15                                             put on supervised release around the 15 day
                                               mark, if not shortly thereafter.
16                                             (Miller Dep. 151:10-153:10).
17
                                               Q. Okay. And it's your understanding that
18                                             every 15 days that a family unit is in custody,
                                               that ICE gives them some sort of a written
19                                             notice telling them that if they have anything
                                               new about their custody status, to come and
20                                             bring that forward to an ICE agent?
                                               A. Yes, that's my understanding.
21
                                               (Miller Dep. 154:13-154:21).
22
                                               Q. So you've seen an activity report about
23                                             custody determinations; but my question was,
                                               do you see any report that would indicate that
24                                             these notices have been distributed every 15
25                                             days?
                                               A. The distribution of the notices, no, I don't
26                                             track that. I track the actions taken based on
                                               the case reviews.
27                                             (Miller Dep. 156:12-156:21).
28                                             A. Again, we see the decision on how and
                                               where children reside to be a decision of the

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2                                              mother. We work to ensure that the family
                                               stays together, both while they're detained and
3                                              while they're in transit. And so the kind of
                                               assessments that you're describing, I think, are
4                                              being done well by ORR. At least it's my
                                               understanding that ORR does them well. And
5                                              I think if Congress wanted us to -- to do that
6                                              and not do a law enforcement mission, we
                                               would have been directed to do so.
7                                              (Miller Dep. 165:3-165:19).

8                                              Declaration of Yeslin Lxxxx xxxxxxx, Doc. #
                                               201-5 at 834, Ex. 23, ¶ 7
9                                              “No one there asked me or my mom if there
10                                             was someone who could take care of me in
                                               the U.S. If they had, I would have told them
11                                             that we could go stay with my dad in Billings,
                                               Montana. But they never told us that we go
12                                             leave or that we could ask a judge to be
                                               released.”
13
                                               Declaration of Yeslin Lxxxx xxxxxxx, Doc. #
14                                             201-5 at 834, Ex. 23, ¶ 7.

15                                             Declaration of attorney, Amanda Doroshow,
                                               Doc. # 201-1 at 170, Ex. 10, ¶6
16                                             “During the six days I spent at Dilley, I did
                                               not meet any Flores class member or mother
17
                                               who told me that the class member had been
18                                             informed by CBP or ICE about … any way
                                               that continuous efforts were being made to
19                                             explore release or placement under the Flores
                                               settlement. It appeared to me that
20                                             accompanied minors in Dilley were being
                                               treated as if they are not Flores class
21
                                               members at all.”
22                                             Declaration of Amanda Doroshow, Doc. #
                                               201-1 at 170, Ex. 10, ¶6.
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2            D.  Defendants have no procedures     Declaration Excerpts of Class Member
                 in place to conduct suitability   Mother Celina Sxxxxxx-xxxx (Ex. 11):
3                                                  Celina Sxxxxxx-xxxx was detained by CBP
                 assessments of those willing to
                                                   for approximately 66 hours. See Ex. 16,
4                accept custody of a minor as      Strange Dec. Ex. O, Doc. #214-2.
                 set forth in ¶ 17 of the          “I have family here in the U.S. The father of
5                Agreement and do not confer       my son Jefferson is here in the U.S. He is
6                with Class Members or their       living in Manassas, Virginia and is willing to
                 mothers about suitability         provide car for my son and me….No officer
7                                                  has asked me about me or my son’s
                 assessments.
                                                   preference to be released to his father.” (Doc.
8                                                  # 201-5 at 849, Dec. of Celina Sxxxxxx-xxxx
                                                   Ex. 28, ¶ 23).
9

10                                                 Deposition Excerpts of Class Member
                                                   Franklin Rxxxx xxxxxxxxx (Ex. 12):
11                                                 Q: Did anyone ask you about any family you
                                                   have in the United States?
12                                                 A: No.
                                                   (Franklin Rxxxx xxxxxxxxx Dep. 24:11-
13
                                                   24:13).
14
                                                   Deposition Excerpts of Rodney Scott, CBP,
15                                                 Chief Patrol Agent – El Centro Sector (Ex. 3):
                                                   Q: Okay. So the best of your knowledge,
16                                                 there's no field in the detention module for
                                                   border patrol agents to enter in data about the
17
                                                   name, the contact information for the relative
18                                                 or the friend that the detainee planned to go to
                                                   if released from custody; is that correct?
19                                                 THE WITNESS: Correct. (Scott Dep. 91:17-
                                                   91:24)….
20
                                                   Deposition Excerpt of Valentin de la Garza,
21
                                                   Dilley Supervisor (Exhibit 7):
22                                                 Q. Okay. My question was, Do you
                                                   request that they give you all their family
23                                                 members or friends in the States or simply
                                                   with a wish to reside?
24                                                 A. It's just one question we ask them, you
25                                                 know, and -- and it's pretty much a general
                                                   saying, where they were going to be resi --
26                                                 residing here in the United States and with
                                                   who. It's whatever they provide after that. We
27                                                 don't -- If it's more than one, then it's more
                                                   than one. If it's just one, or if it's none, it—it’s
28                                                 whatever they provide, sir, if they provide
                                                   anything.

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2                                              (De La Garza Dep. 25:8-25:17).

3                                              Q. Prior to the -- Well, let's call it the Asylum
                                               interview with the Asylum officers. Prior to
4                                              the Asylum interview, have your agents been
                                               instructed to take any steps aimed at the
5                                              release or the placement of the minors under
6                                              the Flores Settlement?
                                               ...
7                                              THE WITNESS: No, sir.
                                               Q. And prior to the Asylum interview, have
8                                              your agents been issued any instructions to
                                               make efforts to release or place the minors,
9                                              pursuant to Judge Gee's -- to anything in
10                                             Judge Gee's August 2015 order?
                                               MS. FABIAN: Object to form.
11                                             THE WITNESS: And you're saying that's
                                               prior to the Asylum interview?
12                                             Q. Correct.
                                               A. No, sir.
13
                                               (De La Garza Dep. 26:6-26:22).
14
                                               Deposition Excerpt of attorney Jacqueline
15                                             Kline (Plaintiff’s Ex. xx):
                                               A: I guess in my opinion, the majority, 95
16                                             percent of our clients have someone who they
                                               know that they would go to live with if they
17
                                               were released, whether that’s a close family
18                                             friend, a cousin, some closer family relative.
                                               And only in a few cases that I can think of did
19                                             we have clients who did not have friends,
                                               family, et cetera in the United States.
20                                             Q: Okay. And are friends included under
                                               paragraph 14 of the lore settlement as
21
                                               someone --
22                                             A: Right. (Kline Dep. 74:22-75:10).

23                                             Declaration of Attorney Bridget Cambria:
                                               “Despite the fact that in my experience about
24                                             95% of detained Flores class members at
25                                             Berks have close family members to whom
                                               they could be released under Paragraph 14 of
26                                             the Flores Settlement, to this date, despite the
                                               District Court’s August Order, in none of my
27                                             clients’ cases, has DHS made and recorded
                                               any ongoing efforts aimed at placement of
28                                             Flores class members with relatives or family
                                               friends as required by Paragraph 14 and 18 of

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1
2                                              the Settlement. Based on my observations,
                                               discussions with my clients, and review of
3                                              their files, I am aware of no effort to comply
                                               with the District Court’s August Order
4                                              requiring DHS to make continuous efforts to
                                               expeditiously release or place minors. Minors
5                                              have been and are being detained at Berks for
6                                              up to four months with no effort being made
                                               to release or place them as required by
7                                              Paragraphs 14, 18, and 19 of the Flores
                                               Settlement. [Doc. # 201-1 at 103, Dec. of
8                                              Bridget Cambria Ex. 3, ¶ 2].
9                                              “All these Flores members and their mothers
10                                             have family or friends ready to provide
                                               housing and care, no criminal history, and
11                                             pose no threat or security or flight. Yet none
                                               have been released despite the terms of the
12                                             Flores Settlement and the District Court’s
                                               August remedial Order.” [Doc. # 201-1 at
13
                                               103, Dec. of Bridget Cambria Ex. 3, ¶ 10].
14
                                               Deposition Excerpts of Class Member Mother
15                                             Mirna Mxxxxxx xxxxx (Ex. 15):
                                               Mirna Mxxxxxx xxxxx was detained by CBP
16                                             for approximately 62 hours. See Ex. 16,
                                               Strange Dec. Ex. R, Doc. #214-2.
17
                                               The father of my younger child, Josue, lives
18                                             in the United States and is pursuing asylum.
                                               No one has asked me whether my sons have
19                                             family in the United States that they could be
                                               released to or made any efforts for my sons to
20                                             be released to family members. In particular,
                                               no one has made any effort to release my son
21
                                               Josue to his father. [Doc. # 201-5 at 840, Dec.
22                                             of Mirna Mxxxxxx xxxxx Ex. 25, ¶ 8].

23                                             Deposition of Attorney Peter Schey
                                               (Plaintiff’s Ex. 16):
24                                             The information that we have is that during
25                                             that initial processing, an I-213 or whatever
                                               other forms have to be completed -- people
26                                             are certainly routinely asked, "Where were
                                               you headed in the United States? Do you have
27                                             a sister or mother or brother? Where were you
                                               going?" Who is that person and possibly even
28                                             their address and that that would be noted in
                                               the I-213. What we don't see -- what we don't

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1
2                                              believe is happening are questions beyond
                                               that one question which would begin
3                                              compliance with paragraphs 14 and 16. Not
                                               necessarily to -- the settlement doesn't require
4                                              that you immediately release the person. The
                                               settlement contemplates that that could even
5                                              take a few days but that that process starts
6                                              immediately. We don't see that process as
                                               starting immediately even in border patrol
7                                              stations.
                                               (Schey Dep. 54:20-55:10).
8
                                               [Regarding being asked about other family
9                                              members to be released to]… [A]nd in all of
10                                             those cases the parents or it was an older kid
                                               would -- would respond, no, nobody has
11                                             questioned me about those potential options.
                                               (Schey Dep. 88:12-88:15).
12
                                               So in our meetings or my meetings with Class
13
                                               members, none of them indicated that they
14                                             had been questioned about those types of
                                               inquiries that I think would have to be made
15                                             under paragraph 14.
                                               (Schey Dep. 89:11-89:15).
16
                                               The inspections also clearly disclosed that
17
                                               whether Class Members were detained for
18                                             days, weeks or months, continuous efforts are
                                               not made and recorded to release children
19                                             under Paragraph 14 or place them under
                                               Paragraph 19, and all children end up
20                                             detained in Defendants unlicensed or secure
                                               facilities commingled with unrelated adults.
21
                                               [Doc. # 201-1 at 1, Dec. of Peter Schey Ex. 1,
22                                             ¶ 9].

23                                             Deposition of Attorney Robyn Barnard (Ex.
                                               23):
24                                             A. I can speak to -- some of the families have
25                                             received every 90 days, I believe, custody
                                               determine notices from Immigration and
26                                             Customs Enforcement, which I believe in my
                                               experience is a standard practice for anyone
27                                             who is subject to immigration detention.
                                               Those notices asked the detainee that if they
28                                             wanted to be released from detention they
                                               should provide reasons and supporting

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1
2                                              evidence for why they should be released.
                                               And for several of the families, documents
3                                              were submitted from appropriate either
                                               immediate family, relatives that lived in the
4                                              United States or extended family or, in some
                                               cases, friends who lived in the United States
5                                              who had immigration status and who were
6                                              willing and able to receive the class members,
                                               the Flores class members, as well as their
7                                              parents, if they were released from detention.
                                               That is the only document that I've received
8                                              relating to any of the Berks families detained
                                               at the Berks facility that relates to release, but
9                                              none of the families that I am aware of who
10                                             submitted that supporting documentation
                                               requesting release were granted release.
11                                             (Barnard Dep. 58:13-59:11).

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1
2            E.  Defendants do not place            TEDS 4.16 Open Area Security:
                 accompanied minors or offer        Additional caution must be exercised to
3                                                   ensure the safety of the public and staff in
                 accompanied minors
                                                    open areas. Officers/Agents working in or
4                placement in "less restrictive     transiting this area must exercise due
                 alternatives [than secure          diligence to safeguard their firearms and other
5                facilities] that are available     weapons. Staff must also ensure that all
6                and appropriate" under ¶ 23        potential egress points are utilized in a
                 of the Agreement.                  manner that reduces escape risk.
7
                                                    Deposition Excerpts of Phillip Miller, Deputy
8                                                   Executive Associate Director for Enforcement
                                                    and Removal Operations, ICE (Ex. 9):
9                                                   Q: Are you aware of what the Flores
10                                                  settlement states with regards to the
                                                    placement of minors in medium secure
11                                                  facilities as an alternative to placement in a
                                                    secure facility?
12                                                  A. No. (Miller Dep. 102:25-103:6).
13                                                  Deposition Excerpts of Rodney Scott, CBP,
14                                                  Chief Patrol Agent – El Centro Sector (Ex.
                                                    3):
15                                                  Q: Are family units ever issued a notice to
                                                    appear and released from one of your
16                                                  stations?
                                                    A: You said "ever," so, yes, that can happen.
17
                                                    That does happen. Again, the normal process
18                                                  is for us to turn them over to ICE
                                                    Enforcement Removal Operations, but in
19                                                  special cases – humanitarian reasons, special
                                                    circumstances -- we can skip that process and
20                                                  actually release them on our own. We still
21                                                  give them a notice to appear in their -- what's
                                                    called released on their own recognizance.
22                                                  But in most cases, the vast majority of
                                                    cases, they're turned over to ICE ERO. And
23                                                  then anything that happens after them, to
                                                    include that option is up to ERO. That's not
24                                                  within my purview. (Scott Dep. 15:4-15:17).
25
                                                    Deposition Excerpts of Mario Martinez, Chief
26                                                  Patrol Agent of Border Patrol, Laredo Sector
                                                    (Ex. 5):
27                                                  A. Well, I think that the only one that comes
                                                    to mind right now that I can recall would be
28                                                  the TEDS -- the document that came out on
                                                    how we detain and process folks in our

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1
2                                              custody.
                                               THE WITNESS: TEDS, T-E-D-S.
3                                              Q. And what -- what does the TEDS
                                               document tell your agents about asking
4                                              apprehended immigrants about their contacts
                                               in the United States?
5                                              A. I don't have the document in front of me,
6                                              so I can't tell you exactly what it does or does
                                               not say.
7                                              Q. Okay. I'm not arguing exactly. What --
                                               what's your best recollection about what
8                                              TEDS says?
                                               A. So TEDS does talk about moving the folks
9                                              that are in custody as quickly as you possibly
10                                             can to either repatriate into -- and/or to the
                                               custody of another agency. And -- and I do
11                                             believe it does speak to us gathering as much
                                               information on contacts that they may or may
12                                             not have in the United States in order to do
                                               that.
13
                                               (Martinez Dep. 18:6-18:25).
14
                                               A: So when you're talking about children or
15                                             especially specifically unaccompanied alien
                                               children, what we look to is very specifically
16                                             entering the information into e3 so that health
                                               and human services and the office of refugee
17
                                               settlement has the information that they need
18                                             to be able to place the individual. We do not
                                               place the individual, we just need to turn the
19                                             individual over or the child over to -- or as
                                               quickly as we possibly can.
20                                             (Martinez Dep. 19:12-19:20).
21
                                               A. In terms of family units, that information is
22                                             entered into e3 for the purpose of ICRO being
                                               able to make a determination as to whether or
23                                             not the family unit is going to be moved to a
                                               residential facility or they're going to take the
24                                             person into their actual facility here in
                                               Saunders. So that's just basically a general
25
                                               rule is that we get as much information as we
26                                             possibly can from all of the persons that are
                                               apprehended so that we can make those types
27                                             of custody determinations and help other
                                               agencies make their custody determinations
28                                             along the way.
                                               (Martinez Dep. 19:22-20:7).

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2
                                               Deposition Excerpts of Rodney Scott, CBP,
3                                              Chief Patrol Agent – El Centro Sector (Ex. 3):
                                               THE WITNESS: So without giving a legal
4                                              review, I'll tell you the guidance that we issue
                                               Internally. To enhance the safety of the child
5                                              and to ensure that he is really, truly -- he or
6                                              she is really, truly being released to a
                                               guardian that has the child's best interest in
7                                              mind, a border patrol agents -- and, again,
                                               even though special cases, the only time that
8                                              we are going to release is if we are highly
                                               confident that it's a parent. Internal policy
9                                              shifts the – the custody determination. (Scott
10                                             Dep. 68:14-68:24).

11                                             Q: And was there anything else, other than
                                               that October 16 memo, that you can recall in
12                                             the past 12 months?
                                               A: After the August -- and, again, I'm going to
13                                             refer to my -- my declaration for the dates,
14                                             because I'm not that great with the dates. But
                                               after that court order in August 2015,
15                                             additional guidance – and that was issued by a
                                               memorandum -- went out. For example, that
16                                             Flores applied to all juveniles, not just
                                               unaccompanied. That changed some of our
17                                             processing so that we are issuing the I77
18                                             juvenile rights forms to all juveniles, not just
                                               unaccompanied. So there were memorandums
19                                             and guidance associated with that, both from
                                               headquarters and the local level. (Scott Dep.
20                                             76:11-76:25).
21                                             Q: Okay. So the best of your knowledge,
22                                             there's no field in the detention module for
                                               border patrol agents to enter in data about the
23                                             name, the contact information for the relative
                                               or the friend that the detainee planned to go to
24                                             if released from custody; is that correct?
                                               THE WITNESS: Correct. (Scott Dep. 91:17-
25
                                               91:24)….
26
                                               Q: And so in that way, I think it's fair to say
27                                             that unaccompanied juveniles are treated
                                               differently from accompanied juveniles. Is
28                                             that fair to say?
                                               THE WITNESS: For -- for processing and


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2                                              specific detention, yes, because if they're
                                               accompanied, we try to keep the family
3                                              together... (Scott Dep. 94:17-94:24).

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2            4.   FLORES CLASS MEMBER           TEDS 5.6 Detention
                CHILDREN ARE ROUTINELY          Detention – UAC and Juveniles: UAC must
3                                               be held separately from adult detainees. A
                COMMINGLED WITH UNRELATED
                                                juvenile may temporarily remain with a non-
4               ADULTS FOR EXTENDED PERIODS     parental adult family member where: 1) the
                OF TIME                         family relationship has been vetted to the
5                                               extent feasible, and 2) the CBP supervisor
6                                               determines that remaining with the non-
                                                parental adult family member is appropriate,
7                                               under the totality of the circumstances.

8                                               Deposition Excerpts of Class Member Mother
                                                Karina Vxxxx-xxxxxxx (Ex. 13):
9                                               Q: How many were in the room with you?
10                                              A: Many women. More than 50.
                                                Q: Were there more or less children than
11                                              women?
                                                A: Only women with children.
12                                              (Karina Vxxxx-xxxxxxx Dep. 23:17-23:22).
13                                              Deposition Excerpts of Assistant Field Office
14                                              Director, Enforcement Removal Operations,
                                                ICE, Valentin de la Garza, (Ex. 7):
15                                              Q. And can you tell us, in Dilley, are – are
                                                there any rules regarding the separation of
16                                              class members from unrelated adults, and if
                                                so, what are those rules?...
17                                              THE WITNESS: I don’t know if we’ve ever
18                                              separated anybody that’s a class member, sir.
                                                I don’t recall.
19                                              (De La Garza Dep. 47:5-47:11).

20                                              Q: Let me re—Let me repeat the question. At
                                                Dilley, is it correct that mothers and their
21                                              children are assigned sleeping quarters?
22                                              A. Yes. They are.
                                                Q. And in a typical sleeping quarters, how
23                                              many mothers and children may share that
                                                space.
24                                              A. It’s all dependent on the configuration of
                                                the family, sir. There’s different groups that
25
                                                we have here or there that we just don’t mix
26                                              certain age groups and sexes together. It’s all
                                                dependent on the configuration of the family.
27                                              But there’s 12 beds in –
                                                Q. Okay.
28                                              A. – each suite – in each suite. In essence, if
                                                you must speak hypothetically, if there’s one

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2                                              mother and one child and they fall within one
                                               of the groups, in the same groups, then we can
3                                              house up to 12 – I mean six mothers and six
                                               different children in one room.
4                                              Q. Okay. Most of the suites accommodate
                                               approximately 12 people?
5                                              A. There’s – They -- They can accommodate
6                                              up to 12 people, correct.
                                               ...
7                                              Q. And may adults enter the suites they have
                                               been assigned to at any time during the day?
8                                              A. If they’re assigned to a suite, they can –
                                               they can walk in and out of that suite at any
9                                              time of the day or night, sir.
10                                             Q. And if – if there are class members in that
                                               suite, may mothers assigned to that suite still
11                                             go in and out of the suite during the day.
                                               A. Yes.
12                                             Q. And if a class member was in a suite
                                               during the day, and an unrelated mother
13
                                               wishes to go into that suite during that – the
14                                             day, could she do so?
                                               A. If she’s assigned to that one, yes.
15                                             Q. And if a class member was in a suite
                                               during the day and an unrelated mother
16                                             wanted to go into that suite during the day,
                                               would she have to be accompanied by a staff
17
                                               member to do so?
18                                             A. It’s only assigned unrelated mothers, any
                                               room, can enter a suite. If its an unrelated
19                                             mother and its not assigned to that room, we
                                               ask them not to. We tell them not to. We’re –
20                                             the contractors tell them not to.
                                               Q. And how is that monitored?
21
                                               A. By the CCA staff member that’s assigned
22                                             to that neighborhood, or complex. ...
                                               Q. And how would – How do they monitor
23                                             that, is my question. In other words, do they
                                               sit on a chair outside each suite, or how to
24                                             they monitor who is going in and out of the
25                                             suites?
                                               A. That – That’s up to the resident supervisor
26                                             how they’re doing it, sir.
                                               Q. So you –
27                                             A. It –
                                               Q. – do not know how they’re doing it?
28                                             A. No, sir. I don’t. Not exactly.
                                               (De La Garza Dep. 53:11-55:25).

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                                               Q. And during the day when -- or in the
3                                              evening when class members are not in their
                                               suites, do they comingle with unrelated adults
4                                              in common areas of the facility? ...
                                               THE WITNESS: The common areas are open
5                                              to everybody, sir. They choose to. There’s
6                                              other members, and if there’s other families in
                                               there, then it’s possible.
7                                              (De La Garza Dep. 56:13-56:20).

8                                              Deposition Excerpt of Joshua Reid, Assistant
                                               Field Office Director, Enforcement and
9                                              Removal Operations, ICE, (Ex. 8):
10                                             Q: And when you have fathers there during
                                               the daytime, do they use common areas that
11                                             children may also use?
                                               A: Yes. As it's an open center that doesn't
12                                             restrict the movement of residents, yes,
                                               they use the common areas as the mothers and
13                                             children. (Reid Dep. 32:20-33:1).
14
                                               Q: To your knowledge, has ICE considered
15                                             segregating unrelated fathers from other
                                               children in the common areas at Berks, if you
16                                             know?
                                               A: I’m not aware of ICE considering that, no.
17                                             (Reid Dep. 33:6-33:10).
18
                                               “Two declarants (Celina and Karen) indicated
19                                             that detained men are commingled with
                                               detained mothers and children at BFRC. The
20                                             BFRC accommodates both male and female
                                               heads of households and their
21                                             children….male residents are permitted to
22                                             commingle with female residents within
                                               program areas….” [Doc. # 217-4, Dec. of
23                                             Joshua Reid Ex. 28, ¶ 17].

24                                             Deposition Excerpts of Paul Beeson, CBP,
                                               Chief Patrol Agent – Tucson Sector (Ex. 4):
25                                             Q: And do you recall what or are you aware
26                                             of what the Flores settlement states with
                                               regards to the segregation of minors from
27                                             unrelated adults in CBP custody?
                                               A: I think the intent is for us to keep them
28                                             completely separated unless it were like just
                                               not operationally feasible. (Beeson Dep.


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2                                              12:24-13:5).

3                                              Q: Okay. So to the best of your knowledge
                                               accompanied minors are held in one area with
4                                              their accompanying parents and
                                               unaccompanied minors are held in a different
5                                              area; is that correct? Different holding cell; is
6                                              that correct?
                                               A: That's my -- yes, I believe that's correct.
7                                              (Beeson Dep. 33:6-33:11).

8                                              UACs are separated from adults as quickly as
                                               operationally possible. For hold rooms
9                                              containing juveniles, the hold room doors are
10                                             generally left open to allow free movement.
                                               To maintain family unity, Border Patrol
11                                             normally tries to segregate families from the
                                               rest of the detained population. [Doc. # 209-3,
12                                             Dec. of Paul Beeson, Ex. 6, ¶ 21].
13                                             Deposition Excerpts of Phillip Miller, Deputy
14                                             Executive Associate Director of Field
                                               Operations, Enforcement and Removal
15                                             Operations, (Ex. 9):
                                               Q: And those fathers and mothers at your
16                                             facility are commingled with -- with children
                                               detained at that facility; is that correct?
17                                             A: Yes.
18                                             Q: And does that raise any concerns with you
                                               or with the agency?
19                                             THE WITNESS: No. (Miller Dep. 71:5-
                                               71:14).
20
                                               Q: How about at the other two facilities, in
21                                             Dilley and Karnes, their children are also
22                                             coming over with unrelated adults; is that
                                               correct?
23                                             A: Yes. (Miller Dep. 71:16-71:20).

24                                             Q: And why is it that your agency does not
                                               detain fathers who are accompanying their
25                                             children when apprehended?
26                                             THE WITNESS: We don't have the capacity
                                               to do it at this time. (Miller Dep. 72:16-
27                                             72:24).

28                                             Q. Are you aware whether or not the Flores
                                               settlement requires that when a minor is


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1
2                                              placed in such a detention facility, a secure
                                               detention facility, that facility must have
3                                              separate accommodations for minors?
                                               A. No.
4                                              (Miller Dep. 101:4-101:10).
5                                              Q: Can you explain the criteria of age to us?
6                                              A. Sure. Some families have children that are
                                               -- you know -- that are older than 17. Some
7                                              families -- you know, it's like -- there is no
                                               standard definition, at least for us and what
8                                              comprises a family. So we have to look, you
                                               know, at the age of the children relative to,
9                                              you know, what's readily available; you
10                                             know, whether the family unit is comprised of
                                               children that are, you know, of majority under
11                                             the INA or deemed juvenile. So it's a little bit
                                               -- you know, we try to keep family units
12                                             together. And so we'll look at kind of the
                                               totality of the circumstances of -- of that
13                                             individual family unit and does that individual
14                                             family unit's profile, taking into account those
                                               six -- and I believe there's probably others, I
15                                             don't have the -- I don't have the screening
                                               tool in front of me -- but they -- you know --
16                                             they try to look at the totality of the family
                                               composition and whether or not their needs
17
                                               can be met before we make a determination
18                                             on placement. (Miller Dep. 135:6-136:11).

19                                             Deposition Excerpts of Attorney Jacqueline
                                               Kline (Ex. 25):
20                                             A: At Berks, the families are several families
                                               to a room. I think it’s, I don’t know,
21
                                               somewhere between three and six families in
22                                             a room. So you have children with unrelated
                                               adults and unrelated children together in a
23                                             room. Particularly when they have male
                                               detainees, you have mixed male and female
24                                             children in rooms with other unrelated adult
                                               males. (Kline Dep. 70:16-70:24).
25
26                                             A: I think the – you could have – I mean the
                                               rooms should be more – like, the families,
27                                             only those families, in rooms together. More
                                               like – I mean, you can have residential
28                                             facilities set up more as suites or something
                                               where it’s just your family and that you’re not

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2                                              in with other unrelated adults or children.
                                               (Kline Dep. 72:4-72:11).
3
                                               Declaration Excerpt of attorney Bridget
4                                              Cambria:
                                               Children remain detained at the BCRC with
5                                              their adult parents. Children remain detained
6                                              with unrelated adults, yet another violation of
                                               State law and the terms of the Flores
7                                              Settlement. [Doc. # 201-1 at 103, Dec. of
                                               Bridget Cambria Ex. 3, ¶ 9].
8
                                               Declaration of Attorney Peter Schey:
9                                              And all children end up detained in
10                                             Defendants unlicensed or secure facilities
                                               commingled with unrelated adults.
11                                             [Doc. # 201-1 at 1, Dec. of Peter Schey Ex. 1,
                                               ¶ 9].
12
                                               Deposition Excerpt of Attorney Robyn
13                                             Barnard (Plaintiff’s Ex. xx)
14                                             Q. Do the class members during the day
                                               commingle -- are they commingled with both
15                                             adult males and females?
                                               A. Yes, they are, to my knowledge.
16                                             (Barnard Dep. 65:13-65:16).
17                                             “It should also be noted that many class
18                                             members are still detained in secure lock-
                                               down facilities with unrelated adults for
19                                             weeks or months on end even if the claimed
                                               “average” detention is about twenty days.”
20                                             [Doc. # 201-1 at 176, Dec. of Robyn Barnard
                                               Ex. 12, ¶ 18].
21
22                                             Deposition Excerpts Class Member’s mother
                                               Sara Exxxxxxxx xxxxx (Ex. 17):
23                                             Sara Exxxxxxxx xxxxx was detained by CBP
                                               for approximately 76 hours. See Ex. 16,
24                                             Strange Dec. Ex. L, Doc. #214-2.
                                               Q: And can you estimate about how many
25                                             other people were in that room with you?
26                                             A: Around 20 moms with their kids.
                                               Q: Okay. Is that 20 people total or 20 moms?
27                                             A: No, 20 moms plus their children.
                                               (Sara Exxxxxxxx xxxxx Dep. 20:16-20:20).
28
                                               Deposition Excerpts Class Member Yeslin


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1
2                                              Lxxxx xxxxxxx (Ex. 18):
                                               Yeslin Lxxxx xxxxxxx was detained by CBP
3                                              for approximately 74 hours. See Ex. 16,
                                               Strange Dec. Ex. K, Doc. #214-2.
4                                              Q: And who else was in that room with you?
                                               A: There were enough people/
5                                              Q: Were there other children in that room
6                                              with you?
                                               A: They were a lot of kids and a lot of moms
7                                              also.
                                               (Yeslin Lxxxx xxxxxxx Dep. 16:19-16:25).
8
                                               Declaration of Karen Zxxxxx xxxxxx, Class
9                                              Member Mother:
10                                             “Detained men here are comingled with
                                               detained mothers and children and this
11                                             makes the children and woman very
                                               uncomfortable.” Declaration of Karen
12                                             Zxxxxx xxxxxx, Doc. # 201-5 Ex. 39 ¶23.
13                                             Declaration of Amarilis Lxxxxxx xxxxx,
14                                             Class Member Mother:
                                               It is very disturbing for my child to be
15                                             detained here with several hundred unrelated
                                               adults. He is becoming more and more
16                                             depressed and anxious the longer we are in
                                               this detention center unsure of our future and
17                                             detained with hundreds of unrelated adults.
18                                             Doc. # 201-5 Ex. 44 ¶10. (2/3/16).
                                               Declaration of Raquel Axxxxx xxxxxx, Class
19                                             Member Mother: We are detained with
                                               hundreds of other unrelated women and their
20                                             children. Many people must share rooms and
                                               many of the children are sick because of the
21
                                               close quarters we share. Declaration of
22                                             Raquel Axxxxx xxxxxx, Doc. # 201-5 Ex. 26
                                               ¶ 11.
23
                                               Declaration of Volunteer Advocate (non-
24                                             attorney) with the CARA project, Alex
                                               Mensing: The room was about 3 meters wide
25
                                               by 4 or 5 meters long. There were about 18
26                                             people inside. There were babies as young as
                                               1 and a half years old. The babies cried
27                                             continuously. They kept loading in more and
                                               more women with children. There wasn't
28                                             enough space to sleep because we didn't fit.
                                               Exhibit Y ¶4, Doc. # 201-4 Ex. 19 (11/13/15)

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1
2
                                                   Declaration of Alex Mensing: I was with my
3                                                  two kids and some other people… There were
                                                   a lot of people. There were people who slept
4                                                  standing up. Even a woman who was 8
                                                   months pregnant with swollen legs slept
5                                                  standing up. Exhibit R, Doc. # 201-4 Ex. 19
6                                                  (11/9/15)

7                                                  Declaration of Maria Dxxxx xxxxxxx,
                                                   Class Member Mother:There were many
8                                                  people, maybe forty people in the cell, all
                                                   mothers with children. Doc. # 201-5 Ex.
9                                                  32 ¶ 6 (4/23/16)
10
                                                   Declaration of Karen Zxxxxx xxxxxx, Class
11                                                 Member Mother: Detained men here are
                                                   comingled with detained mothers and children
12                                                 and this makes the children and woman very
                                                   uncomfortable. (5/1/16), Doc. # 201-5 Ex. 39
13                                                 ¶23.
14
                                                   Declaration of Class Member, Victor Rxxxxx
15                                                 xxxxxxx (15 yrs old): I felt very depressed at
                                                   Karnes. It was very distressing and
16                                                 embarrassing being detained with a large
                                                   number of unrelated adults…Like at Karnes,
17                                                 it is very disturbing to be detained with other
18                                                 unrelated adults. Here both adult men and
                                                   women are detained with unrelated minors.
19                                                 This does not feel like a safe situation. Doc. #
                                                   201-5 Ex. 21 ¶¶ 8, 16 (4/23/16)
20
                                                   Declaration of Alex Mensing:
21                                                 On the plane, we were mixed in with
22                                                 men… There were men who were
                                                   handcuffed at the feet and at the wrist. We
23                                                 were really uncomfortable. We didn’t
                                                   know what class of person they were. We
24                                                 worried about what these men could do.
                                                   Instead of having a relaxing trip, we
25                                                 wondered what would happen. We were
26                                                 worried the whole time. Exhibit GG, Doc.
                                                   # 201-3 Ex. 19 ¶ 14 (11/13/15)
27

28



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1
2              5.   DEFENDANTS DETAIN CLASS         Deposition Excerpts of Class Member Mother
                    MEMBERS IN SECURE ICE           Celina Sxxxxxx-xxxx (Ex. 11):
3                                                   “The prolonged detention is having a terrible
                  FACILITIES FOR LONG PERIODS OF
                                                    effect on my son. He cries, kicks things,
4                 TIME AND DO NOT MAKE RELEASE      throws things or himself on the floor….He
                  AVAILABLE AS EXEDITIOUSLY AS      has always been a good child, but now he is
5                 POSSIBLE OR WITHOUT               becoming aggressive with me. He has begun
6                 UNECCESARAY DELAY.                to bite me. He throws himself on the
                                                    ground….When my son acts out the staff get
7                                                   angry and they make faces and negative
                                                    comments.” [Doc. # 201-5 at 849, Dec. of
8                                                   Celina Sxxxxxx-xxxx Ex. 28, ¶ 17].
9                                                   Deposition of Joshua Reid, Assistant Field
10                                                  Office Director at Berks Family Residential
                                                    Center (Ex. 8):
11                                                  Q: Would processing be speeded up or
                                                    slowed down if you had additional ICE
12                                                  officers assigned to Berks?
13                                                  THE WITNESS: Our officers are
                                                    processing things in a quick manner to
14                                                  begin with, so I think were at adequate staff
                                                    to process things quickly and efficiently.
15                                                  (Reid Dep. 10:18-10:25).
16
                                                    Q: …Let’s just say approximately, what is
17                                                  the longest held child that you have at Berks
                                                    at the present time? Approximately….
18                                                  A: Approximately, I would say probably
                                                    about 13 months. (Reid Dep. 37:24-38:16).
19

20                                                  Q: Okay. And at the present time,
                                                    approximately how many children have
21                                                  been held at Berks for more than six
                                                    months? I realize you don't have the exact
22                                                  number, but I'm just saying your best
23                                                  estimate based on your function at the
                                                    facility?
24                                                  A: I would have to review the custody
                                                    information. I don't want to even give you
25                                                  an approximate on that. There's several, but
26                                                  a number I don't know. (Reid Dep. 38:14-
                                                    38:22).
27
                                                    Q: Have you attempted to determine how
28                                                  long the longest held children and mothers
                                                    have been at Berks as a result of stays

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1
2                                                  issued by an immigration judge or the
                                                   Board of Immigration Appeals or a federal
3                                                  court? …
                                                   THE WITNESS: I would need to look at
4                                                  their cases to determine that. Have I
5                                                  specifically attempted to determine that?
                                                   No. (Reid Dep. 42:16-42:24).
6
                                                   Q: Mr. Reid, when the detainees at Berks,
7                                                  or any other detainees are apprehended,
                                                   based on your experience as an ICE officer,
8
                                                   where is the date of apprehension recorded?
9                                                  A: Date of apprehension would be in
                                                   EARM.
10                                                 ….
                                                   Q: And generally, am I correct that the time
11
                                                   of apprehension is recorded?
12                                                 A: I'm not sure, to be honest with you, sir,
                                                   in EARM if that is recorded. There is a
13                                                 processing system that I forgot to mention.
                                                   It's EAGLE. I don't know what the full
14
                                                   acronym stands for. But I believe the
15                                                 apprehension time would be recorded in
                                                   EAGLE. (Reid Dep. 62:8-62:24).
16
                                                   Deposition Excerpts of Juanita Hester,
17                                                 Assistant Field Office Director at Karnes
18                                                 Residential Facility (Ex. 6):
                                                   Q. It's always a goal to reduce detention time,
19                                                 if somebody has a remedy available to them
                                                   in the United States; is that fair to say?
20                                                 THE WITNESS: At Karnes, we don't want
                                                   somebody in our custody if they have relief
21                                                 available and they're able to be released.
22                                                 We're going to make every effort to have that
                                                   happen as soon as possible.
23                                                 (Hester Dec. 21:25-22:7).

24                                                 A. The report shows who's been in custody 15
                                                   days or more at the Karnes facility.
25                                                 Q. And does it have a tabulation to say that
26                                                 there's this many people or that many people
                                                   who've been here for 15 days or more, or is it
27                                                 just -- each individual is listed so you could
                                                   tell if they've been there for 15 days or more?
28                                                 A. There's no tabulation. It's just a list.
                                                   Q. It's -- It's a list of individuals; is that


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1
2                                                  correct?
                                                   A. It is a list of heads of household.
3                                                  Q. Does it also list their children or just the
                                                   heads of the household?
4                                                  A. The report only lists the heads of
                                                   household, the mothers.
5                                                  (Hester Dec. 28:2-28:16).
6
                                                   THE WITNESS: If they claim credible fear,
7                                                  then they go in front of Asylum. But if they
                                                   don't claim fear, they're a final order of
8                                                  removal, and we will process them and have
                                                   them returned to their country as soon as
9                                                  possible. (Hester Dec. 71:13-71:17).
10
                                                   Q. Okay. And if -- And -- And so, is it -- Are
11                                                 -- Are you saying that it is part of your goal to
                                                   have that population down to the lowest
12                                                 number possible? Would that be fair to say,
                                                   that that's part of the objective of ICE units?
13                                                 ...
14                                                 THE WITNESS: No. As I stated earlier, it's --
                                                   it's for us to be -- to be able to look at and --
15                                                 and look at cases, and what I consider, you
                                                   know, somebody in 15 -- 15 days in custody
16                                                 or more.
                                                   (Hester Dec. 86:6-86:15).
17
18                                                 Deposition Excerpts of Class Member
                                                   Franklin Rxxxx xxxxxxxxx (Ex. 12):
19                                                 Q: So the last place you were at was the
                                                   Karnes facility.
20                                                 A: Yes.
                                                   Q: And how long were you there again?
21                                                 A: Like, around 15 days.
22                                                 (Franklin Rxxxx xxxxxxxxx Dep. 33:16-
                                                   33:20).
23
                                                   Q: I have a question about your declaration.
24                                                 In paragraph 14, regarding the last sentence, it
                                                   says: "I think the only reason I have been
25                                                 treated so inhumanely is so the U.S.
26                                                 immigration authorities can use me and other
                                                   detained minors as an example to convince
27                                                 other young people facing violence and even
                                                   death in El Salvador to stay home, deal with
28                                                 the violence, risk death, but don’t come here
                                                   for protection.” What made you think that?


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1
2                                                  A: Because of the reason that there were some
                                                   of the minors that they were detained for over
3                                                  a month.
                                                   (Franklin Rxxxx xxxxxxxxx Dep. 36:17-
4                                                  37:5).
5                                                  Q: Was there any other reason?
6                                                  A: Because also by being there for a month or
                                                   such a long time will make you go back to
7                                                  your country and not be there for that long
                                                   time.
8                                                  (Franklin Rxxxx xxxxxxxxx Dep. 37:14-
                                                   37:17).
9

10                                                 Deposition Excerpt of Mario Martinez, Chief
                                                   Patrol Agent of Border Patrol in Laredo sector
11                                                 (Ex. 5):
                                                   Q: Yeah. Let's say if you have -- let's say for
12                                                 unaccompanied minors first?
                                                   A. So -- so for minors it's normally there are
13                                                 from arrests to placement is within 24 hours.
14                                                 (Martinez Dep. 42:21-42:24).

15                                                 Q. How about family units, do you have that
                                                   data? Have you seen any reports about
16                                                 average length of stay of family units in one
                                                   of your stations or all of your stations?
17                                                 A. That's correct. And so that data will tell me
18                                                 that -- that they do not exceed over 48 hours
                                                   in being placed.
19                                                 (Martinez Dep. 43:22-44:3).

20                                                 Deposition Excerpts of Juanita Hester,
                                                   Assistant Field Office Director at Karnes
21                                                 Residential Facility (Ex. 6):
22                                                 Q. Did the -- Were any additional ICE agents
                                                   assigned to Karnes around September or
23                                                 October or November 2015 in order to
                                                   decrease the average length of detention of
24                                                 detainees?
                                                   A. Karnes has always had detailed staff
25                                                 assisting us, from the -- the very beginning
26                                                 when they turned into a Family Residential
                                                   Center in August of 2014.
27                                                 (Hester Dep. 12:16-12:22).

28                                                 Q. At any time from November 2014 to the
                                                   present, has the number of ICE agents


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1
2                                                  assigned to Karnes increased?
                                                   A. Yes. ICE agents, the -- the number of staff
3                                                  assigned to Karnes has increased.
                                                   (Hester Dep. 15:13-15:16).
4
                                                   THE WITNESS: The resident, or the family
5                                                  unit, if they get a positive credible fear
6                                                  finding or a positive reasonable fear finding,
                                                   and a notice to appear has been issued by
7                                                  Citizenship and Immigration Services, then
                                                   we release them on an order of recognizance
8                                                  or parole, depending on what case that may
                                                   be.
9                                                  (Hester Dep. 66:8-66:13).
10
                                                   Deposition Excerpt Dilley Assistant Field
11                                                 Office Director, Enforcement and Removal
                                                   Operations, ICE, Valentin de la Garza, (Ex.
12                                                 7):
                                                   Q. Okay. So the more agents you have there,
13                                                 the faster you'd get things done; is that fair to
14                                                 say? …
                                                   THE WITNESS: That's hard to say, I mean,
15                                                 but in a real -- in the real world -- or in a
                                                   perfect world, yes. If each individual --
16                                                 (De La Garza Dep. 9:8-9:13).
17                                                 Deposition Excerpt of Attorney Robyn
18                                                 Barnard (Ex. 23):
                                                   A. I was going to say that since October 23
19                                                 2015, the only thing I can say based on my
                                                   experience at the Berks Detention Center that
20                                                 has changed obviously is the length of
                                                   detention of families at the facility has risen
21                                                 dramatically, which I believe Judge Gee's
22                                                 order called for the opposite, that families
                                                   should be released from detention more
23                                                 expeditiously. But I have not been provided
                                                   any documentation outlining Immigration and
24                                                 Customs Enforcement to comply with Judge
                                                   Gee's order.
25
                                                   (Barnard Dep. 61:22-62:8).
26
                                                   A. As far as I recall, the other three families
27                                                 have all been in immigration detention for
                                                   approximately four to six months at least. [in
28                                                 reference to families she previously
                                                   represented at Berks]


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1
2                                                  (Barnard Dep. 68:25-69:3).

3                                                  Declaration of CARA Project attorney Ana
                                                   Camila Colon, (explaining that delays in the
4                                                  conducting of reasonable fear interviews
                                                   result in prolonged detention for class
5
                                                   members: “One case I worked [on] in
6                                                  November 2015 for the Flores class
                                                   members from El Salvador waited 16 days
7                                                  for the reasonable fear interview. Another
                                                   case I worked on in February 2016 for the
8
                                                   Flores class members from Guatemala
9                                                  waited 19 days for the reasonable fear
                                                   interview. A more recent case I worked on
10                                                 March 2016 for the Flores class members
                                                   from El Salvador waited 20 days for the
11
                                                   reasonable fear interview.” (Doc. # 201-6
12                                                 Ex. 64 ¶7).

13                                                 Declaration of Lindsay Harris:
                                                   As a result of my work with the CARA Pro
14                                                 Bono Project, I am aware of many more
15                                                 cases of families held in immigration
                                                   detention centers who were not released
16                                                 “without unnecessary delay.” Indeed, during
                                                   my February 2016 visit to the Berks County
17                                                 Family Residential Center, all of the
18                                                 families with whom I met had been detained
                                                   for more than four months. (Doc. # 201-2
19                                                 Ex. 14, ¶5).
20                                                 Declaration of Carol Anne Donohoe:
21                                                 There are several class members and
                                                   mothers who have now been detained for
22                                                 over eight (8) months. Most of the other
                                                   class members have been detained for
23                                                 several months and cannot be deported
24                                                 because of stays issued by the courts,
                                                   Immigration Judges, or the Board of
25                                                 Immigration Appeals. (Doc. # 201-1 Ex. 4
                                                   ¶14).
26
                                                   Declaration of Attorney Kathryn Shepherd:
27
                                                   In the hundreds of families I have
28                                                 represented detained at Dilley since October
                                                   2015, when I started volunteering in the
                                                   detention center, I have never seen a family

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1
2                                                  released in less than five days. Indeed, since
                                                   the October 23, 2015 date for the
3                                                  government to comply with the Judge’s
                                                   August orders in Flores, according to
4                                                  CARA Project records, we have represented
5                                                  over 6,500 Class member children who
                                                   have been held in detention for at least five
6                                                  days or longer. … I have routinely seen
                                                   cases in which class members/parents are
7                                                  detained for longer than 20 days from
8                                                  apprehension to release. In those cases, we
                                                   have Class member children and their
9                                                  mothers who have been held in detention in
                                                   Dilley for months. More often, however,
10                                                 families in this position are transferred at
11                                                 some point to the detention center in Berks
                                                   County, Pennsylvania, and their detention
12                                                 continues there instead of at Dilley. At any
                                                   one time, we are usually working with
13                                                 around 150 families who have been
14                                                 detained for longer than 20 days. (Doc. #
                                                   201-6 Ex. 69 ¶26).
15
                                                   Deposition Excerpts Class Member’s mother
16                                                 Sara Exxxxxxxx xxxxx (Ex. 17):
                                                    A: I was already in detention. I had been
17                                                 there for about a month and a half.
18                                                 Q: Which place?
                                                   A: In Karnes.
19                                                 (Sara Exxxxxxxx xxxxx 32:12-32:15).

20                                                 I was brought to Karnes with my daughter on
                                                   or about Thursday, December 17, 2015. We
21                                                 have now been detained here for a month and
22                                                 a half. [Doc. # 201-5 at 837, Dec. of Sara
                                                   Exxxxxxxx xxxxx Ex. 24,, ¶ 9].
23
                                                   Deposition Excerpts Class Member Yeslin
24                                                 Lxxxx xxxxxxx (Ex. 18):
                                                   I was in Dilley about 20 days. Again, no
25                                                 official asked me about being released to my
26                                                 dad. No one told me I could see a judge about
                                                   being released to my dad. [Doc. # 201-5 at
27                                                 834, Dec. of Yeslin Lxxxx xxxxxxx Ex. 23, ¶
                                                   11].
28



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1
2              A.  Defendants do not evaluate on       TEDS Manual, 4.3 General Detention
                   an individual basis whether         Procedures, Safety and Security Reporting:
3                                                      During shift change officers/agents must
                   class members pose a
                                                       convey all known information of
4                  "substantial flight risk" ("a       vulnerabilities, escape risks, criminal
                   serious risk that the minor will    background or involvement, and/or violence
5                  attempt to escape") before          to oncoming officers/agents.
6                  deciding to detain
                   accompanied minors.                 Deposition Excerpts of Phillip Miller, Deputy
7                                                      Executive Associate Director for Enforcement
                                                       and Removal Operations, ICE, (Ex. 9):
8                                                      “Q. Are you aware of any written instructions
                                                       issued to ICE officers, and, if so, please
9                                                      identify those instructions, that explains to
10                                                     them what the term escape risk means in the
                                                       Flores settlement?
11                                                     A. No. Q. Are you aware of any in-person
                                                       training about that?
12                                                     A. About defining terms from Flores?
                                                       Q. Explaining to the officers what the term
13                                                     escape risk means under the Flores settlement,
14                                                     are you aware of any in-person
                                                       training on that question?
15                                                     A. No. Q. Do you recall what the -- or how
                                                       the term escape risk is -- is defined in -- in the
16                                                     Flores settlement in general? A. No.” (Miller
                                                       Dep. 101:22-102:19).
17
18                                                     Deposition Excerpts of Juanita Hester,
                                                       Assistant Field Office Director at Karnes
19                                                     Residential Facility (Ex. 6):
                                                       Q. Okay. And are you aware of whether
20                                                     agents working at Karnes have received any
                                                       training on the definition of an escape risk
21
                                                       under the Flores Settlement, the 1997
22                                                     Settlement? …
                                                       THE WITNESS: I'm not aware.
23                                                     Q. And have you yourself -- Do -- Do you
                                                       recall receiving any training about what it
24                                                     means to be an escape risk under the terms of
                                                       the Flores Settlement? And if so, when did
25
                                                       you get that training, and who gave it to you?
26                                                     …
                                                       THE WITNESS: I'm unaware. I -- I'm not
27                                                     able to answer that question.
                                                       (Hester Dep. 76:1-14).
28
                                                       Deposition Excerpt Dilley Assistant Field

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1
2                                                  Office Director, Enforcement and Removal
                                                   Operations, ICE, Valentin de la Garzaof
3                                                  Valentin de la Garza, (Ex. 7):
                                                   Q. And it is your testimony that -- Or is it
4                                                  your testimony that, during the previous 12
                                                   months, no mother has ever been determined
5                                                  to be a flight risk or a danger to herself or
6                                                  others once they were approved on their fear
                                                   claim? …
7                                                  THE WITNESS: To my recollection yes, sir.
                                                   Everybody that's pretty much gotten a
8                                                  positive credible fear findings have been --
                                                   have been redetermined, and they -- they've
9                                                  been released and gotten a redetermination in
10                                                 front of an immigration judge that would
                                                   release them on a -- on a order of
11                                                 recognizance with an alternative detention,
                                                   monitor --
12                                                 (De La Garza Dep. 61:17-62:4).
13                                                 Q. Have ICE agents working at Dilley during
14                                                 the past 12 months been provided with any
                                                   training or direction or instructions regarding
15                                                 the assessment of escape risks under
                                                   paragraph 22 of the settlement, and if so,
16                                                 when was such training, guidance, or
                                                   instructions provided to those agents? …
17
                                                   THE WITNESS: No. I don't know.
18                                                 (De La Garza Dep. 49:7-14).

19                                                 Deposition Excerpts of Mario Martinez, Chief
                                                   Patrol Agent of Border Patrol in Laredo sector
20                                                 (Ex. 5):
                                                   Q. Are you aware of how the Flores
21
                                                   settlement describes a flight risk for a minor?
22                                                 A. Vaguely.
                                                   (Martinez Dep. 71:16-18).
23
                                                   Declaration of Carol Anne Donohoe:
24                                                 Class member children at Berks are detained
                                                   for weeks or months on end and denied parole
25
                                                   requests, even with stays of deportation and
26                                                 diagnosed illnesses, and not because they are
                                                   a flight risk or a danger to themselves or
27                                                 others. (Declaration of Carol Anne Donohoe,
                                                   Doc. # 201-1 Ex. 4 ¶12).
28
                                                   Declaration of Class Member Mother,

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1
2                                                  Raquel Axxxxx xxxxxx:
                                                   My daughter is not a flight risk, a danger to
3                                                  herself or others, or are juvenile delinquent,
                                                   yet not one official has talked to me in the
4                                                  past month and a half to explore whether
5                                                  my daughter can or should be released to a
                                                   family member or family friend.
6                                                  (Declaration of Raquel Axxxxx xxxxxx,
                                                   Doc. # 201-5, Ex. 26, ¶¶ 11-12).
7
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1
2              B.  Defendants detain class           Deposition Excerpts of Class Member mother
                   members solely because            Lindsay Gxxxx xxxxx (Ex. 14):
3                                                    Q: Did any guard verbally threaten you
                   defendants have placed the
                                                     personally?
4                  children in expedited removal     A: No. They only wanted me to sign
                   proceedings even though           deportation. They took me out of the cell.
5                  orders of expedited removal       They will put the papers here, and they will
6                  are statutorily not final and     ask me, "Sign, sign." And I said, "No." And I
                   executable until class members    told them, "I'm not going to sign because if I
7                                                    go to my country, I'll die." (Lindsay Gxxxx
                   have been provided a credible
                                                     xxxxx Dep. 30:8-30:13).
8                  or reasonable fear interview,
                   have received a decision, and     Declaration of Assistant Field Office
9                  have received a decision on any   Director of Enforcement and Removal
10                 appeals taken to an               Operations, San Antonio Field Office, ICE,
                   Immigration Judge, all matters    Juanita Hester, Ex. 21, ¶ 13
11                 that may take several weeks or    “At the time of their detention at STFRC,
                   months.                           the declarants above were in expedited
12
                                                     removal proceedings and subject to
13                                                   mandatory detention. Many individuals
                                                     detained at a FRC are not eligible for bond.
14                                                   For example, individuals who are processed
                                                     as reinstatements of previously-issued final
15                                                   orders of removal or as arriving aliens are
16                                                   not eligible for a bond hearing before an
                                                     immigration judge. For individuals in the
17                                                   expedited removal process, detention is
                                                     mandatory unless the individual is
18                                                   determined to possess a credible fear remain
19                                                   in the expedited removal process and are
                                                     generally detained until removal.”
20                                                   [Doc. # 216-1, Declaration of Juanita
                                                     Hester, Ex. 21, ¶ 13].
21
22                                                   Deposition Excerpts of Attorney Edward
                                                     McCarthy (Plaintiff’s Ex. 24):
23                                                   A: From my understanding this is a
                                                     discretionary determination made by ICE to
24                                                   detain these individuals. ICE has the
                                                     discretion to release them, but it chooses not
25                                                   to do so. (McCarthy Dep. 66:12-66:15).
26
                                                     Deposition Excerpts of Joshua Reid, Assistant
27                                                   Field Office Director for Berks Residential
                                                     Facility (Plaintiff’s Ex. xx):
28                                                   A: Well, the memorandum states if an alien
                                                     falls within the priorities, depending on the


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1
2                                                     level, ICE should typically pursue
                                                      apprehension, detention and removal unless
3                                                     there’s exceptional or compelling
                                                      circumstances against other or alien
4                                                     demonstrates they’re eligible for some form
                                                      of relief removal, either asylum or some other
5                                                     forms. (Reid Dep. 16:18-16:24).
6
                                                      Declaration Excerpt of Valentin de la Garza,
7                                                     Dilley Supervisor:
                                                      For individuals in the expedited removal
8                                                     process, detention is mandatory unless the
                                                      individual is determined to possess a credible
9                                                     fear remain in the expedited removal process
10                                                    and are generally detained until removal.
                                                      Doc. # 216-1, Dec. of Valentin de la Garza,
11                                                    Ex. 21, ¶ 13.

12                                                    Deposition Excerpts of attorney Robyn
                                                      Barnard (Ex. 23):
13
                                                      A. The only time I've had any discussion
14                                                    with Immigration and Customs
                                                      Enforcement officers who are giving me
15                                                    reasons for why either the parent or child
                                                      who are detained at Berks Detention Center
16
                                                      are not being released, they will solely say
17                                                    generally that it's because they're not
                                                      eligible for release, and by that I understand
18                                                    that they mean that the parent and child had
                                                      been entered into expedited removal and
19
                                                      were not eligible under the laws that apply
20                                                    to expedited removal and both were entered
                                                      in that proceeding to be released from
21                                                    detention because of their negative or
                                                      credible or reasonable fear interviews.
22
                                                      (Barnard Dep. 63:14-64:2).
23             6.   FLORES CLASS MEMBER
                  CHILDREN ARE ROUTINELY
24
                  DETAINED FOR WEEKS OR
25                MONTHS IN SECURE FACILITIES

26
27

28



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1
2              A.  Defendants facilities are not             TEDS Manual, 5.6 Detention Least
                   "non-secure" nor are their                Restrictive Setting: Officers/Agents will place
3                                                            each at-risk detainee in the least restrictive
                   facilities the "least restrictive
                                                             setting appropriate to their age and special
4                  setting appropriate for the               needs, provided that such setting is consistent
                   minors age"                               with the need to ensure the safety and security
5                                                            of the detainee and that of others.
6
                                                             Deposition Excerpts of Joshua Reid, Assistant
7                                                            Field Office Director for Berks Residential
                                                             Facility (Plaintiff’s 8.):
8                                                            Q: Are the residents informed that if they
                                                             walk away without supervision and
9                                                            authorization they may be considered a
10                                                           fugitive and arrested by ICE officers? Are
                                                             they informed of that?
11                                                           A: When residents are admitted to the center
                                                             they are given a handbook and that book
12                                                           details what are the potential offenses, and
                                                             one of them is leaving the center without
13                                                           authorization. (Reid Dep. 26:19-27:1).
14
                                                             Q: Is there anything among the list of rights of
15                                                           detainees that tells them that they have the
                                                             right to leave the facility?
16                                                           A: No. (Reid Dep. 28:10-28:13).
17                                                           A: When residents are apprehended, whether
18                                                           it be CBP or inspections, they are turned over
                                                             to ICE. And when it's families they are going
19                                                           to be housed at a family residential center, but
                                                             they are advised they are in custody. And like
20                                                           I stated in my declaration, if they would like
                                                             to leave the center they would need
21                                                           permission. (Reid Dep. 23:11-23:17).
22
                                                             THE WITNESS: No. I can’t recall that they
23                                                           were allowed to leave without supervision by
                                                             Berks counselors. (Reid Dep. 24:20-24:22).
24
                                                             THE WITNESS: I’m not aware of any time a
25                                                           resident was allowed to leave the center
26                                                           without authorization, no.
                                                             (Reid Dep. 25:4-25:6).
27
                                                             Deposition Excerpt of Attorney Bridget
28                                                           Cambria (Plaintiff’s Ex. xx):
                                                             Q. What trauma are they experiencing at


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1
2                                                  Berks?
                                                   A. There's no -- there's no freedom to leave.
3                                                  There's no ability to reunify with their whole
                                                   families. There's no control over themselves
4                                                  or their own bodies. They don't get to decide
                                                   what they eat. They don't get to decide what
5                                                  they wear. Their parents can't be their parents.
6                                                  You know, the facility is the one that provides
                                                   the rules. They don't know whether they're
7                                                  going to leave the facility in freedom. They
                                                   don't know if they're going to be deported.
8                                                  They watch families being pulled out of bed
                                                   at three in the morning, screaming and crying,
9                                                  being sent to a place where they believe
10                                                 they're going to die. So the constant
                                                   unknowing of whether they're going to be
11                                                 okay or they're not going to be okay is what
                                                   makes these kids suffer all of these things.
12                                                 And that's just what I see. It's my opinion.
                                                   (Cambria Dep. 68:8-69:4).
13
14                                                 Deposition Excerpts of Attorney Edward
                                                   McCarthy (Plaintiff’s Ex.24):
15                                                 Q: Did it appear to you that the children were
                                                   – that the location where children were held, I
16                                                 guess, along with adults, were those locations
                                                   locked?
17
                                                   A: Yes. (McCarthy Dep. 48:10-48:14).
18
                                                   Deposition Excerpts of Attorney Jacqueline
19                                                 Kline (Plaintiff’s Ex. 25):
                                                   Q: Okay. And prior to 2014 -- can you
20                                                 explain to me a little bit, what would happen
                                                   prior to 2014?
21
                                                   A: In our experience, prior to 2014 – well,
22                                                 Berks was the only facility in the entire
                                                   country for family detention. And the people
23                                                 who were detained there, it was for a few
                                                   weeks, maybe, while they contacted their
24                                                 family. And – or, I mean, I guess there are
                                                   cases where they didn’t actually have any
25
                                                   family and a church organization would come
26                                                 in, something like that. And then what we
                                                   started to see in the summer of 2014 was that
27                                                 the families were being detained and not
                                                   being released, and then also these facilities in
28                                                 Dilley and Karnes were built and open to
                                                   detain families…. (Kline Dep. 55:25-56:14).

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1
2
3                                                  Declaration of Attorney Jodilyn
                                                   Goodwin, Doc. # 201-6 Ex. 65 ¶12
4                                                  (explaining that based on her extensive
                                                   experience representing immigrants in
5                                                  South Texas, “I do not perceive any
6                                                  difference between the families of
                                                   mothers and children released after
7                                                  processing at the border, who have
                                                   interacted with our volunteer attorneys,
8                                                  and the families sent to the family
                                                   immigration detention centers. Based on
9                                                  information that I have received from the
10                                                 press, DHS statements and statistics and
                                                   my conversations with immigration
11                                                 attorneys around the country, including
                                                   AILA attorneys who volunteer at the
12                                                 family immigration detention centers, the
                                                   families of mothers and children sent to
13                                                 immigration detention centers are almost
14                                                 all Central American families seeking
                                                   asylum. The vast majority are
15                                                 apprehended shortly after crossing into
                                                   the United States, although some families
16                                                 presented themselves to immigration
                                                   officials before crossing into the United
17                                                 States. The families released at the
18                                                 border and those held in family detention
                                                   appear to be very similar in national
19                                                 origin, size of family, reasons for
                                                   arriving in the United States and manner
20                                                 of apprehension.”).
21                                                 Declaration of Carol Anne Donohoe, Doc. #
22                                                 201-1 Ex. 4 ¶12:
                                                   There appears to be no rational reason why
23                                                 some families are detained and others
                                                   released other than the availability of ICE bed
24                                                 space and the sex of the parent apprehended
                                                   with the class member child… Class members
25
                                                   are not detained or released because of the
26                                                 Settlement or the Court’s Orders. Class
                                                   members are released because bed space is
27                                                 limited or because the mother eventually
                                                   receives a positive credible fear or reasonable
28                                                 fear determination. Class member children at
                                                   Berks are detained for weeks or months on

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1
2                                                  end and denied parole requests, even with
                                                   stays of deportation and diagnosed illnesses,
3                                                  and not because they are a flight risk or a
                                                   danger to themselves or others.
4
                                                   Declaration of Karen Lucas Re Flores
5                                                  detention facility Inspection, Doc. # 201-6 Ex.
6                                                  68 ¶¶6-9 (“During the Ursula inspection,
                                                   Class Counsel asked an ICE Enforcement and
7                                                  Removal Operations (ERO) official how ICE
                                                   decides which class members and parents to
8                                                  release, and which to continue to
                                                   detain…This is the decision-making process
9                                                  the ICE ERO officer described: If the family
10                                                 detention centers tell Ursula they have bed
                                                   space, ICE then looks at the family’s
11                                                 “composition,” including the gender of the
                                                   parent and the gender and age of the children
12                                                 (ages 2-14 at Dilley, ages 2-17 at Karnes, he
                                                   said), to see if the family is suitable for any
13                                                 available family detention spaces, given the
14                                                 makeup of the currently detained population
                                                   (e.g., because more than one family sleeps in
15                                                 the same room, the gender of the children is
                                                   considered). They also look to see if the
16                                                 detention center in question can provide
                                                   medical care needed by any or all of the family
17                                                 members…If the family does not “qualify” for
                                                   detention, then they “qualify” for release, he
18                                                 said…With respect to male head-of-household
                                                   families in particular, the official explained that
19
                                                   the Dilley and Karnes detention centers do not
20                                                 accept male heads of household. So if Berks has
                                                   bed space, the family could go to Berks – if not,
21                                                 they would be issued an NTA and released.”).

22                                                 Declaration of Karen Lucas Re Flores
                                                   detention facility Inspection:
23                                                 It …appeared to me that the decision to
24                                                 transfer a particular family from Ursula to a
                                                   family detention center, rather than to release
25                                                 with an NTA, is completely arbitrary. It appears
                                                   to be based on a combination of available bed
26                                                 space and characteristics like the age, gender,
                                                   and medical conditions of parents and
27                                                 child(ren). (Doc. # 201-6 Ex. 68 ¶13).
28



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1
2              B.  The Dilley and Karnes               Deposition Excerpts of Assistant Director of
                   facilities have no licenses both    Field Operations, Enforcement and Removal
3                                                      Operations, ICE, Phillip Miller (Ex. 9):
                   having been blocked by a court
                                                       Q. And so at the present time the Dilley
4                  in Texas. Berks’s license is also   facility is not licensed; is that correct?
                   being challenged by the State       A. Yes.
5                  and does not comply with the        (Miller Dep. p. 103:15-103:17).
6                  requirements of Exhibit 1 to
                   the Agreement.                      Deposition Excerpts of Valentin de la Garza,
7                                                      Dilley Supervisor (Plaintiff’s Ex. 7):
                                                       Q. Can you tell us what, if any, type of
8                                                      license Dilley currently has, a -- a state-issued
                                                       or -- or a county-issued license?
9                                                      MS. FABIAN: Ob -- Object to form.
10                                                     THE WITNESS: To my knowledge, sir, we
                                                       don't have one -- or they don't have one.
11                                                     (De la Garza Dep. 21:24-22:4).

12                                                     Q: And is it fair to say that Dilley is a secure
                                                       facility?
13                                                     MS. FABIAN: Object to form.
14                                                     Q. You can answer the question.
                                                       A. Yes. If it's -- Is it a secure –
15                                                     Q. And --
                                                       A. -- facility? Has anybody -- Everybody's
16                                                     freedom of movement there, sir.
                                                       Q. Okay. Are people free to leave the
17                                                     facility if they want to?
18                                                      A. No, sir. Not until we tell them it's - -
                                                       it's okay to leave.
19                                                     (De la Garza Dep. 22:5-22:17).

20                                                     Q. To your knowledge, is ICE currently
                                                       attempting to obtain a license for Dilley,
21                                                     a license to hold children?
22                                                     A. No, sir. We're not.
                                                       (De la Garza Dep. p. 47:12-47:15).
23
                                                       Temporary Restraining Order dated May 4,
24                                                     2016, Grassroots Leadership v. Texas
                                                       Department of Family and Protective
25                                                     Services, Attachment 7 to Declaration of
26                                                     Robert Doggett, Doc. # 201-2, Ex. 18:
                                                       THE TEXAS DEPARTMENT OF FAMILY
27                                                     AND PROTECTIVE SERVICES, and its
                                                       agents, servants, employees, and attorneys are
28                                                     hereby ORDERED to desist and refrain from
                                                       implementing 40 Tex. Admin Code § 748.7 to


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1
2                                                  issue any license to the owner or operator of
                                                   the South Texas Family Residential Center in
3                                                  Dilley, Texas, until further order of the Court.
                                                   [Attachment 7 at 2, Decl. of Robert Doggett,
4                                                  Doc. # 201-2, Ex. 18]
5                                                  Declaration Excerpts of Robert Doggett, Doc.
6                                                  # 287-5, Ex. 26:
                                                   I currently represent Grassroots Leadership,
7                                                  Inc., a non-profit organization… in a lawsuit
                                                   for declaratory judgment against the Texas
8                                                  Department of Family and Protective Services
                                                   (“DFPS”) that is pending in the Travis County
9                                                  District Court in Austin, Texas … On May 4,
10                                                 2016, the court issued a temporary restraining
                                                   order prohibiting further implementation of
11                                                 the new rule and subsequently issued a
                                                   temporary injunction that prohibited the
12                                                 issuance of a license to Dilley (the Karnes
                                                   facility obtained a license before the Court
13
                                                   could issue the temporary restraining order).
14
                                                   On December 2, 2016, the Court issued a
15                                                 final judgment that invalidated 748.7 because
                                                   it “contravenes Texas Human Resources Code
16                                                 § 42.002(4) and runs counter to the general
                                                   objectives of the Texas Human Resources
17
                                                   Code.” See Final Judgment at 3, attached.
18                                                 The State filed an appeal of the Final
                                                   Judgment the morning of December 5, 2016.
19                                                 (In Texas, the State has a right to supersede a
                                                   judgment while on appeal automatically,
20                                                 unless a Court decide otherwise.) In response
                                                   to concerns raised by Plaintiffs and the
21
                                                   admission that Defendants intended to license
22                                                 Dilley anyway while the case is on appeal, the
                                                   Court conducted a hearing the afternoon of
23                                                 December 5, 2016. At the conclusion of that
                                                   hearing the Court orally enjoined the State
24                                                 from issuing a license to Dilley or any other
25                                                 facility because of her ruling on December 2,
                                                   2016. The Court indicated in the hearing that
26                                                 we would be receiving a written Amended
                                                   Final Judgment within the week that included
27                                                 this injunction language and that would
                                                   address the State’s ability to supersede the
28                                                 judgment while on appeal. [Doc. # 287-5,
                                                   Dec. of Robert Doggett, Ex. 26, ¶¶ 3-4].

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1
2
                                                   Letter from Pennsylvania Department of
3                                                  Human Services to Berks County Residential
                                                   Center dated January 27, 2016, Doc. # 201-6,
4                                                  Ex. 60:
                                                   The Department of Human Services
5                                                  (Department) is not renewing the certificate
6                                                  of compliance issued to the Berks County
                                                   Commissioners to operate the Berks County
7                                                  Residential Center as a child residential
                                                   facility … when your current certificate of
8                                                  compliance expires on February 21, 2016.
                                                   The Department is also revoking the
9                                                  certificate of compliance effective from
10                                                 February 21, 2016 to February 21, 2017,
                                                   issued on November 9, 2015. As the
11                                                 Department notified you by letter of
                                                   November 17, 2015, that certificate was
12                                                 issued as a result of a systems error.
13
                                                   This decision to NON-RENEW and
14                                                 REVOKE the certificates of compliance is
                                                   based on the Department’s determination that
15                                                 the Berks County Residential Center is not
                                                   operating as a child residential facility under
16                                                 the Human Services Code or the
                                                   Department’s regulations. Instead, Berks
17
                                                   County Residential Center is operating as a
18                                                 residential center for the detention of
                                                   immigrant families, including adults. [Letter
19                                                 from Pennsylvania Department of Human
                                                   Services to Berks County Residential Center
20                                                 dated January 27, 2016, Doc. # 201-6, Ex. 60]
21
22
23
24
25
26
27

28



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1
2              7.   DEFENDANTS INTERFERE WITH         Declaration Excerpts of Celina Sxxxxxx-
                    CLASS MEMBERS’ RIGHT TO           xxxx, Doc. # 201-5 at 849, Ex. 28:
3                                                     “When I was at Dilley it was the first time
                  COUNSEL
                                                      either me or my son was given a list of free
4                                                     legal services. I was not able to use a phone
                                                      unless I had money….There are so many
5                                                     families in Dilley that even though there are a
6                                                     few volunteers, there are far to few volunteers
                                                      to help most of the families.”
7                                                     [Doc. # 201-5 at 849, Dec. of Celina
                                                      Sxxxxxx-xxxx, Ex. 28, ¶ 12].
8
                                                      “My interview lasted about an hour and a
9                                                     half. I was not able to have an attorney to be
10                                                    present with me at the credible fear interview.
                                                      I was interview by a man and I was very
11                                                    nervous….There were times he would laugh
                                                      at me.”
12                                                    [Doc. # 201-5 at 849, Dec. of Celina
                                                      Sxxxxxx-xxxx Ex. 28, ¶ 13].
13
14                                                    “…When she explained the papers in my
                                                      negative decision, it was the first time that I
15                                                    realized that the border officer put false
                                                      information on my interview from the border
16                                                    station where we were first detained. The
                                                      officer wrote down that I did not have a fear,
17                                                    when I specifically said I was afraid for our
18                                                    safety and the life of my son….”
                                                      [Doc. # 201-5 at 849, Dec. of Celina
19                                                    Sxxxxxx-xxxx Ex. 28, ¶ 14].

20                                                    Deposition Excerpt of Mario Martinez, Chief
                                                      Patrol Agent of Border Patrol in Laredo sector
21                                                    (Ex. 5):
22                                                    Q. I noticed the El Centro chief testified, I
                                                      believe, that they have facilities for attorney
23                                                    visits. From your declaration I have the
                                                      impression that you do not have facility --
24                                                    facilities for attorney visits; is that correct?
                                                      MS. FABIAN: Object to form. A. That's
25
                                                      correct, sir.
26                                                    Q. (By Mr. Schey) I believe you indicate that
                                                      minors or their parents are provided a list of
27                                                    free attorneys or low cost attorneys; is that
                                                      correct?
28                                                    A. That's correct.
                                                      Q. And are they permitted to keep that with

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1
2                                                  them or are they just shown it and then it's
                                                   placed in their file?
3                                                  A. It's given to them with the rest of their
                                                   paperwork.
4                                                  Q. And -- and they can keep that while
                                                   detained in your stations?
5                                                  A. Yes, sir.
6                                                  Q. And what other paperwork are they issued
                                                   that they can keep with them at your stations?
7                                                  A. Well, when they get their actual packet
                                                   from us that once they're processed -- so that
8                                                  includes their WA, their NTA, et cetera.
                                                   (Martinez Dep. 31:17-32:15).
9

10                                                 Declaration of Mario Martinez, Doc. # 210-1,
                                                   Ex. 7, ¶ 49
11                                                 “Consistent with Border Patrol’s March 20,
                                                   2009 policy in the TVPRA, all children are
12                                                 provided with a list of free legal services at
                                                   the time of processing.”
13                                                 [Doc. # 210-1, Declaration of Mario
14                                                 Martinez, Ex. 7, ¶ 49].

15                                                 Declaration Excerpts of Juanita Hester, Doc.
                                                   # 215-1, Ex. 20
16                                                 “Families are offered the opportunity to
                                                   participate in a legal orientation program
17                                                 (LOP) from certified pro bono organizations,
18                                                 which, for many, will be their first
                                                   opportunity to learn of their rights and
19                                                 responsibilities under the immigration laws of
                                                   the United States.”
20                                                 [Doc. # 215-1, Dec. of Juanita Hester Ex. 20,
                                                   ¶ 6].
21
22                                                 “Also, to the extent that residents have any
                                                   questions about their case or the immigration
23                                                 process, pro bono attorneys are present at the
                                                   facility from Monday through Friday each
24                                                 week, and volunteers and law students assist
                                                   on weekends in the legal assistance area.”
25
                                                   [Doc. # 215-1, Dec. of Juanita Hester Ex. 20,
26                                                 ¶ 14].

27                                                 “Upon intake, each resident is provided a
                                                   “List of Legal Services,” which provides
28                                                 contact information for attorneys who will
                                                   provide legal services for little or" no cost.”


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1
2                                                  [Doc. # 215-1, Dec. of Juanita Hester Ex. 20,
                                                   ¶ 15].
3
                                                   Deposition Excerpts Dilley Assistant Field
4                                                  Office Director, Enforcement and Removal
                                                   Operations, ICE, Valentin de la Garza (Ex. 7):
5                                                  Q. (By Mr. Schey) Have ICE agents at Dilley
6                                                  received any training, direction, or
                                                   instructions, and if so, by whom and when, if
7                                                  you know, regarding that part of paragraph 27
                                                   of the settlement which states that no minor
8                                                  who is represented by counsel shall be
                                                   transferred without advance notice to such
9                                                  counsel, except in unusual and compelling
10                                                 circumstances, such as where the safety of the
                                                   minor or others is threatened or the minor has
11                                                 been determined to be an escape risk or if
                                                   counsel has waived such notice?
12                                                 MS. FABIAN: Object to form, foundation.
                                                   THE WITNESS: We received direction to
13                                                 notify the attorney of records.
14                                                 Q. (By Mr. Schey) And when did you receive
                                                   that direction and from whom?
15                                                 A. From my chain of command. When, I don't
                                                   know. Can't remember. Don't recall.
16                                                 Q. Was it within the past two months?
                                                   A. It's been a while, sir.
17
                                                   Q. Would it be within the past six months?
18                                                 A. It was right around the time the order came
                                                   out from Judge Gee that we had to do it, but I
19                                                 don't know when that was, sir. I can't rem -- I
                                                   can't recall.
20                                                 Q. And when is notification provided to an
                                                   attorney of record?
21
                                                   A. No less than 24 hours. Could be – Hold on.
22                                                 Am I trying to – I’m trying to phrase it, sir. If
                                                   – it’s at any time as soon as we find out that
23                                                 we were going to transfer. But no, at least 24
                                                   hours out before the date of the transfer.
24                                                 Q. And – And – And you’re – you’re saying
                                                   notice is provided 24 hours before the transfer
25
                                                   or within 24 hours of the transfer?
26                                                 A. It’s provided – We give them at least 24
                                                   hours’ notice. Sometimes, we give them
27                                                 more.
                                                   Q. And how is that notice provided to the
28                                                 attorney of record?
                                                   A. E-mail, telephone, face to face. It all

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1
2                                                  depends.
                                                   (De La Garza Dep. 50:23-52:10).
3
                                                   Q. So neither the A-file nor the database is
4                                                  likely to refer to any alleged difficulties they
                                                   they’ve had communicating with their
5                                                  lawyer? Is that fair to say?
6                                                  A. That’s correct.
                                                   (De La Garza Dep. 115:3-115:6).
7
                                                   Deposition Excerpt of Assistant Director of
8                                                  Field Operations, Enforcement and Removal
                                                   Operations, ICE, Phillip Miller (Ex. 9):
9                                                  Q. Has ICE made any effort that you are
10                                                 aware of to determine whether the period of
                                                   time in which you are detaining these family
11                                                 units prior to their fear interviews is sufficient
                                                   time to allow for adequate preparation and
12                                                 representation by counsel?
                                                   MR. SILVIS: Object to the form.
13                                                 THE WITNESS: Although I wasn't involved
14                                                 in the conversation, I know that our Chief
                                                   Counsel Office in San Antonio, along with
15                                                 USCIS and the different pro bono providers,
                                                   met and came to an agreement of how long
16                                                 the -- the resident would be on campus before
                                                   they would have their initial interview.
17                                                 BY MR. SCHEY: Q. And do you know what
18                                                 they determined?
                                                   A. I believe it's 72 hours.
19                                                 (Miller Dep. 121:14-122:12).

20                                                 Deposition Excerpts of attorney Bridget
                                                   Cambria, (Ex. 21):
21                                                 [Regarding lack of information for detainees
22                                                 for non-profit attorneys]
                                                   Q. And when you say lists, those are lists
23                                                 handed out by the facility?
                                                   A. I would assume, yes.
24                                                 Q. Do you know who creates the list?
                                                   A. No.
25
                                                   Q. Okay. But lists are handed out at Berks?
26                                                 A. No.
                                                   (Cambria Dep. 26:10-26:18).
27
                                                   A. ...So, if you have a new -- a person that's
28                                                 new at Berks, they'll be given a list of free
                                                   legal service providers. But the people that


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2                                                  are on the list don't actually work at Berks,
                                                   and they won't come to Berks, and they won't
3                                                  represent anyone at Berks. So they're never
                                                   actually given a list of actual attorneys –
4                                                  Q. Okay.
                                                   A. -- who will come and do pro bono work.
5                                                  Q. Okay.
6                                                  A. That's a problem.
                                                   (Cambria Dep. 27:21-28:9).
7
                                                   A. I don't know whose policy it is, but I've
8                                                  tried to meet with children without their
                                                   mother, for example, if a mother is ill or is
9                                                  hospitalized, I'd like to talk to their children to
10                                                 make sure they're okay, but I'm not permitted.
                                                   Q. Is there any age limitation on that?
11                                                 A. No.
                                                   Q. So it's children up to the age of 18 or...
12                                                 A. I can't see them without their mother.
                                                   Q. Okay.
13                                                 A. Even though I represent them, I can't.
14                                                 (Cambria Dep. 48:4-48:19).

15                                                 Q. Okay. And so your next statement is,
                                                   "When Steven's mother asked ICE for help
16                                                 for her son's chronic medical condition, she
                                                   was advised by ICE to withdraw her case for
17                                                 protection and to accept removal to El
18                                                 Salvador." Do you see that sentence?
                                                   A. Yes.
19                                                 Q. Okay. Were you present when Steven's
                                                   mother asked ICE for help?
20                                                 A. No.
                                                   Q. And did you hear ICE's statements that she
21
                                                   withdraw her case for protection and accept
22                                                 the removal to El Salvador?
                                                   A. They wrote it down and signed it.
23                                                 Q. They –
                                                   A. She filed a grievance requesting medical
24                                                 assistance for her son whose genitals were
                                                   bleeding, and the response from ICE was to
25
                                                   withdraw her case and accept removal. And it
26                                                 was signed by the deportation officer.
                                                   (Cambria Dep. 57:4-57:23).
27
                                                   Declaration Excerpts of attorney Bridget
28                                                 Cambria, Doc. # 201-1 at 103, Ex. 3, ¶ 5
                                                   “Access to counsel at Berks is extremely

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1
2                                                  limited. A handful of pro bono and very low
                                                   cost attorneys are available to represent
3                                                  detainees, however there are approximately
                                                   hundreds of detainees at a given time.”
4                                                  [Doc. # 201-1 at 103, Dec. of Bridget
                                                   Cambria Ex. 3, ¶ 5].
5
6                                                  “Still today, counsel is subject to search upon
                                                   entry into the BCRC. We are not permitted to
7                                                  bring in certain items, like a purse/bag. We
                                                   are not permitted to bring in cell phones. We
8                                                  are not permitted to bring in computers unless
                                                   we have prior approval. We are not permitted
9                                                  to visit clients without notice. We were
10                                                 notified via email on November 23, 2015 of
                                                   more restrictive rules regarding legal
11                                                 visitation requiring 24 hours’ notice in order
                                                   to see our clients. See Ex. A attached (Legal
12                                                 Access and Visitation Standard Operating
                                                   Procedures). These more restrictive
13                                                 requirements have further impeded attorneys’
14                                                 access to the families in the detention
                                                   facility.”
15                                                 [Doc. # 201-1 at 103, Dec. of Bridget
                                                   Cambria Ex. 3, ¶ 7].
16
                                                   Deposition Excerpts of attorney, Ed
17                                                 McCarthy, (Ex. 24):
18                                                 Q. Did the interruption issues persist after the
                                                   translator was switched?
19                                                 A. Yes. And again, this is relevant because
                                                   most of these credible fear interviews happen
20                                                 without attorneys, so there’s not someone
                                                   there to notify the asylum officer that there
21
                                                   are mistranslations and that the client had not
22                                                 finished what they were saying. So in the vast
                                                   majority of these cases this wouldn’t come to
23                                                 light.
                                                   Q. What is the basis for that belief?
24                                                 A. Having met with numerous clients who are
                                                   unrepresented at their credible fear and
25
                                                   reasonable fear interviews.
26                                                 (McCarthy Dep. 37:24-38:12).

27                                                 Q. While you were working at Karnes, were
                                                   any of your clients relocated without your
28                                                 notice?
                                                   A. Yes. (McCarthy Dep. 40:12-40:14).

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                                                   A. ...And so because this individual and most
3                                                  – all of the individuals that I later represented
                                                   were not represented in their initial
4                                                  interviews. They did not articulate their
                                                   claims in a way that would be recognized
5                                                  under immigration laws.
6                                                  A. And further, many of these women had
                                                   experienced trauma. They had been through
7                                                  horrific things in their countries. In my
                                                   experience representing victims of trauma,
8                                                  you can take a long time, many meetings,
                                                   before a client is comfortable enough to share
9                                                  the horrible things that they’ve been
10                                                 through…. (McCarthy Dep. 51:25-52:13

11                                                 Q. Do you think given the very short period
                                                   of time between Flores class members
12                                                 arriving at Karnes and the scheduling of their
                                                   fear interview and given the remoteness and
13                                                 the location of Karnes, do you think it is
14                                                 possible to provide adequate representation of
                                                   effective representation to class members at
15                                                 that facility? …
                                                   A. I don’t think that it’s possible to provide
16                                                 effective representation to individuals
                                                   detained at Karnes. Karnes is remote. It’s over
17                                                 an hour away from the nearest city, San
18                                                 Antonio, and there are numerous things that
                                                   need to happen in a short amount of time. If
19                                                 you don’t submit things in time, your client
                                                   can be removed, and that is something that
20                                                 did happen in one of our cases in that a client
                                                   was removed before we could submit re-
21
                                                   interview request.
22                                                 (McCarthy Dep. 64:5-64:24).

23                                                 Declaration Excerpts of attorney Ed
                                                   McCarthy, Doc. Np. 201-1 at 173, Ex. 11:
24                                                 “Each of the mothers with whom I met
                                                   expressed frustration with their initial credible
25
                                                   fear and reasonable fear interviews. They told
26                                                 me that their interviews took place with
                                                   asylum officers who did not speak Spanish.
27                                                 Spanish language interpretation occurred over
                                                   speakerphone.”
28                                                 [Doc. # 201-1 at 173, Dec. of Ed McCarthy
                                                   Ex. 11, ¶ 5].

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                                                   “…During the interview, on numerous
3                                                  occasions, the interpreter mistranslated things
                                                   that my client said….”
4                                                  [Doc. # 201-1 at 173, Dec. of Ed McCarthy
                                                   Ex. 11, ¶ 7].
5
6                                                  “…it became clear to me that most credible
                                                   fear and reasonable fear interviews do not
7                                                  take place with counsel present.”
                                                   [Doc. # 201-1 at 173, Dec. of Ed McCarthy
8                                                  Ex. 11, ¶ 8].
9                                                  “Aside from the problems in translation, I
                                                   faced problems in accessing my clients due to
10
                                                   Immigration and Customs Enforcement’s
11                                                 (“ICE’S”) decisions.”
                                                   [Doc. # 201-1 at 173, Dec. of Ed McCarthy
12                                                 Ex. 11, ¶ 9].
13                                                 “…When I arrived, I was informed that my
14                                                 clients had been transferred to an ICE family
                                                   detention facility in Berks Pennsylvania,
15                                                 without any notice to me, their attorney….”
                                                   [Doc. # 201-1 at 173, Dec. of Ed McCarthy
16                                                 Ex. 11, ¶ 10].
17                                                 Deposition Excerpts of attorney Jacqueline
                                                   Kline, (Ex. 25):
18
                                                   A: Well, ICE’s office is right no the other side
19                                                 of the wall from the attorney rooms, and you
                                                   can hear them in their office, so presumably
20                                                 they can hear us as well, I mean in some
                                                   sense.
21                                                 (Kline Dep. 41:9-41:13).
22
                                                   A: I mean, there's a lot of times when we
23                                                 show up and we call, and we have to wait in
                                                   the waiting room for extended periods of time
24                                                 before they come and let us in. There are days
                                                   where we show up where they tell us, today
25                                                 you can bring this item. The next day we
26                                                 show up and they say you can't. Recently, we
                                                   had been bringing a printer, and one day when
27                                                 we showed up, they told us we couldn't have
                                                   it. And we had to leave it in the hallway, and
28                                                 we had to go back to our office to print
                                                   documents to have clients sign and come back


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1
2                                                  again.
                                                   (Kline Dep. 44:11-44:23).
3
                                                   Declaration of Lindsay Gxxxx xxxxx, Doc. #
4                                                  201-5 at 182, Ex. 33, ¶¶ 14-15
                                                   “I have not seen a Judge or been told that I, or
5                                                  my daughter, have the right to see a Judge or
6                                                  ask for bond. I do not know what will happen
                                                   to me next.”
7                                                  [Doc. # 201-5 at 872, Dec. of Lindsay Gxxxx
                                                   xxxxx Ex. 33, ¶¶ 14-15].
8
                                                   Deposition of Excerpts of attorney Robyn
9                                                  Barnard, (Ex. 23):
10                                                 Q: In paragraph 11 you describe difficulty in
                                                   representation due to delayed access to
11                                                 detainees Immigration and Customs
                                                   Enforcement administrative files. What delays
12                                                 are you referring to?
                                                   A: That is – I’m referring to accessing
13                                                 immigration documents such as the record of
14                                                 credible fear interviews or records of
                                                   immigration judge reviews of negative
15                                                 credible reasonable fear interviews and other
                                                   documents that amount to the file that is
16                                                 transferred – that follows the detainee from
                                                   detention center to detention center.
17                                                 (Barnard Dep. 43:4-43:15).
18
                                                   Q: Have the delays affected your ability to
19                                                 represent clients at Berks?
                                                   A: Yes.
20                                                 Q: Have you discussed the delays with
                                                   officials?
21                                                 A: Yes.
22                                                 Q: What was the result?
                                                   A: We would ask for better notice to counsel
23                                                 of record before someone was transferred to
                                                   allow for the detainees to collect their
24                                                 documents before they were transferred so
                                                   that they would have them with them when
25
                                                   they arrived at the new detention center.
26                                                 (Barnard Dep. 44:17-45:5).

27                                                 Q: To your knowledge, is the delay in
                                                   obtaining files at Berks any different than any
28                                                 other facility?
                                                   A: In my experience it is a bit different


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1
2                                                  because many of the families are transferred
                                                   from Texas where they have counsel to
3                                                  Pennsylvania to the Berks facility. So that
                                                   makes it much more complicated. And in my
4                                                  experience, the situation with the families
                                                   who are transferred to Berks is quite different
5                                                  because they are transferred after having these
6                                                  negative credible or reasonable fear
                                                   interviews. So they are transferred at a
7                                                  moment in their case in which the legal
                                                   posture is very difficult because they are
8                                                  deportable. So they could be deported.
                                                   (Barnard Dep. 45:20-46:10).
9

10                                                 In reviewing approximately 44 “negative”
                                                   fear interview records for Flores class
11                                                 members and their mothers transferred from
                                                   the two Texas family detention facilities to
12                                                 the Berks facility, I observed evidence of
                                                   conditions that may prevent accurate
13                                                 assessments of credible fear:
14                                                     (a)   inadequate interpretation services;
                                                       (b)  lack of an adequate explanation to the
15                                                           class members and mothers regarding
                                                             the purpose of the interview or review
16                                                           hearing;
                                                       (c)   failure to explain to class members
17
                                                             and mothers what it means to be a
18                                                           member of a “social group” (the basis
                                                             for most denials”
19                                                     (d)  use of form-letter denials that do not
                                                             explain the individualized basis for the
20                                                           denial, thus precluding effective
                                                             review by immigration judges or
21
                                                             federal courts; and families
22                                                           represented by counsel in Texas, who
                                                             had requested review of denial of their
23                                                           credible or reasonable fear interviews
                                                             before immigration judges, were
24                                                           transferred to Berks before their
                                                             immigration judge hearings had taken
25
                                                             place.
26                                                 [Doc. # 201-1 at 176, Dec. of Robyn Barnard
                                                   Ex. 12, ¶ 11].
27
                                                   “Given the large number of families involved,
28                                                 the remoteness of the Berks facility, and lack
                                                   of rapid access to detainees ICE

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1
2                                                  administrative files, effective representation
                                                   for the great majority of detainees is
3                                                  impossible.”
                                                   [Doc. # 201-1 at 176, Dec. of Robyn Barnard
4                                                  Ex. 12, ¶ 12].
5                                                  “In response to the extremely low rates of pro
6                                                  bono legal representation of families detained
                                                   at the Berks facility, Human Rights First
7                                                  partnered with a local Berks County legal
                                                   service provider, the Pennsylvania Immigrant
8                                                  Resource Center (“PIRC”), local private
                                                   attorneys, Philadelphia-based law firms, and
9                                                  Pennsylvania law schools to attempt to
10                                                 provide pro bono legal representation for
                                                   families detained at Berks. Nevertheless,
11                                                 because of the remote location of this
                                                   detention center, effective and thorough legal
12                                                 representation for the majority of Flores class
                                                   members and their mothers is virtually
13                                                 impossible.”
14                                                 [Doc. # 201-1 at 176, Dec. of Robyn Barnard
                                                   Ex. 12, ¶ 8].
15
                                                   “Since October 28, the pro bono
16                                                 representation project at the Berks facility has
                                                   screened at least 46 families, of which 31
17                                                 were transferred from either the Dilley or the
18                                                 Karnes facilities. All of the 31 families had
                                                   been held in one of the family detention
19                                                 facilities in Texas for more than 30 days by
                                                   the time they arrived at the Berks facility; at
20                                                 least four of those families had been detained
                                                   in Texas for two months before their transfer
21
                                                   to Pennsylvania. All of the families who have
22                                                 been transferred to the Berks facility since
                                                   October 22 received an initial “negative” fear
23                                                 determination from the Asylum Office that
                                                   adjudicated their credible or reasonable fear
24                                                 interviews in Texas. The vast majority of
                                                   these families, if not all of them, were
25
                                                   transferred to the Berks facility without any
26                                                 prior notice to their families or their attorneys
                                                   of record in Texas.”
27                                                 [Doc. # 201-1 at 176, Dec. of Robyn Barnard
                                                   Ex. 12, ¶ 10].
28
                                                   “I have been informed by CARA attorneys

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1
2                                                  that they have discussed the unannounced
                                                   transfer of families from the Dilley and
3                                                  Karnes facilities to Berks with Immigration
                                                   and Customs Enforcement (ICE) officials in
4                                                  Washington, D.C. and if they are counsel of
                                                   record requested notice prior to any future
5                                                  transfers of their clients from the Texas
6                                                  facilities. As of this date, they report to me
                                                   that they still do not receive prior notice for
7                                                  all of their clients who are scheduled to be
                                                   transferred.”
8                                                  [Doc. # 201-1 at 176, Dec. of Robyn Barnard
                                                   Ex. 12, ¶ 11].
9

10                                                 “...I am also aware that since the District
                                                   Court hearing in April 2015 at which time the
11                                                 Court tentatively indicated it intended to find
                                                   the defendants in breach of the Flores
12                                                 settlement, defendants have attempted to
                                                   speed up the credible fear interview process
13                                                 so that they could claim that the ‘average’
14                                                 length of detention was reduced to about
                                                   twenty days. Speeding up the process
15                                                 inevitably curtails class members’ right to
                                                   counsel and due process of law because of
16                                                 defendants’ failure to cooperate with the
                                                   small number of pro bono counsel attempting
17
                                                   to represent as many class members and their
18                                                 mothers as possible, failure to notify counsel
                                                   of record before transferring class members
19                                                 and their mothers from one facility to another,
                                                   failure to promptly make administrative files
20                                                 available to pro bono counsel, and limiting
                                                   pro bono counsel’s access to detention
21
                                                   facilities. It should also be noted that many
22                                                 class members are still detained in secure
                                                   lock-down facilities with unrelated adults for
23                                                 weeks or months on end even if the claimed
                                                   ‘average’ detention is about twenty days.”
24                                                 [Doc. # 201-1 at 176, Dec. of Robyn Barnard
                                                   Ex. 12, ¶ 18].
25
26                                                 Declaration of attorney Amanda Doroshow,
                                                   Doc. # 201-1 at 170, Ex. 10, ¶6
27                                                 “During the six days I spent at Dilley, I did
                                                   not meet any Flores class member or mother
28                                                 who told me that the class member had been
                                                   informed by CBP or ICE …[that] they could

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1
2                                                  have their status reviewed by an Immigration
                                                   Judge, or had been brought before an
3                                                  Immigration Judge to review their custody
                                                   status.”
4                                                  [Doc. # 201-1 at 170, Dec. of Amanda
                                                   Doroshow Ex. 10, ¶6].
5
6                                                  Declaration of attorney Karen Lucas, Doc. #
                                                   201-1, Ex. 13, ¶4 (3/25/16)
7                                                  “ICE has consistently frustrated the ability of
                                                   dedicated lawyers and legal assistants to
8                                                  access their clients and has systematically
                                                   disregarded the attorney-client relationship.”
9                                                  [Doc. # 201-1, Dec. of Karen Lucas, Ex. 13,
10                                                 ¶4]
                                                   Attachment A to Declaration of Manoj
11                                                 Govindaiah, Director of Family
                                                   Detention Services with RAICES, San
12                                                 Antonio, Texas, Doc. # 201-2 Ex. 17,
                                                   Exhibit A, Letter to San Antonio Field
13                                                 Office Director and ICE Headquarters
14                                                 regarding issues with access to counsel
                                                   at the Karnes detention Center. The
15                                                 access to counsel issues raised include:
                                                        ●   Restrictions on the ability of law
16                                                          students working under
                                                            supervision to meet with detained
17
                                                        ●   Flores class members and their
18                                                          parents. (Page 2)
                                                        ●   Delayed entry into the Karnes
19                                                          detention center for law students
                                                            working under attorney
20                                                          supervision. (Page 2)
                                                        ●   The requirement that young
21
                                                            children remain with their
22                                                          mothers during attorney/client
                                                            meetings during which sensitive
23                                                          and traumatic information must
                                                            often be disclosed and discussed.
24                                                          (Page 3).
25                                                      ●   Restrictions on the ability of pro
                                                            bono attorneys to enter the legal
26                                                          visitation area upon arrival at the
                                                            Karnes detention center. (Page
27                                                          4).
                                                        ●   Ongoing restrictions on the
28                                                          conducting of independent
                                                            medical evaluations, a critical

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1
2                                                         component of the legal case for
                                                          Flores class members and their
3                                                         mothers. (Page 5).
                                                      ●   Requirement that visitation lists
4                                                         be submitted 24 hours in
                                                          advance, despite the rapidly
5                                                         changing population at the
6                                                         detention center and remote
                                                          location in Karnes City, Texas.
7                                                     ●   Increasing restrictions on
                                                          attorney phone calls with
8                                                         detained families.
9                                                  Declaration of Alex Mensing, attached
10                                                 Exhibit PP, Doc. # 201-4 Ex. 19 ¶ 11
                                                   (11/30/2015)
11                                                 "I was transferred to another detention
                                                   facility away from my lawyers with no
12                                                 warning… It did not matter to immigration
                                                   officials that I had a lawyer or that I was
13                                                 fighting my case. They still moved me."
14                                                 Declaration Excerpt of Alex Mensing,
                                                   attached Exhibit GG, Doc. # 201-3 Ex. 19
15                                                 ¶18 (11/13/15)
                                                   "I didn’t know what was going to happen to
16                                                 my case because my lawyers were in Texas
                                                   and I did not get to speak to them before I
17
                                                   was transferred. My cousin here said he
18                                                 would look into getting me an attorney but
                                                   there were already attorneys coming here."
19                                                 Declaration of Alex Mensing, attached
                                                   Exhibit NN, Doc. # 201-4 Ex. 19 ¶ 13
20                                                 (11/15/2015)
                                                   “No one asked me if I had a lawyer before I
21
                                                   was transferred to Berks and I didn't get to
22                                                 speak with anyone from the CARA. Project
                                                   before I left.”
23                                                 Declaration Excerpt of Alex Mensing,
                                                   attached Exhibit PP, Doc. # 201-4 Ex. 19 ¶
24                                                 13 (11/30/2015)
25                                                 "When we were transferred here I was afraid
                                                   I had lost my lawyers. I felt like my case
26                                                 was over and that I would have no help.
                                                   Here in Pennsylvania I heard that there were
27                                                 no lawyers here like in Texas. I was lucky
                                                   enough to receive information about a
28                                                 lawyer from another detainee. We do not get
                                                   legal access here in Berks like we did in

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1
2                                                  Texas. The staff will not help us access legal
                                                   help."
3
                                                   Declaration Excerpts of Kathryn
4                                                  Shepherd, Doc. # 201-6, Ex. 69
                                                   “In the last month, the extremely limited
5                                                  child care capacity at Dilley has
6                                                  substantially increased the challenges we
                                                   face in providing legal services. Mothers
7                                                  now must come to legal appointments
                                                   with their young children in tow and tell
8                                                  us that while they attempted to drop off
                                                   their children at the nursery, they were
9                                                  told that it was at capacity….Many of
10                                                 these mothers, and sometimes the children
                                                   too, are disclosing, for the very first time,
11                                                 traumatic events, including rape, sexual
                                                   assault, incest, domestic violence, threats,
12                                                 and extortion. In my experience, mothers
                                                   and older children are often reluctant and
13                                                 sometimes totally unable to articulate the
14                                                 fears that they have and the horrors they
                                                   have endured with younger children or
15                                                 siblings present in the room.”
                                                   [¶ ¶ 9, 10]
16
                                                   “Another troubling recent development at
17                                                 Dilley regarding access to counsel is the
18                                                 sudden prohibition on telephonic
                                                   psychological evaluations. Such
19                                                 evaluations by independent mental health
                                                   experts are critical evidence that attorneys
20                                                 obtain in support of their client’s legal
                                                   claims, especially as it pertains to credible
21
                                                   and reasonable fear determinations and the
22                                                 terms and timing of release from
                                                   detention. The overwhelming majority of
23                                                 families detained at Dilley are fleeing
                                                   violence in their home countries and
24                                                 seeking protection in the United States. As
                                                   such, many of the children and mothers
25
                                                   exhibit symptoms of trauma, and, when
26                                                 evaluated, many are diagnosed with Post-
                                                   traumatic Stress Disorder, Major
27                                                 Depressive Disorder, Anxiety disorders,
                                                   or other cognitive disabilities.”
28                                                 [Dec. of Kathryn Shepherd, Doc. # 201-6
                                                   Ex. 69 ¶ 13]

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1
2
                                                   Declaration of Kathryn Shepherd, Doc. #
3                                                  201-6, Ex. 69, ¶ 22
                                                   “On May 10, 2016… we had 163 families
4                                                  who wanted to attend the pre-release
                                                   orientation. These are typically families
5                                                  who know they are about to be released
6                                                  within a day or two and have received a
                                                   positive credible fear determination. A
7                                                  total of 84 families, more than half of
                                                   whom wanted to attend to access this
8                                                  important information, were unable to
                                                   attend because Building 100 was at
9                                                  capacity.”
10                                                 [Dec. of Kathryn Shepherd, Doc. # 201-6,
                                                   Ex. 69, ¶ 22.]
11
                                                   Declaration Excerpts of attorney Lindsay
12                                                 Harris (Due Process), Doc. # 201-2, Ex.
                                                   16 (3/2016)
13                                                 “Available pro bono counsel resources are
14                                                 tremendously strained, the number of
                                                   volunteers fluctuates week to week, and
15                                                 CARA Project staff and volunteers cannot
                                                   possibly serve all detained families.
16                                                 Recently, for example, the CARA Project
                                                   had one week in March when only two
17                                                 volunteers were able to travel to Dilley to
18                                                 provide services and representation to
                                                   detained children and their mothers. In
19                                                 that same week, new intakes increased at
                                                   the detention center and the on-the-ground
20                                                 volunteer and staff team of 8 had to handle
                                                   60 intakes of the mother’s of newly
21
                                                   arrived Flores class members and conduct
22                                                 approximately the same number of
                                                   preparation sessions for credible and
23                                                 reasonable fear interviews each day that
                                                   week. Volunteer fatigue has been
24                                                 increasing steadily, and we will face
                                                   difficulty maintaining consistent levels of
25
                                                   attorney volunteers at Dilley in the coming
26                                                 months.”
                                                   [Dec. of Lindsay Harris, Doc. # 201-2, Ex.
27                                                 16, ¶13.]
                                                   “To give the court a sense of the volume
28                                                 of families that the CARA Project
                                                   represents at this detention center where

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1
2                                                  children and their mothers are detained en
                                                   masse, here are some statistics from a
3                                                  week in April 2016, CARA staff and
                                                   volunteers conducted:
4                                                      ●   298 intakes for newly arrived
                                                           families
5                                                      ●   239 credible fear interview
6                                                          preparation sessions
                                                       ●   75 follow-up client meetings
7                                                      ●   12 bond hearings before an
                                                           immigration judge
8                                                      ●   8 reviews of negative credible fear
                                                           determinations before an
9
                                                           immigration judge
10                                                     ●   information sessions regarding
                                                           sessions regarding post-release
11                                                         rights and obligations with 222
                                                           families”
12                                                 [Dec. of Lindsay Harris, Doc. # 201-2, Ex.
                                                   16 at ¶13.]
13
14                                                 “Flores class member children and their
                                                   mothers are not afforded any access to
15                                                 counsel at Border Patrol processing stations–
                                                   even though they often spend at least 72 hours
16                                                 and sometimes longer in these facilities
                                                   before being transferred to ICE detention.
17
                                                   CARA staff and volunteers at Dilley have
18                                                 served over 8000 families since March 2015,
                                                   but we have yet to encounter any child or
19                                                 family who met with an attorney or secured
                                                   representation prior to their arrival at Dilley,
20                                                 despite having already been in the United
                                                   States for several days, and sometimes
21
                                                   considerably longer.”
22                                                 [Dec. of Lindsay Harris, Doc. # 201-2 Ex.16
                                                   ¶14.]
23
                                                   “The CARA Project faces difficulties in
24                                                 providing full representation to detained
                                                   families, even as we work daily within the
25
                                                   legal visitation trailer at the Dilley detention
26                                                 center. Flores class member children and
                                                   their mothers are frequently called into
27                                                 meetings with ICE agents to discuss the
                                                   terms and conditions of their release.
28                                                 Counsel are prohibited from attending those
                                                   meetings, even with the customary Form G-

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2                                                  28, Notice of Appearance as Attorney or
                                                   Representative, on file with ICE. During
3                                                  those meetings, class members and their
                                                   mothers are routinely coerced and
4                                                  misinformed about their right to request a
                                                   bond hearing before an immigration judge, a
5                                                  right provided to class members under the
6                                                  original Flores settlement.”
                                                   [Dec. of Lindsay Harris, Doc. # 201-2 Ex. 16
7                                                  ¶15.]
                                                   “A further challenge to representation of
8                                                  detained Flores class member children and
                                                   their mothers is that ICE often does not give
9                                                  families copies of their charging documents,
10                                                 removal orders, or other paperwork at intake.
                                                   This makes it difficult for CARA staff and
11                                                 volunteers to understand the procedural
                                                   posture of the case – including key issues
12                                                 such as whether an individual is eligible for
                                                   bond or can pursue a claim for asylum.”
13
                                                   [Dec. of Lindsay Harris, Doc. # 201-2 Ex. 16
14                                                 ¶16.]

15                                                 Declaration of volunteer attorney Theresa
                                                   Wilkes, Doc. # 201-1, Ex. 9, ¶ 3 (11/7/14)
16                                                 “The loss of income from a whole week of
                                                   unpaid work makes it impossible for me to
17
                                                   repeat this experience, despite the desperate
18                                                 need of families detained at the STFRC for
                                                   representation.”
19                                                 [Dec. of Theresa Wilkes, Doc. # 201-1, Ex. 9,
                                                   ¶ 3.]
20
                                                   Declaration of CARA Project attorney Ana
21
                                                   Camila Colon, Doc. # 201-6, Ex. 64, ¶¶4, 6,
22                                                 explaining the difficulties of providing
                                                   representation where CBP routinely fails to
23                                                 provide charging documents to families sent
                                                   to Dilley for detention –
24                                                 “In other words, over seventy-five percent of
                                                   the families had not been issued
25
                                                   charging/removal documents following their
26                                                 interviews with CBP officers prior to their
                                                   arrival in Dilley, Texas. . . The government’s
27                                                 failure to issue charging/removal documents
                                                   to our clients is problematic because we
28                                                 cannot adequately represent them if we do
                                                   not know the charges against them or

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1
2                                                  whether they are subject to a reinstated order
                                                   of removal. This means that we must file an
3                                                  individual request for each client’s full
                                                   immigration file. While we wait for this file,
4                                                  the preparation for the family’s case is
                                                   delayed and they must remain in detention.”
5                                                  [Dec. of Ana Camila Colon, Doc. # 201-6,
6                                                  Ex. 64, ¶¶4, 6.]

7                                                  Declaration of attorney Michelle Garza
                                                   Pareja, Associate Executive Director of
8                                                  RAICES in San Antonio, Texas, Doc. # 201-
                                                   6, Ex. 66, ¶ 8(comparing ORR custody and
9                                                  treatment of unaccompanied children versus
10                                                 the accompanied children placed in family
                                                   detention centers with their mothers – “At
11                                                 Karnes mothers complain they do not feel
                                                   comfortable during their fear interviews
12                                                 because officers are not friendly or sensitive
                                                   to their stories of persecution. Officers are
13                                                 often hard to understand because they use a
14                                                 telephonic interpreter. Because child care is
                                                   not easily available, mothers who want to be
15                                                 interviewed outside of the presence of their
                                                   children to avoid the children being further
16                                                 traumatized by the mothers’ testimony are
                                                   unable to do so. Because of the remoteness of
17
                                                   the detention site few attorneys
18                                                 are available to assist class members and
                                                   when attorneys do agree to do so they
19                                                 must often wait for hours to see their
                                                   clients. Most class members and their
20                                                 mothers go through fear interviews
                                                   without the assistance of counsel. Children
21
                                                   rarely are provided a separate interview
22                                                 even though they may possess
                                                   independent fear claims. In most cases the
23                                                 asylum officers find that the minors or
                                                   mothers are credible, and have been
24                                                 persecuted, but then deny the fear claim
                                                   because when asked what “social group”
25
                                                   the class member or mother belonged to
26                                                 that caused their persecution, they have no
                                                   idea what the question even means. Even
27                                                 the immigration judges and the courts
                                                   have difficulty defining what “social
28                                                 groups” are.”
                                                   [Dec. of Michelle Garza Pareja, Doc. #

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1
2                                                  201-6, Ex. 66, ¶ 8]

3                                                  Attachment to Declaration of Amy Fischer,
                                                   Policy Director, RAICES, Doc. # 201-6 Ex.
4                                                  67, CARA Project Complaint submitted on
                                                   December 10, 2015, to DHS Office of Civil
5                                                  Rights and Civil Liberties and the Office of
6                                                  Inspector General Re: Family Detention –
                                                   Challenges Faced by Indigenous Language
7                                                  Speakers. (The complaint describes various
                                                   challenges for indigenous language speaking
8                                                  children and mothers held in family detention
                                                   centers, which implicate access to counsel.
9                                                  These issues include a lack of interpreting
10                                                 assistance for interactions with government
                                                   officials, subcontractors (including medical
11                                                 staff), and service providers, and a lack of
                                                   translated written materials, denial of
12                                                 educational opportunities, and a failure to
                                                   explain conditions of release).
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2
        DATED: December 12, 2016                Respectfully submitted,
3                                               CENTER FOR HUMAN RIGHTS &
4                                               CONSTITUTIONAL LAW
                                                Peter A. Schey
5                                               Carlos Holguín
6
7                                               ORRICK, HERRINGTON & SUTCLIFFE LLP
8                                               T. Wayne Harman
                                                Elena García
9                                               LA RAZA CENTRO LEGAL, INC.
10                                              Michael Sorgen
                                                Amanda Alvarado Ford
11
12                                             LAW FOUNDATION OF SILICON VALLEY -
                                               LEGAL ADVOCATES FOR CHILDREN &
13                                             YOUTH
14                                             Jennifer Kelleher Cloyd
                                               Katherine H. Manning
15                                             Kyra Kazantzis
16                                             Annette Kirkham
                                               Of counsel:
17
                                               YOUTH LAW CENTER
18                                             Alice Bussiere
                                               Virginia Corrigan
19
                                               /s/__Peter Schey_____
20                                             Attorneys for Plaintiffs
        ///
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1
2                                       CERTIFICATE OF SERVICE

3             I, Peter Schey, declare and say as follows:
4
              I am over the age of eighteen years of age and am a party to this action. I am
5
6       employed in the County of Los Angeles, State of California. My business address is
7       256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
8
9
              On December 12, 2016 I electronically filed the following document(s):

10               •   Plaintiffs’ Corrected Statement of Uncontroverted Facts
11
        with the United States District Court, Central District of California by using the
12
13      CM/ECF system. Participants in the case who are registered CM/ECF users will be

14      served by the CM/ECF system.
15
16                                                   /s/__Peter Schey_____
17                                                   Attorney for Plaintiffs

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19

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